Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 1 of 176 PageID #: 12498


                                   EXHIBIT A

              SIXTH REVISED PROPOSED SALE PROCEDURES ORDER
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 2 of 176 PageID #: 12499




                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

  ---------------------------------------------------------------------------------------------------------------------
  CRYSTALLEX INTERNATIONAL                                     :
  CORPORATION,                                                 :
                                                               :
                    Plaintiff,                                 :
                                                               :
           v.                                                  :        Misc. No. 17-151-LPS
                                                               :
  BOLIVARIAN REPUBLIC                                          :
  OF VENEZUELA,                                                :
                                                               :
                    Defendant.                                 :
  ---------------------------------------------------------------------------------------------------------------------

     SIXTH REVISED PROPOSED ORDER (A) ESTABLISHING SALE AND BIDDING
         PROCEDURES, (B) APPROVING SPECIAL MASTER’S REPORT AND
         RECOMMENDATION REGARDING PROPOSED SALE PROCEDURES
        ORDER, (C) AFFIRMING RETENTION OF EVERCORE AS INVESTMENT
      BANKER BY SPECIAL MASTER AND (D) REGARDING RELATED MATTERS

            On January 14, 2021, the Court issued an opinion and corresponding order (D.I. 234, 235)

  (the “January Ruling”) following pleadings filed by Plaintiff Crystallex International

  Corporation (“Crystallex”), Defendant Bolivarian Republic of Venezuela (the “Republic”),

  Intervenor Petróleos de Venezuela, S.A. (“PDVSA”), Garnishee PDV Holding, Inc. (“PDVH”),

  Intervenor CITGO Petroleum Corp. (“CITGO Petroleum,” and together with the Republic,

  PDVSA, and PDVH, the “Venezuela Parties”), non-parties Phillips Petroleum Company

  Venezuela Limited and ConocoPhillips Petrozuata B.V. (together, “ConocoPhillips,” and

  collectively with Crystallex and the Venezuela Parties, the “Sale Process Parties”) and the United

  States, which set out “some contours of the sale procedures that [the Court] will follow in

  conducting a sale of PDVSA’s shares in PDVH,” including appointment of a special master to

  “oversee the day-to-day and detailed implementation of the sales procedures.” (D.I. 234 at 34).




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 3 of 176 PageID #: 12500




            Consistent with the January Ruling, on April 13, 2021, the Court appointed Robert B.

  Pincus as a special master (the “Special Master”) to assist the Court with the sale of PDVSA’s

  shares in PDVH (D.I. No. 258). On May 27, 2021, the Court entered the Order Regarding Special

  Master (D.I. No. 277) (the “May Order”) directing the Special Master to, among other things,

  devise a plan (the “Proposed Sale Procedures Order”) for the sale of shares of PDVH

  (the “PDVH Shares”) as necessary to satisfy the outstanding judgment of Crystallex and the

  judgment of any other judgment creditor added to the sale by the Court and/or devise such other

  transaction as would satisfy such outstanding judgment(s) while maximizing the sale price of any

  assets to be sold (collectively, the “Sale Transaction”).

            On August 9, 2021, the Special Master filed the Proposed Order (A) Establishing Sale and

  Bidding Procedures, (B) Approving Special Master’s Report and Recommendation Regarding

  Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by

  Special Master and (D) Regarding Related Matters (D.I. 302) (the “Initial Proposed Sale

  Procedures Order”) and the Special Master’s Report and Recommendation Regarding Proposed

  Sale Procedures Order (D.I. 303) (the “Report”).

            On August 25, 2021, objections to the Initial Proposed Sale Procedures Order were filed

  by Crystallex (D.I. 317), the Venezuela Parties (D.I. 318), and ConocoPhillips (D.I. 319)

  (collectively, the “August 25 Objections”).

            On September 10, 2021, the Special Master filed the Response of Special Master to

  Objections to Proposed Sale Procedures Order (D.I 341) (the “Reply”) and the Revised Proposed

  Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

  Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 4 of 176 PageID #: 12501




  Evercore as Investment Banker by Special Master and (D) Regarding Related Matters, attached

  as Exhibit A.1 to the Reply (the “First Revised Proposed Sale Procedures Order”).

            On November 5, 2021, the Special Master filed the Second Revised Proposed Order

  (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

  Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of

  Evercore as Investment Banker by Special Master and (D) Regarding Related Matters at (D.I. 391)

  (the “Second Revised Proposed Sale Procedures Order”).

            On November 8, 2021, the Court held a hearing to consider the relief contemplated by the

  Proposed Sale Procedures Order and heard oral arguments with respect thereto (the “Hearing”).

            On November 24, 2021, the Special Master filed the Third Revised Proposed Order

  (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

  Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of

  Evercore as Investment Banker by Special Master and (D) Regarding Related Matters at

  (D.I. 411-1) (the “Third Revised Proposed Sale Procedures Order”).

            On March 2, 2022, the Court issued an Opinion [D.I. 443] (the “March 2022 Opinion”)

  in which the Court, among other things, (i) ruled on certain Objections (as defined herein) to the

  Proposed Sale Procedures Order and (ii) directed the Special Master to submit a revised Proposed

  Sale Procedures Order consistent with the March 2022 Opinion.

            On March 31, 2022, consistent with the March 2022 Opinion, the Special Master filed the

  Fourth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving

  Special Master’s Report and Recommendation Regarding Proposed Sale Procedures Order,

  (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D) Regarding

  Related Matters at (D.I. 451-1 Ex. A) (the “Fourth Revised Proposed Sale Procedures Order”).


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  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 5 of 176 PageID #: 12502




            On April 11, 2022, objections to the Fourth Revised Proposed Sale Procedures Order were

  filed by ConocoPhillips (D.I. 455), Crystallex (D.I. 456), and the Venezuela Parties (D.I. 457),

  (collectively, the “April 11 Objections”). The April 11 Objections filed by ConocoPhillips and

  Crystallex were resolved. (See D.I. 458).

            On July 27, 2022, the Court issued a Memorandum Order [D.I. 469] (the “July 2022

  Order”) in which the Court, among other things, (i) ruled on the April 11 Objections and (ii)

  directed the Special Master to submit a revised Proposed Sale Procedures Order consistent with

  the July 2022 Order.

            On August 5, 2022, consistent with the July 2022 Order, the Special Master filed the Fifth

  Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special

  Master’s Report and Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming

  Retention of Evercore as Investment Banker by Special Master and (D) Regarding Related Matters

  at (D.I. 472-1 Ex. A) (the “Fifth Revised Proposed Sale Procedures Order”).


            On September 29, 2022, the Court issued an Oral Order [D.I. 479] (the “September 2022

  Order”) in which the Court, among other things, directed the Special Master to submit a revised

  Proposed Sale Procedure Order reflecting the passage of time since the Fifth Revised Proposed

  Sale Procedures Order.


            On October 4, 2022, consistent with the September 2022 Order, the Special Master filed

  the Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving

  Special Master’s Report and Recommendation Regarding Proposed Sale Procedures Order,

  (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D) Regarding

  Related Matters at (D.I. [●]) (the “Sixth Revised Proposed Sale Procedures Order”).


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  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 6 of 176 PageID #: 12503




            The Court, having reviewed and considered the Initial Proposed Sale Procedures Order,

  the Reply, the First Revised Proposed Sale Procedures Order, the Second Revised Proposed Sale

  Procedures Order, the Third Revised Proposed Sale Procedures Order, the Fourth Revised

  Proposed Sale Procedures Order, the Fifth Revised Proposed Sale Procedures Order, the Sixth

  Revised Proposed Sale Procedures Order, the Report, and the proposed sale procedures

  contemplated thereby, and having reviewed the August 25 Objections, the April 11 Objections and

  all other objections filed with the Court (collectively, with the August 25 Objections and the April

  11 Objections, the “Objections”); and the Court having held the Hearing to consider the relief

  contemplated by the Proposed Sale Procedures Order; and upon the record of the Hearing; and the

  Court having issued the March 2022 Opinion; and the Court having issued the July 2022 Order;

  and the Court having issued the September 2022 Order; and the Court having determined that the

  legal and factual bases set forth in this Order and the Report establish just cause for the relief

  contemplated herein; and upon all of the proceedings had before the Court in the above captioned

  case; and after due deliberation and sufficient cause appearing therefor,


                      IT IS HEREBY FOUND AND DETERMINED THAT: 1

                      A.        Jurisdiction and Venue. The Court has jurisdiction to grant the relief

  requested herein pursuant to 28 U.S.C. § 1605(a)(6). Venue is proper before the Court pursuant

  to 28 U.S.C. § 1963.

                      B.        Statutory and Legal Predicates. The statutory and legal predicates for the

  relief granted herein include (a) Rule 69(a) of the Federal Rules of Civil Procedure (the “Federal

  Rules”), (b) Section 324 of Title 8 of the Delaware Code (the “Delaware General Corporation


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   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law. To the
  extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any
  of the following conclusions of law constitute findings of fact, they are adopted as such.
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  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 7 of 176 PageID #: 12504




  Law”), (c) Rule 53 of the Federal Rules (“Rule 53”), (d) the Court’s general equitable powers to

  enforce its orders and judgments (See Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991) (quoting

  Link v. Wabash R. Co., 370 U.S. 626, 630–631 (1962)) and (e) the All Writs Act (See United States

  v. New York Tel. Co., 434 U.S. 159, 172 (1977) (“This Court has repeatedly recognized the power

  of a federal court to issue such commands under the All Writs Act as may be necessary or

  appropriate to effectuate and prevent the frustration of orders it has previously issued in its exercise

  of jurisdiction otherwise obtained.”).

                      C.        Sale Procedures. As set out in his Report delivered in accordance with

  Rule 53 contemporaneously with this Order, the Special Master has articulated good and sufficient

  reasons for the Court to approve the procedures set forth herein (the “Sale Procedures”), including

  the bidding procedures and accompanying notices, substantially in the form attached hereto as

  Exhibit 1 (the “Bidding Procedures”). 2              For the reasons outlined in the Report, the Sale

  Procedures, including the Bidding Procedures, are (a) fair, (b) reasonable, (c) appropriate,

  (d) designed to promote a competitive and robust bidding process to generate the greatest level of

  interest in the PDVH Shares and result in the highest offer in connection with any Sale Transaction

  at least sufficient to satisfy the Attached Judgments (as defined below), and (e) reasonably

  calculated to balance the many competing interests in a dynamic and internationally sensitive set

  of circumstances. The Bidding Procedures are substantively and procedurally fair to all parties

  and potential bidders and they afford notice and a full, fair and reasonable opportunity for any

  person or entity to make a higher or otherwise better offer to purchase the PDVH Shares. The




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    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
  in the Bidding Procedures (as defined herein).
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  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 8 of 176 PageID #: 12505




  procedures and requirements set forth in the Bidding Procedures, including those associated with

  submitting deposits and Qualified Bids, are fair, reasonable, and appropriate.

                      D.        Timeline and Marketing Process. Beginning on the Launch Date (as

  defined below), the Special Master, directly or through the assistance of his Advisors (as defined

  below), shall market the PDVH Shares pursuant to the procedures set forth in the Bidding

  Procedures (the “Marketing Process”). The Special Master has articulated good and sufficient

  reasons for the Marketing Process and the timeline contemplated by the Bidding Procedures,

  including the procedures for modifying deadlines or postponing implementation thereof. The

  Marketing Process and the timeline for implementation of the Sale Procedures is (a) fair, open,

  comprehensive, and a public process, (b) adequate, (c) reasonable, (d) appropriate, (e) consistent

  with applicable law, (f) sufficient to promote a competitive and robust bidding and auction process

  to generate competitive interest in the PDVH Shares, (g) reasonably calculated to maximize value

  and result in the highest offer in connection with any Sale Transaction at least sufficient to satisfy

  the Attached Judgments, and (h) reasonably calculated to balance the many competing interests in

  a dynamic and internationally sensitive set of circumstances.

                      E.        Notice Procedures. After the Launch Date, in addition to conducting the

  Marketing Process, the Special Master shall cause a notice, substantially in the form attached

  hereto as Exhibit 2 (the “Sale Notice”), to be published (i) following the launch of the sale process,

  and (ii) prior to any Auction or designation of any Stalking Horse Bidder as the Successful Bidder,

  in The News Journal, the Delaware State News, the Wall Street Journal (national edition), the USA

  Today (national edition), and, if practicable, a regional or local newspaper published or circulated

  in Venezuela selected by the Special Master in consultation with the Sale Process Parties, in each

  case for two successive weeks. A copy of this Order shall be served by e-mail on counsel to the


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  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 9 of 176 PageID #: 12506




  Venezuela Parties. 3 If any Sale Process Party believes that further service of this order, the Sale

  Notice or any additional publication or notice is necessary or appropriate, such Sale Process Party

  shall, within 10 calendar days of entry of this Order, provide the Special Master with a specific list

  of specific actions or service that the Sale Process Party believes should be undertaken, subject to

  order of the Court or with the consent of the Special Master. The foregoing notice procedures

  (the “Notice Procedures”) are appropriate and reasonably calculated to provide interested parties

  and Potential Bidders with timely and proper notice of the Sale Procedures and any

  Sale Transaction.

                      F.        Sufficient Notice. The Marketing Process and Notice Procedures are

  appropriate and reasonably calculated to provide all interested parties with timely and proper

  notice of the Sale Procedures, the opportunity to bid pursuant to the Bidding Procedures, the

  Auction, the Sale Hearing, and any proposed Sale Transaction, and any and all objection deadlines

  related thereto, and no other or further notice shall be required for this Order and any Sale

  Transaction, except as expressly required herein. The Sale Process Parties have had an adequate

  opportunity to review and provide input on the Sale Notice and Notice Procedures.

                      G.        Public Sale. The process contemplated by the Sale Procedures, including

  the Marketing Process, Bidding Procedures, and Notice Procedures, shall constitute a “public sale

  to the highest bidder” within the meaning of Section 324 of the Delaware General

  Corporation Law.

                      H.        Designation of Stalking Horse Bid. The Special Master has articulated

  good and sufficient reasons for the Court to authorize the Special Master to seek authority from



  3
   The Court takes notice and accepts that the Venezuela Parties have voluntarily waived any requirement under the
  Delaware General Corporation Law or otherwise regarding publication of notice in Venezuela. (See D.I. 318 at ⁋ 24)
  The Special Master and the other Sale Process Parties are entitled to rely on this waiver.
                                                          8
  WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 10 of 176 PageID #: 12507




   this Court to designate a Stalking Horse Bidder and enter into a Stalking Horse Agreement with

   (or without) the Stalking Horse Bid Protections (as defined below), at the Special Master’s sole

   discretion and in accordance with the Bidding Procedures and this Order, if he determines that it

   would be in furtherance of a value maximizing Sale Transaction. The Stalking Horse Bid

   Protections are (a) fair, (b) appropriate, (c) reasonably calculated to incentivize potential bidders

   to participate in a competitive bidding process, (d) designed to encourage robust bidding by

   compensating a bidder whose definitive agreement in connection with a Sale Transaction is

   terminated for the risks and costs incurred in signing and announcing an agreement for a

   transaction that may not ultimately be completed, and (e) reasonably calculated so as to not

   unreasonably deter Qualified Bidders from submitting a Qualified Bid.

                       I.        Crystallex’s Judgment. Subject to paragraphs 31 and 32 of this Order,

   Crystallex’s alleged outstanding judgment is $969,999,752.93 as of August 9, 2021 (“Crystallex’s

   Judgment”). 4 The amount of Crystallex’s Judgment for the purpose of any satisfaction of

   payment shall be finalized pursuant to the procedures set forth in this Order and any further order

   of the Court.

                       J.        ConocoPhillips’ Judgment. Subject to paragraphs 31 and 32 of this Order,

   ConocoPhillips’ alleged outstanding judgment against PDVSA is $1,289,365,299.91 as of August

   9, 2021 (“ConocoPhillips’ Judgment”). To the extent that ConocoPhillips’ Judgment becomes

   an Attached Judgment (as defined below), the amount of ConocoPhillips’ Judgment for the

   purpose of any satisfaction of payment shall be finalized pursuant to the procedures set forth in

   this Order and any further order of the Court.


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    In paragraph 50 of the Report, the Special Master identified what appears to be a clerical error in judgment entered
   by the Clerk for the United States District Court for the District of Columbia. The figure set forth here is the amount
   of Crystallex’s Judgment if the clerical error is rectified or if the Court otherwise determines that such rectification is
   unnecessary.
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 11 of 176 PageID #: 12508




                       K.        Retention of Advisors. The Special Master has articulated good and

   sufficient reasons and has retained, as approved by the May Order and as affirmed by this Order,

   Weil, Gotshal & Manges LLP, Potter Anderson & Corroon LLP, Jenner & Block LLP, Evercore

   Group L.L.C. (“Evercore”), and any additional advisors engaged by the Special Master pursuant

   to the May Order (collectively, the “Advisors”). The terms of the proposed Engagement Letter

   between the Special Master and Evercore, the form of which is annexed to this Order as Exhibit 3

   (the “Proposed Evercore Engagement Letter”), are (a) fair, (b) reasonable, and (c) appropriate

   and are hereby approved in all respects. All obligations owed to Evercore set forth in the Proposed

   Evercore Engagement Letter, including the fees and reimbursement of reasonable expenses, are

   approved, and Evercore shall be compensated and reimbursed in accordance with the terms of the

   Proposed Evercore Engagement Letter, in each case subject to the procedures set forth herein and

   any other applicable orders of the Court. For avoidance of doubt, all obligations owed to Evercore

   pursuant to the Proposed Evercore Engagement Letter shall constitute and be included within the

   definition of “Transaction Expenses” (as defined below); provided that, as set forth below, any

   Sale Fee other than the Upfront Amount (each as defined in the Proposed Evercore Engagement

   Letter) shall be paid by the purchaser directly or from any proceeds from a Sale Transaction.

                       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                       1.        All Objections to the relief granted herein that have not been withdrawn

   with prejudice, waived, or settled, and all reservations of rights included in such objections, are

   hereby overruled and denied on the merits with prejudice.

                       2.        Following the Launch Date, a hearing to consider approval of any Sale

   Transaction resulting from implementation of the Sale Procedures shall be scheduled for

   approximately 270 calendar days after the Launch Date and noticed on the docket of the Crystallex


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 12 of 176 PageID #: 12509




   Case (the “Sale Hearing”), and may be adjourned or rescheduled by the Court upon notice by the

   Special Master. At the Sale Hearing, the Court will consider approval of the Successful Bid(s) (as

   defined below) and Back-up Bid(s), if applicable. Unless the Court orders otherwise, the Sale

   Hearing shall be an evidentiary hearing on matters relating to the applicable Sale Transaction(s)

   and there will be no further bidding at such hearing.

                       3.        Within the period of six (6) months after the date of this Order (the “Six-

   Month Window”), the Special Master and his Advisors shall solicit and attempt to gain clarity or

   guidance from the United States Department of the Treasury’s Office of Foreign Assets Control

   (“OFAC”) of its support for (or non-opposition to), the launch of the Marketing Process by the

   Special Master, the viability of the Marketing Process, and any additional feedback or guidance

   that the Special Master believes will more likely result in a value-maximizing Sale Transaction.

   During the Six-Month Window, but by no later than the expiration thereof or May 2, 2023

   (whichever comes first), the Special Master shall make a recommendation (such recommendation,

   the “Supplemental Report”) to the Court as to whether (and when) the Court should direct the

   Special Master to begin to make preparations for launch of the Marketing Process (the date on

   which preparation for the Marketing Process is launched, the “Preparation Launch Date”) and

   the ultimate launch of the Marketing Process (the date on which the Marketing Process is launched,

   the “Launch Date”). The Supplemental Report shall, in the Special Master’s sole discretion,

   address significant factors and considerations that the Special Master and his Advisors believe

   relevant to the Court’s decision as to when Preparation Launch Date and the Launch Date should

   occur. The Sales Process Parties shall have the opportunity to object to the Special Master’s

   recommendations in the Supplemental Report regarding the Preparation Launch Date and the

   Launch Date (“Launch Date Objections”), which Launch Date Objections shall be filed with the


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 13 of 176 PageID #: 12510




   Court no later than 15 business days after the Supplemental Report is filed (the “Launch Date

   Objection Deadline”). Any response to a Launch Date Objection from the Special Master or a

   Sale Process Party shall be filed no later than 10 business days after the Launch Date Objection

   Deadline. The Court shall consider the Supplemental Report, all Launch Date Objections thereto,

   and any responses, after which the Court shall make a determination regarding when to trigger the

   Preparation Launch Date and subsequent Launch Date with or without a license from OFAC.

                       4.        Prior to the Preparation Launch Date, unless otherwise ordered by the Court,

   the Special Master shall not prepare in a material way for the Marketing Process or take material

   steps toward implementation of the Sale Procedures; provided that, notwithstanding the foregoing,

   the Special Master shall be authorized to (i) proactively engage with representatives from the

   Executive Branch (as defined below) and to take all steps or actions reasonably in furtherance of

   the issuance of OFAC guidance and/or authorization, including, but not limited to, making market

   inquiries into potential bidders with respect to the impact of OFAC’s position (or their lack thereof)

   on their willingness to participate in a sale process that is conditioned on OFAC’s final approval

   of any sale transaction; provided that the Sale Process Parties and their advisors shall be consulted

   as to the identity of, and the scope of inquiry to, any such potential bidders, (ii) proactively engage

   with the Sale Process Parties and their advisors, (iii) prepare for and participate in any discussions

   with the Court and/or any hearing held by the Court, including the Initial Status Conference (as

   defined below), (iv) participate in any settlement discussions with parties regarding a global claims

   waterfall or related issues if so directed by the Court, and (v) direct his Advisors to assist him in

   all actions contemplated in (i) to (iv) of this paragraph 4 and in furtherance of all actions authorized

   or contemplated by this Order. On and after the Preparation Launch Date, the Special Master and

   the Special Master’s Advisors are hereby directed to prepare for the Marketing Process and take


                                                          12
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 14 of 176 PageID #: 12511




   all such preliminary actions in connection therewith, including conducting or performing

   appropriate due diligence and related analysis. Without limiting the foregoing, in preparation for

   the Marketing Process following the Preparation Launch Date, the Special Master shall prepare a

   customary “teaser” and a “confidential information memorandum” (“CIM”) to be shared with

   Potential Bidders and such other materials that the Special Master reasonably determines to be

   necessary or appropriate. Subject to the Protective Order, the Special Master shall share a draft of

   the “teaser” and CIM with counsel to the Sale Process Parties no later than seven (7) calendar days

   prior to launch of the Marketing Process and shall consult in good faith with the Sale Process

   Parties regarding the same. Further, the Special Master shall (a) no later than 10 business days

   after the Preparation Launch Date, meet and confer with PDVSA regarding any minority

   shareholder rights or other protections that could facilitate a sale of minority shares and (b) as soon

   as reasonably practicable after any Potential Bidder submits a Non-Binding Indication of Interest

   that contemplates the provision of minority shareholder rights and protections. See Bidding

   Procedures at item (iii) on page 4 (requesting Potential Bidders to identify “any minority

   shareholder rights, protections, or other desired terms in connection with any bid for less than

   100% of the PDVH Shares”).

                       5.        Status Conferences. Unless otherwise ordered by the Court, the Court

   shall hold a status conference approximately every thirty days commencing after the Preparation

   Launch Date for the Special Master to provide an update to the Court and other interested parties

   regarding implementation of the Sale Procedures Order; provided that subject to the Court’s

   availability, the Special Master or the Sale Process Parties may request that such status conferences

   occur more or less frequently or on an as-needed basis; provided further that nothing shall impede

   the Special Master’s right to meet in camera or share information with the Court to provide updates


                                                       13
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 15 of 176 PageID #: 12512




   on the sale process. The initial status conference shall be held approximately 30 days after the

   Preparation Launch Date at a date and time to be set by the Court by separate order (the “Initial

   Status Conference”). At the Initial Status Conference, the Special Master shall provide the Court

   and interested parties with an update on his progress and the Special Master’s current estimate, if

   any, regarding launch of the Marketing Process. For the avoidance of doubt, the Special Master

   shall not launch the Marketing Process until otherwise ordered by the Court.

                       6.        The Special Master shall deliver a copy of this Order to the United States

   Attorney for the District of Delaware (“USAO”). The Court hereby requests that, upon receipt,

   the USAO take reasonable efforts to ensure that copies of the Order are received by the pertinent

   offices within the Executive Branch of the United States Government, including the United States

   Department of Justice, Department of State, and Department of the Treasury (including OFAC)

   (collectively, the “Executive Branch”). Consistent with the Court’s prior orders, the Court invites

   input from the Executive Branch regarding implementation of this Order and the Bidding

   Procedures at any time and further requests that the representatives from the USAO voluntarily

   provide an update regarding the Executive Branch’s decision-making process related to the

   Marketing Process and consummation of a Sale Transaction, including, but not limited to, whether,

   in a sale process overseen and directed by this Court in connection with the enforcement of the

   judgment(s) of this Court, (i) the Special Master, acting as an arm of this Court, requires an OFAC

   specific license to launch and conduct the Marketing Process; (ii) potential bidders participating

   in any or all aspect of the Marketing Process require an OFAC specific license; or (iii) an order of

   this Court approving the sale, cancellation and reissue, or transfer of property subject of its prior

   order, requires a specific OFAC license. If the Special Master determines that it is necessary as a

   precondition to launching the Marketing Process he may request that the Court issue an order for


                                                         14
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 16 of 176 PageID #: 12513




   the Executive Branch to show (i) cause as to why the launch and participation of prospective

   bidders in the Marketing Process is not authorized and (ii) the facts and circumstances that would

   be necessary for OFAC to provide approval for any transfer of the PDVH Shares pursuant to the

   process contemplated by these Sale Procedures.

                                              The Bidding Procedures

                       7.        The Sale Procedures, including the Bidding Procedures, substantially in the

   form attached hereto as Exhibit 1, are hereby approved. The Bidding Procedures are incorporated

   herein by reference, and shall govern the bids and proceedings related to any sale of PDVH Shares

   in connection with a Sale Transaction. The failure to specifically include or reference any

   particular provision of the Bidding Procedures in this Order shall not diminish or otherwise impair

   the effectiveness of such procedures, it being the Court’s intent that the Bidding Procedures are

   approved in their entirety, as if fully set forth in this Order.

                       8.        The Special Master is authorized and directed to take all reasonable actions

   necessary or desirable to implement this Order, including the Sale Procedures and the Bidding

   Procedures.

                       9.        Subject to the Bidding Procedures and this Order, the Special Master shall

   be authorized, as he may reasonably determine is necessary or desirable, to carry out the Bidding

   Procedures, including, without limitation, to: (a) designate a Stalking Horse Bid, if any, pursuant

   to the Bidding Procedures; (b) determine which bidders are Qualified Bidders; (c) determine which

   bids are Qualified Bids; (d) determine which Qualified Bid is the highest purchase price received

   prior to the Auction; (e) determine which Qualified Bid is the Successful Bid; (f) reject any bid

   that is (i) inadequate or insufficient, (ii) not a Qualified Bid or otherwise not in conformity with

   the requirements of the Bidding Procedures, or (iii) not a bid that provides for a value maximizing


                                                          15
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 17 of 176 PageID #: 12514




   Sale Transaction; (g) adjourn the Auction and/or the Sale Hearing by filing a notice on the Court’s

   docket without need for further notice; and (h) modify the Bidding Procedures upon notice to and

   consultation with the Sale Process Parties in a manner consistent with his duties and

   applicable law.

                       10.       The Special Master shall be authorized to, in his reasonable judgment, upon

   notice to and consultation with the Sale Process Parties, modify the Bidding Procedures, including

   (a) waive terms and conditions with respect to any Potential Bidder, (b) extend the deadlines set

   forth in the Bidding Procedures, (c) announce at the Auction modified or additional procedures for

   conducting the Auction, and (d) provide reasonable accommodations to a Stalking Horse Bidder

   with respect to such terms, conditions, and deadlines set forth in the Bidding Procedures to promote

   further bids by bidders, in each case, to the extent not materially inconsistent with the Bidding

   Procedures and this Order; provided that a Sale Process Party may, within five (5) calendar days,

   file an objection to any modification, upon which time the Court shall set a briefing schedule for

   any reply and a hearing, if applicable, to adjudicate such objection.

                       11.       All Potential Bidders submitting bids determined by the Special Master to

   be “Qualified Bids” in accordance with the Bidding Procedures are deemed to have submitted to

   the exclusive jurisdiction of this Court with respect to all matters related to the Bidding Procedures,

   the Auction, and any Sale Transaction. Except as provided in an executed definitive Stalking

   Horse Agreement, and then subject to the terms thereof, nothing in this Order or the Bidding

   Procedures shall obligate the Special Master to pursue any transaction with a Qualified Bidder.

                       12.       The Special Master may, in the exercise of his judgment, identify the

   highest Qualified Bid(s) that the Special Master reasonably believes to be capable of being timely

   consummated after taking into account the factors set forth in the Bidding Procedures as the


                                                          16
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 18 of 176 PageID #: 12515




   successful bid(s) (a “Successful Bid” and, the bidder(s) submitting such bid(s), a “Successful

   Bidder”); provided, that if the Special Master receives multiple competing Qualified Bids that

   would satisfy the Attached Judgments in full and which the Special Master reasonably believes to

   be capable of being timely consummated as set forth above, then the Special Master must designate

   such Qualified Bid that (i) satisfies the Attached Judgments and (ii) provides for the sale of the

   fewest PDVH Shares, unless PDVSA consents to the Special Master designating the Qualified Bid

   for more of the PDVH Shares. As soon as reasonably practicable following selection of a

   Successful Bid, the Special Master shall file with the Court a notice containing information about

   the Successful Bidder with the proposed definitive agreement attached thereto (without exhibits or

   schedules that the Special Master elects to omit) (the “Notice of Successful Bidder”).

   Notwithstanding anything to the contrary in this Order (including the Bidding Procedures), the

   Special Master shall not designate a Qualified Bid as the Successful Bid if it provides for the sale

   of more shares than are necessary to satisfy the Attached Judgments; provided that if PDVSA

   informs the Special Master that they wish to sell more of the PDVSA Shares, then the Special

   Master may consider that view.

                       13.       Upon the selection of a Successful Bidder and as soon as reasonably

   practicable after the Special Master files the Notice of Successful Bidder (and in no event later

   than seven (7) days prior to the Sale Objection Deadline), the Special Master shall file a report

   under seal (and serve a copy to the Sale Process Parties) that provides a summary of the Bids,

   including their cash and non-cash consideration components. Further, if, pursuant to the Bidding

   Procedures, the Special Master, in the exercise of his judgment, does not select a Successful Bid

   following the Bid Deadline, the Special Master shall file a report with the Court under seal (and

   serve a copy to the Sale Process Parties) explaining the basis and rationale for not selecting any of


                                                       17
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 19 of 176 PageID #: 12516




   the Bids (if any) as a Successful Bid. In the event the Special Master fails to select a Successful

   Bid, the Sales Process Parties shall have the right to move the Court to select a Successful Bid

   from among those presented to the Special Master. In connection with any of the foregoing reports

   filed under seal, the Special Master shall disclose to the Court (with a copy to the Sale Process

   Parties) a copy of any Bid(s) received that were not selected by the Special Master as a Successful

   Bid. Any unsealed version of such reports or Bids filed on the Court’s docket shall retain

   redactions to the names of any bidders or other identifying information and any other redactions

   to be determined by the Special Master.

                       14.       For the avoidance of doubt, subject to approval of any Sale Transaction by

   the Court, the Special Master shall have authority to select a Qualified Bid as the Successful Bid

   that provides for a transfer of PDVH Shares free and clear of any claims, encumbrances, and

   liabilities, which, for the avoidance of doubt, upon entry of an order by this Court approving any

   Sale Transaction and upon the consummation of any such Sale Transaction, may constitute a full

   and complete general assignment, conveyance, and transfer of all of PDVSA’s or any other

   person’s right, title, and interest in the PDVH Shares and may provide for the valid transfer under

   applicable law of good and marketable title to the PDVH Shares to the Successful Bidder free and

   clear of all claims, encumbrances, and liabilities; provided that such transfer shall be without

   prejudice to any such claims, encumbrances, and liabilities attaching to the proceeds of any Sale

   Transaction with the same nature, validity, priority, extent, perfection, and force and effect that

   such claims, encumbrances, and liabilities encumbered the PDVH Shares immediately prior to the

   consummation of any Sale Transaction.

                       15.       The Sale Notice, substantially in the form attached hereto as Exhibit 2, is

   approved, and no other or further notice of the Sale Transaction, the Auction, the Sale Hearing or


                                                          18
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 20 of 176 PageID #: 12517




   the Sale Objection Deadline shall be required if the Special Master publishes such notice in

   accordance with the Notice Procedures. The Sale Notice and publication thereof complies in all

   respects with and satisfies the requirements of Section 324 of the Delaware General Corporation

   Law. The Special Master may file on the Court’s docket, publish, or otherwise distribute any

   supplemental notice that he, in his sole discretion, deems appropriate or desirable; provided that

   no such supplemental notice shall be required. All expenses and fees related to implementation of

   the Marketing Process and Notice Procedures shall constitute “Transaction Expenses” and shall

   be payable by the Sale Process Parties and holders of any Additional Judgments (as defined below)

   (the “Additional Judgment Creditors”). The Special Master may request that the Sale Process

   Parties and any Additional Judgment Creditors, collectively, reimburse the Special Master in

   advance in an amount equal to the amount of any quote received in connection with publication

   required by the Notice Procedures and, upon any such request, the Sale Process Parties shall each

   promptly pay their respective share; provided that, in the event any Additional Judgment Creditor

   becomes obligated to pay a portion of the Transaction Expenses pursuant to this Order, the Special

   Master shall meet and confer with the Sale Process Parties to determine such Additional Judgment

   Creditor’s share of the reimbursement obligation.

                                          Objections to Sale Transaction

                       16.       The deadline to object to any Sale Transaction to be approved at the Sale

   Hearing will be 4:00 p.m. (prevailing eastern time) on the fourteenth day after the Special

   Master files the Notice of Successful Bid (the “Sale Objection Deadline,” and any such

   objection, a “Sale Objection”); provided that, the Special Master may extend such deadline, as

   the Special Master deems appropriate in the exercise of his reasonable judgment. If a timely Sale

   Objection cannot otherwise be resolved by the parties, such objection shall be heard by the Court


                                                         19
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 21 of 176 PageID #: 12518




   at the Sale Hearing. The Notice of Successful Bid shall state the specific date and time of the Sale

   Objection Deadline.

                       17.       The Successful Bidder(s) shall appear at the Sale Hearing and be prepared,

   if necessary, to have a representative(s) testify in support of the Successful Bid and the Successful

   Bidder’s ability to close the Sale Transaction contemplated therein in a timely manner.

                       18.       Any party who fails to timely file with the Court and serve a Sale Objection

   (including any Sale Process Party) on the Special Master may be forever barred from asserting any

   Sale Objection to the applicable sale, or to the consummation of any Sale Transaction.

                       19.       For the avoidance of doubt, the Sale Process Parties shall have the

   opportunity to object to the Special Master’s recommendation as to which bid is best and whether

   the Court should accept or reject such bid. Upon hearing all Sale Objections, the Court will make

   the final decision as to whether to accept or reject any bid. Nothing in this Order shall affect the

   rights of any party to appeal such a decision by the Court.

                                       Designation of Stalking Horse Bidder

                       20.       Selection of Stalking Horse Bidder. The Special Master is authorized to,

   in the exercise of his judgment and at his sole discretion, designate a Stalking Horse Bidder for the

   PDVH Shares and following such designation, subject to approval by the Court, enter into a

   Stalking Horse Agreement for the sale of any such PDVH Shares, in accordance with the terms of

   this Order and the Bidding Procedures.

                       21.       Stalking Horse Bid Protections. Subject to the Bidding Procedures and

   approval by this Court, the Special Master may: (a) establish an initial overbid minimum and

   subsequent bidding increment requirements not to exceed 5.00% of the Stalking Horse Bid Implied

   Value, subject to adjustment for any Bids for a lesser percentage of the PDVH Shares than the

   Stalking Horse Bid (the “Initial Minimum Overbid Amount”); (b) offer any Stalking Horse
                                             20
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 22 of 176 PageID #: 12519




   Bidder a break-up fee in an amount agreed to by the Special Master in consultation with the Sale

   Process Parties, but not to exceed 3.00% of the Stalking Horse Bid Implied Value (a “Termination

   Payment”) payable either (i) in the event that an overbid is consummated, out of the proceeds

   from the consummation of such overbid or (ii) by PDVH, CITGO Holding, Inc. (“CITGO

   Holding,” and collectively with CITGO Petroleum, “CITGO”) and CITGO Petroleum in

   circumstances where any of PDVH, CITGO Holding, and/or CITGO Petroleum is materially

   responsible for the events that give rise to termination of the Stalking Horse Agreement; (c)

   provide that, if the Stalking Horse Bidder bids on PDVH Shares at the Auction, the Stalking Horse

   Bidder will be entitled to a credit up to the amount of its Termination Payment against the increased

   purchase price for the PDVH Shares; (d) provide for the reimbursement of reasonable and

   documented fees and expenses actually incurred by the Stalking Horse Bidder by PDVH, CITGO

   Holding and CITGO Petroleum solely under certain circumstances in which the transactions

   contemplated by the Stalking Horse Agreement are not consummated; (e) provide that any sale

   order shall seek to transfer the PDVH Shares free and clear of any claims upon them; and (f) in

   consultation with the Sale Process Parties, provide other appropriate and customary protections to

   a Stalking Horse Bidder (the Termination Payment and the other bid protections described in this

   paragraph collectively are referred to as the “Stalking Horse Bid Protections”). The Special

   Master is authorized to offer the Stalking Horse Bid Protections at his sole discretion if he

   determines that such Stalking Horse Bid Protections would be in furtherance of a value

   maximizing transaction; provided that, (a) absent further order of the Court, the Special Master

   shall not enter into a Stalking Horse Agreement and (b) any Stalking Horse Bid Protections offered

   shall not be effective until entry by the Court of an order approving such Stalking Horse Bid

   Protections and subsequent execution by the Special Master of the Stalking Horse Agreement.


                                                    21
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 23 of 176 PageID #: 12520




                       22.       To the extent the Special Master designates a Stalking Horse Bidder with

   respect to any Sale Transaction, the Special Master shall, as soon as reasonably practicable

   following the execution of a Stalking Horse Agreement, file with the Court a notice containing

   information about the Stalking Horse Bidder with the proposed Stalking Horse Agreement

   attached thereto (without exhibits or schedules that the Special Master elects to omit) (the “Notice

   of Stalking Horse Bidder”). Any Stalking Horse Bid Protections shall be described in reasonable

   detail, including the amount and calculation of such Stalking Horse Bid Protections and the amount

   of the Stalking Horse Bid Implied Value, in the Notice of Stalking Horse Bidder.

   Contemporaneously with the filing of the Notice of Stalking Horse Bidder, the Special Master

   shall file a proposed order approving the Special Master’s entry into the Stalking

   Horse Agreement.

                       23.       Objections to the Special Master’s entry into a Stalking Horse Agreement,

   including any provision of Stalking Horse Bid Protections in connection therewith (each

   a “Stalking Horse Objection”), must be in writing, state with particularity the basis and nature of

   any objection, and be filed with the Court no later than 10 calendar days after the filing of the

   Notice of Stalking Horse Bidder (the “Stalking Horse Objection Deadline”), upon which time

   the Court shall set a briefing schedule for any reply and a hearing, if applicable, to adjudicate

   such objection.

                       24.       If a timely Stalking Horse Objection is filed and served with respect to a

   Stalking Horse Agreement, the proposed Stalking Horse Bid Protections provided for under that

   agreement shall not be approved until the objection is resolved by agreement of the objecting party

   or by entry of an order by the Court resolving such objection. If no timely Stalking Horse

   Objection is filed and served with respect to a particular Stalking Horse Agreement, then the Court


                                                         22
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 24 of 176 PageID #: 12521




   may enter an Order approving the Stalking Horse Bid Protections provided for under such

   agreement upon the expiration of the Stalking Horse Objection Deadline.

                       25.       For all purposes under the Bidding Procedures, any Stalking Horse Bidder

   approved as such pursuant to this Order shall be considered a Qualified Bidder, and the Stalking

   Horse Bid shall be considered a Qualified Bid. In the event that the Stalking Horse Bid is the only

   Qualified Bid received by the Special Master by the Bid Deadline, the Stalking Horse Bidder shall

   be deemed the Successful Bidder with respect to the assets set forth in the Stalking

   Horse Agreement.

                                                    Credit Bids

                       26.       Crystallex, and any other holder of an Attached Judgment, may submit a

   “credit bid” pursuant to the Bidding Procedures (each, a “Credit Bid”); provided that such Credit

   Bid shall comply with the Bidding Procedures, including the requirement that any credit bid

   include a cash component or other funding mechanism sufficient to pay (or otherwise contemplate

   payment in full in cash in a manner acceptable to the Special Master; provided, that, with respect

   to any reimbursement of Transaction Expenses owed to a Sale Process Party pursuant to the May

   Order, such Sale Process Party’s consent shall be required if such Sale Process Party is not to be

   reimbursed in cash) (a) any applicable Termination Payment, (b) all Transaction Expenses, and

   (c) all obligations secured by senior liens on the PDVH Shares (if any). If any Credit Bidder

   withdraws its Credit Bid or in any other way fails to consummate its Credit Bid in a manner that

   would cause any other Bidder to lose its Good Faith Deposit, then the lesser of ten percent (10%)

   of the portion of the judgment that was Credit Bid or $50 million of the judgment shall be forever

   waived and the Court shall enter an order reducing the judgment in accordance therewith, provided

   however that no such forfeiture shall occur if the reason for the withdrawal or failure to

   consummate the Credit Bid is a settlement or other satisfaction of the judgment. For the avoidance
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 25 of 176 PageID #: 12522




   of doubt, a Credit Bid must be submitted by the deadlines set forth in the Bidding Procedures

   applicable to all other Bids.

                       27.       Except as otherwise agreed by the Special Master, in connection with the

   submission of any Credit Bid (including a Credit Bid by Crystallex), any party seeking to submit

   a Credit Bid shall cause two of its representatives to each submit a sworn statement and affidavit

   that unequivocally and unconditionally states (a) the then outstanding and unpaid amount of such

   party’s judgment as of the date the Credit Bid is submitted and (b) that such representative submits

   to the personal jurisdiction of this Court in connection with making such statement and affidavit.

   Except as otherwise agreed by the Special Master, in connection with the consummation of any

   Credit Bid that becomes the Successful Bid, the same two representatives shall each submit a

   supplemental statement and affidavit stating that all payments or consideration received by the

   person or entity in connection with or in respect of the applicable judgment that served as the basis

   for the Credit Bid have been disclosed to the Court and the Special Master.

                       28.       Any person or entity that submits a Credit Bid shall promptly (but in no

   event later than within 2 business days) notify the Special Master if such person or entity receives

   (or otherwise becomes entitled to receive) any payment or consideration in connection with or in

   respect of the judgment that served as the basis for the Credit Bid.

                                               Attached Judgments

                       29.       Satisfaction of All Attached Judgments. Nothing in this Order prohibits

   or in any way impairs the rights of the Venezuela Parties to satisfy Crystallex’s Judgment (or any

   other Attached Judgment) in full prior to consummation of a Sale Transaction. If at any time all

   Attached Judgments become satisfied in full (or otherwise are consensually resolved), then the

   Special Master shall cease implementation of the Sale Procedures and seek further direction from

   the Court. The Sale Process Parties and any Additional Judgment Creditors shall remain liable for
                                                 24
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 26 of 176 PageID #: 12523




   any Transaction Expenses incurred through the date that is two business days after the Special

   Master receives notice of satisfaction of all Attached Judgments. In the event that the Special

   Master selects a Successful Bid, the value of which implies satisfaction of less than all Attached

   Judgments, then any holder of an Attached Judgment that receives no proceeds in satisfaction of

   any part of their Attached Judgment shall be excused from contributing to the payment of any

   Transaction Expenses incurred after the date thereof. The Sale Process Parties shall be reimbursed

   for any paid Transaction Expenses as set forth in the May Order; provided that if the process is

   terminated due to satisfaction or resolution of all Attached Judgments by the Venezuela Parties,

   then, solely in such circumstance (and unless otherwise agreed to by Crystallex and

   ConocoPhillips), the Venezuela Parties shall pay and reimburse Crystallex and ConocoPhillips for

   the full amount of all Transaction Expenses paid by Crystallex and ConocoPhillips.

                       30.       Additional Judgment Deadline. By no later than ten calendar days after

   the Launch Date (the “Additional Judgment Deadline”), the Court will decide in accordance with

   applicable law which, if any, additional judgments (the “Additional Judgments,” and with the

   Crystallex Judgment, the “Attached Judgments”) are to be considered by the Special Master for

   purposes of the Sale Transaction. Except as otherwise ordered by the Court, following the

   Additional Judgment Deadline, the Special Master shall implement the Sale Procedures, based on

   the Attached Judgments as of the Additional Judgment Deadline. For purposes of implementing

   this Order, the Special Master shall only consider judgments that are determined to be Attached

   Judgments by the Court by the Additional Judgment Deadline. For the avoidance of doubt, unless

   otherwise ordered by the Court, (i) the Additional Judgment Deadline does not impair or in any

   way limit any person’s or entity’s right to seek attachment to any proceeds following

   consummation of the Sale Transaction and (ii) no PDVH Shares shall be sold, nor proceeds from


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 27 of 176 PageID #: 12524




   any sale thereof distributed, to satisfy any judgments that are not Attached Judgments. If

   ConocoPhillips’ Judgment is not made an Attached Judgment following the Additional Judgment

   Deadline or the Launch Date, whichever is earlier, ConocoPhillips shall be excused from

   contributing to the payment of any Transaction Expenses incurred thereafter, provided that should

   ConocoPhillips decline to contribute to the funding of the sale process it shall no longer be treated

   as a Sale Process Party for purposes of this Order. ConocoPhillips’ excuse from further funding

   obligations shall not affect its entitlement to reimbursement for all payments previously advanced,

   as provided in the May Order.

                       31.       Final Calculation of Attached Judgments. Thirty days prior to the

   designation of a Stalking Horse Bidder, the Special Master will file under seal a notice or

   recommendation with the Court seeking final determination of any Attached Judgment, including

   the rate at which interest continues to accrue and serve such notice or recommendation on the

   holder of the Attached Judgment and the Sale Process Parties. No later than seven calendar days

   after service, the holder of the Attached Judgment and the Sale Process Parties shall file any

   objection to the Special Master’s notice or recommendation. If no objection is filed, the amount

   set forth in the Special Master’s notice or recommendation shall become the amount of the

   Attached Judgment for purposes of the Sale Procedures. If an objection is filed, a hearing will be

   scheduled and the Court shall determine the amount of the Attached Judgment.

                       32.       By no later than 21 calendar days following the Preparation Launch Date,

   any holder of an Attached Judgment or holder of a judgment seeking to be an Attached Judgment

   shall deliver to the Special Master and to counsel for the Venezuela Parties a statement indicating

   the amount such creditor contends remains outstanding with respect to their Attached Judgment or

   judgment. Such creditor shall provide reasonably sufficient supporting documentation regarding


                                                         26
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 28 of 176 PageID #: 12525




   any alleged outstanding balance and all amounts and assets received by reason of the Attached

   Judgment or judgment and any other information pertinent to understanding the outstanding

   balance of the applicable Attached Judgment or judgment.

                             Amendments & Additional Powers of the Special Master

                       33.       Additional Guidance from the Court. If the Special Master, in his sole

   discretion, but after consultation with the Sale Process Parties, determines that (a) a material

   modification or amendment of this Order or the Sale Procedures (including the Bidding

   Procedures) that is not otherwise permitted (each a “Proposed Amendment”) or (b) additional

   powers or guidance from the Court, is reasonably necessary or desirable for any reason, including

   to (i) ensure a value maximizing sale process or (ii) effectuate a value maximizing sale process

   through a Sale Transaction, the Special Master may seek such Proposed Amendment or additional

   powers or guidance, as applicable, by filing a request or recommendation with the Court with

   notice to the Sale Process Parties.

                       34.       Requests of the Special Master. In addition to the cooperation provisions

   in the May Order, the Sale Process Parties, including CITGO and PDVH, and each of their

   subsidiaries, including their directors, officers, managers, employees, agents, and advisors, shall

   promptly cooperate and comply with the requests of the Special Master. If the Special Master

   specifically invokes this paragraph 34 in connection with any such request, then the person or

   entity that is the subject or recipient of such request shall comply no later than five (5) business

   days after the date upon which the request was made, unless the Special Master sets a different

   deadline for which a response is due. If any person objects to a request by the Special Master that

   specifically invokes this paragraph 34, including objections based on a belief that such request is

   unreasonable, such person shall file a motion with the Court seeking relief from the Special

   Master’s request. Absent a motion seeking relief from the Court, the Special Master may (but
                                               27
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 29 of 176 PageID #: 12526




   shall have no obligation to) explain the basis of his request to the subject or recipient; provided

   that, if requested by the subject or recipient, the Special Master shall meet and confer with such

   person at least one business day before such person’s deadline to file a motion seeking relief from

   the Special Master’s request. The Special Master may, in his sole discretion, recommend to the

   Court appropriate sanctions with respect to any person or entity that fails to promptly comply with

   a request absent a timely request for relief from the Court. For the avoidance of doubt, the terms

   of this paragraph are in addition to the terms of the May Order; provided that the scope of the May

   Order shall in no way be read to limit the effect of this paragraph.

                       35.       CITGO Management Team. Without limiting paragraph 34, if requested

   by the Special Master, CITGO shall use reasonable efforts to make members of the CITGO

   management team available for meetings with bidders or potential bidders, which may include, in

   the Special Master’s sole discretion, the most senior members of the CITGO management team.

   CITGO shall further use reasonable efforts to timely respond to the Special Master’s diligence

   requests or bidder-specific questions, including, if applicable, by providing accurate and complete

   due diligence materials, documentation, and backup support requested by the Special Master.

                       36.       Additional Powers of the Special Master. In addition to the duties and

   powers set forth in this Order, the Special Master shall have all of the powers and duties set forth

   in prior orders of the Court, including the May Order. Without limiting the foregoing, the Special

   Master may issue, without limitation, orders, subpoenas and interrogatories to any person in the

   course of performing his duties. Further, the Special Master may, in his sole discretion and

   consistent with Rule 53 of the Federal Rules, issue orders to compel delivery of information from

   any person or entity in connection with implementing the Sale Procedures, including to ensure a

   comprehensive and value-maximizing sale process, to ensure that property that is directly or


                                                        28
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 30 of 176 PageID #: 12527




   indirectly the subject of this Order is not transferred or otherwise encumbered by the Venezuela

   Parties or to determine the amount of claims against the Venezuela Parties. Following consultation

   with the Sale Process Parties, the Special Master may by order impose on a party any non-contempt

   sanction provided by Rule 37 or Rule 45 of the Federal Rules, and may recommend a contempt

   sanction against a party and sanctions against a nonparty, consistent with Rule 53(c) of the

   Federal Rules.

                                               Additional Provisions

                       37.       Rosneft Trading S.A. The Consent Order Regarding Disclosure by

   Rosneft Trading S.A. and Petróleos de Venezuela, S.A. Regarding CITGO Holding Pledge

   (D.I. 396) (the “Rosneft Consent Order”) is incorporated herein by reference as if fully set

   forth herein.

                       38.       Dispute Resolution. All bidders that participate in the sale and bidding

   process shall be deemed to have (a) consented to the jurisdiction of the Court to enter any order or

   orders, which shall be binding in all respects, in any way related to the Sale Procedures or Bidding

   Procedures, the bid process, the Auction, the Sale Hearing, or the construction, interpretation, and

   enforcement of any agreement or any other document relating to a Sale Transaction; (b) waived

   any right to a jury trial in connection with any disputes relating to the Sale Procedures or Bidding

   Procedures, the bid process, the Auction, the Sale Hearing, or the construction, interpretation, and

   enforcement of any agreement or any other document relating to a Sale Transaction; and

   (c) consented to the entry of a final order or judgment in any way related to the Sale Procedures or

   Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the construction,

   interpretation, and enforcement of any agreement or any other document relating to a Sale

   Transaction if it is determined that the Court would lack jurisdiction to enter such a final order or

   judgment absent the consent of the parties.
                                                         29
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 31 of 176 PageID #: 12528




                       39.       Communications & Negotiations with Third Parties.         The Special

   Master is authorized and empowered, in his sole discretion and at any time, to communicate and,

   as applicable, negotiate with any bidder, potential bidder, or governmental or regulatory body.

   Further, in consultation with the Sale Process Parties, the Special Master is authorized and

   empowered, in his sole discretion and at any time, to communicate and, as applicable, negotiate

   with any other person or entity, including any contract counterparty, any indenture trustee,

   administrative agent, or collateral agent, any holders of that certain series of bonds issued by

   PDVSA due in 2020 (the “PDVSA 2020 Bondholders”) or other person related to PDVH,

   CITGO, and their affiliates to the extent reasonably necessary or desirable in connection with

   preparation of the Supplemental Report and implementation of the Sale Procedures and any Sale

   Transaction. If the Special Master determines it is reasonably necessary or desirable to negotiate

   a change, modification, or amendment to, or seek a consent or waiver under, any contract of

   PDVH, CITGO, or any of their subsidiaries in connection with any Bid or Potential Bid or

   implementation of the Sale Procedures or any Sale Transaction, including with respect to any

   “change-of-control” provisions in any contract, the Special Master shall work with PDVH and

   CITGO, as applicable, to negotiate such change, modification, amendment, consent, or waiver.

   If either PDVH or CITGO, as applicable, do not cooperate with or otherwise consent to any

   particular negotiation, change, modification, amendment, consent, or waiver, the Special Master

   shall seek additional guidance from the Court and shall not proceed absent further order from

   the Court.

                       40.       Communications with Potential Bidders. The Sale Process Parties (other

   than the Venezuela Parties) shall not, directly or indirectly, contact or otherwise communicate with

   any Potential Bidders regarding this Order, the Sale Procedures, any bid or potential bid, or any


                                                        30
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 32 of 176 PageID #: 12529




   Sale Transaction, other than as expressly permitted in writing by the Special Master or otherwise

   authorized by this Court. Subject in all cases to the Special Master Confidentiality Order (D.I.

   291) (the “Protective Order”), nothing herein restricts the Venezuela Parties’ ability to

   communicate with Potential Bidders or any other third-party, including by placing public

   advertisements regarding the Marketing Process and the Sale Transaction, provided that (a) the

   Venezuela Parties shall not disclose any nonpublic terms regarding the Bids of any Potential

   Bidder that the Venezuela Parties have learned as a Consultation Party or by any other means,

   (b) the Venezuela Parties shall provide the Special Master and his Advisors with advance notice

   prior to engaging in any form of communication with Potential Bidders, and (c) any information

   provided to the Potential Bidders by the Venezuela Parties shall be made available to the Special

   Master and all other Potential Bidders. If the Venezuela Parties communicate with any Potential

   Bidders, the Special Master may (in his sole discretion) disclose the identity of such Potential

   Bidders to the Sale Process Parties. If, during the course of implementing this Order, the Special

   Master believes that any of the Venezuela Parties is communicating with Potential Bidders in a

   manner that will impair or inhibit the ability of the Special Master to obtain value-maximizing

   Bids, the Special Master may inform the Court and the Court will consider appropriate

   amendments to this Order. For the avoidance of doubt, this paragraph 40 does not prevent or

   prohibit contact or communications in the ordinary course of business consistent with past practice

   on matters unrelated to this Order, the Sale Procedures, any bid or potential bid, or any

   Sale Transaction.

                       41.       The Sale Process Parties may propose a list of Potential Bidders for the

   Special Master to solicit Bids from in connection with the Marketing Process and the Special

   Master shall consider in good faith inclusion of such Potential Bidders. If the Special Master elects


                                                        31
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 33 of 176 PageID #: 12530




   to exclude or declines to solicit a Bid from a Potential Bidder identified by a Sale Process Party,

   the Special Master shall notify the applicable Sale Process Party of such decision as soon as

   reasonably practicable thereafter and, if appropriate, explain his rationale for the decision. If the

   applicable Sale Process Party reasonably believes that the Special Master inappropriately or

   unfairly excluded or declined to solicit a Bid from a Potential Bidder identified by such Sale

   Process Party, then such Sale Process Party shall file a letter that shall not exceed three pages with

   the Court and serve such letter on the Special Master and the other Sale Process Parties. The

   Special Master shall have two business days following service to respond by letter not to exceed

   three pages. After considering the parties’ submissions, the Court will issue an appropriate order.

                       42.       Communications among Sale Process Parties. Subject in all cases to the

   Special Master Confidentiality Order (D.I. 291) (the “Protective Order”), nothing in this Order

   prohibits the Sale Process Parties from communicating with each other; provided that such

   communications do not involve or relate to colluding in connection with a Bid that has been

   submitted or may be submitted by the applicable Sale Process Party or a Bid by any Potential

   Bidder. For the avoidance of doubt, this provision is not intended to limit in any way the ability

   of some or all of the Sale Process Parties to discuss settlement or satisfaction of any Attached

   Judgment or to discuss the terms, content, or grounds of any potential objection to be filed with

   the Court. The Special Master shall consult with the Sale Process Parties periodically and as

   appropriate in implementing the Sale Procedures.

                       43.       Sharing of Information with Potential Bidders. Upon giving notice to

   the applicable Sale Process Party, the Special Master shall be permitted, in his sole discretion, to

   share any and all information obtained related to the Sale Process Parties, regardless of whether

   marked or designated “confidential” or “highly confidential” pursuant to the Protective Order, with


                                                        32
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 34 of 176 PageID #: 12531




   any bidder or potential bidder that has entered into a confidentiality arrangement in the form

   attached hereto as Exhibit 4 (the “Confidentiality Agreement”); provided that the Special Master

   shall be authorized to make reasonable changes to the extent requested by a Potential Bidder. The

   Special Master shall file each executed Confidentiality Agreement under seal with the Court and

   shall provide notice of execution of such Confidentiality Agreement to the Sale Process Parties.

   The Special Master shall exercise reasonable care in providing confidential information to bidders

   and Potential Bidders and, if applicable, shall use reasonable efforts to consult any Sale Process

   Party that marks or designates any information as “confidential” or “highly confidential” prior to

   its disclosure to any Potential Bidder. The Special Master shall use reasonable efforts to consult

   PDVH and CITGO in connection with sharing competitively sensitive information and, if

   determined to be appropriate by the Special Master, to establish firewall protections or “clean

   team” protocols with respect to any Potential Bidder that is a competitor, customer or supplier or

   under such other circumstances as the Special Master determines to be appropriate.

   Notwithstanding the foregoing, solely with respect to information designated as “highly

   confidential” by ConocoPhillips, unless the Court orders otherwise, the Special Master shall seek

   the reasonable consent of ConocoPhillips, which consent shall not be unreasonably withheld, prior

   to disclosing any such information to any Potential Bidder. Notwithstanding the foregoing, unless

   otherwise ordered by the Court, the Special Master shall not disclose to any Potential Bidders the

   limited set of documents that the Special Master and the Venezuela Parties have agreed in writing

   (email shall suffice) shall not be disclosable pursuant to this paragraph 43.

                       44.       Sharing of Information with the United States. The Special Master shall

   be authorized to share with the United States information obtained related to the Sale Process

   Parties and any bidder or potential bidder that the Special Master determines, in his sole discretion,


                                                        33
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 35 of 176 PageID #: 12532




   is reasonably necessary or desirable in connection with the issuance of any regulatory approval or

   is reasonably necessary or desirable in connection with implementation of the Sale Procedures and

   any Sale Transaction, including any guidance or license from OFAC, provided that the Special

   Master shall request confidential treatment of information shared with the United States that has

   been designated as confidential or highly confidential by a Sale Process Party.

                       45.       Engagement of Advisors. The Special Master has retained, as approved

   by the May Order and as affirmed by this Order, the Advisors. The Special Master’s engagement

   of Evercore, pursuant to the Proposed Evercore Engagement Letter, is hereby approved and the

   terms of the Engagement Letter in all respects shall be binding on the Special Master, including

   with respect to payment of the Upfront Amount of the Sale Fee by the Sale Process Parties. Any

   amounts owed to Evercore under the Proposed Evercore Engagement Letter shall be payable to

   Evercore pursuant to the terms of the May Order, including the Sale Fee and the Upfront Amount

   of the Sale Fee; provided that in no circumstance absent further order of the Court, shall any Sale

   Fee (other than the Upfront Amount) be payable directly by the Sale Process Parties and any such

   amount shall, in each circumstance, be payable out of any proceeds or other cash consideration

   provided in connection with a Sale Transaction after the Sale Process Parties have been reimbursed

   pursuant to the terms of the May Order.

                       46.       Judicial Immunity & Exculpation. The Special Master is entitled to

   judicial immunity in performing his duties pursuant to this Order, including all actions taken to

   implement the Sale Procedures, and all other orders of the Court. The Special Master’s Advisors

   are entitled to judicial immunity in connection with all actions taken at the direction of, on behalf

   of, or otherwise in connection with representation of or advising the Special Master. No person or

   entity shall be permitted to pursue any cause of action or commence or prosecute any suit or


                                                       34
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 36 of 176 PageID #: 12533




   proceeding against the Special Master or the Advisors, or their respective employees, officers,

   directors, attorneys, auditors, representatives, agents, successors or assigns, for any reason

   whatsoever relating to the Crystallex Case, implementation of the Sale Procedures, or in

   connection with any Sale Transaction, or the performance of the Special Master’s and his

   Advisors’ duties pursuant to this Order or any other orders of the Court, or any act or omission by

   the Special Master or any Advisor in connection with the foregoing. All interested persons and

   entities, including but not limited to the Sale Process Parties, any purchaser or prospective

   purchaser of the PDVH Shares, and all persons acting in concert with them, are hereby enjoined

   and restrained from pursuing any such cause of action or commencing any such action or

   proceeding. If any person or entity attempts to pursue any such cause of action or commence any

   suit or proceeding against the Special Master or any of the Advisors with knowledge of this Order

   (or continues to pursue or prosecute any cause of action, suit or proceeding after having received

   notice of this Order), the Court shall issue an order to show cause to such person or entity and a

   hearing will be scheduled to consider appropriate relief, which may include payment of fees and

   expenses incurred by the Special Master or any of the Advisors in connection therewith. To the

   maximum extent permitted by applicable law, neither the Special Master nor his Advisors nor their

   respective employees, officers, directors, attorneys, auditors, representatives, agents, successors

   and assigns will have or incur, and are hereby released and exculpated from, any claim, obligation,

   suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and liability for any

   claim in connection with or arising out of all actions taken to implement the Marketing Process,

   Sale Procedures, Bidding Procedures, or Sale Transaction, or the performance of the Special

   Master’s and his Advisors’ duties pursuant to this Order and all other orders of the Court.




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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 37 of 176 PageID #: 12534




                       47.       Payment of Transaction Expenses.        The Special Master shall be

   compensated and reimbursed for all expenses (including fees and expenses of his Advisors) on a

   monthly basis by the Sale Process Parties pursuant to the procedures set forth in the May Order

   (collectively, such compensation and expenses, the “Transaction Expenses”), which Transaction

   Expenses shall be shared by the Sale Process Parties and any Additional Judgment Creditors,

   pursuant to this Order; provided that the Special Master shall have the discretion to seek from the

   Court authorization to reallocate payment of any Transaction Expenses if the circumstances

   require (e.g., if any single Sale Process Party generates an inordinate number of disputes or if a

   Sale Process Party’s position in a dispute is found to be unreasonable); provided, further, that any

   Additional Judgment Creditor shall be obligated to reimburse its share of the Transaction Expenses

   pursuant to the May Order (as if such Additional Judgment Creditor were a Sale Process Party)

   and this Order (for purposes of determining such Additional Judgment Creditor’s share of the

   reimbursement obligation) . The Special Master shall comply with the procedures established

   pursuant to the Court’s Memorandum Order (D.I. 338) and any subsequent order of the Court

   regarding the provision of a budget to the Sale Process Parties.

                       48.       Location of PDVH Shares. By no later than 30 calendar days after entry

   of this Order, the Venezuela Parties, including PDVSA, shall inform the Special Master as to the

   specific and precise physical location of the PDVH Shares held by PDVSA or any other facts

   relevant for determining the physical location of the PDVH Shares held by PDVSA and the

   custodian of the shares. If the applicable Venezuela Party is unaware of the location of the PDVH

   Shares, such party shall inform the Special Master as such in writing. If at any point thereafter the

   applicable Venezuela Party becomes aware of any change in circumstance regarding the location

   of the PDVH Shares, then such party shall update the Special Master in writing.


                                                        36
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 38 of 176 PageID #: 12535




                       49.       If the location of the PDVH Shares cannot be located with reasonable

   precision or if the Special Master reasonably determines that the custodian of the PDVH Shares is

   unlikely to cooperate in connection with an order compelling the person or entity to transfer the

   PDVH Shares in connection with any Sale Transaction, the Special Master shall file a

   recommendation with the Court in advance of the Sale Hearing regarding the appropriate steps to

   be taken to ensure that the Successful Bidder is able to actually purchase the applicable PDVH

   Shares in connection with the applicable Sale Transaction. The Special Master’s recommendation

   may include, if appropriate, an order compelling PDVH to issue new certificates or uncertificated

   shares to the applicable Successful Bidder and cancel the registration of the shares attached to the

   books of PDVH.

                       50.       Delaware Code, Title 10, Section 5072. For the avoidance of doubt, the

   5-year period for execution upon a judgment in a civil action set forth in 10 Del C. § 5072 is

   satisfied or otherwise tolled with respect to the PDVH Shares.

                       51.       Other Provisions. All provisions of the May Order shall remain in full

   force and effect, except for any that directly and irreconcilably conflict with an express provision

   of this Order; provided that nothing in the May Order shall in any way be used to limit the scope

   of the terms and provisions of this Order.

                       52.       The Special Master is authorized to make non-substantive changes to the

   Bidding Procedures, the Sale Notice, and any related documents without further order of the Court,

   including, without limitation, changes to correct typographical and grammatical errors.

                       53.       The terms and conditions of this Order shall be immediately effective and

   enforceable upon its entry.




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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 39 of 176 PageID #: 12536




                       54.       In addition to and without limiting any of the provisions set forth herein, the

   Special Master is authorized to take all reasonable steps necessary or appropriate to carry out this

   Order.

                       55.       This Court shall retain jurisdiction to hear and determine all matters arising

   from or related to the implementation, interpretation, or enforcement of this Order.



   Dated:      ___________________, 2022
               Wilmington, Delaware


                                                        HONORABLE LEONARD P. STARK
                                                        UNITED STATES DISTRICT JUDGE




                                                           38
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 40 of 176 PageID #: 12537




                                     Exhibit 1

                                 Bidding Procedures




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 41 of 176 PageID #: 12538




                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

   ---------------------------------------------------------------------------------------------------------------------
   CRYSTALLEX INTERNATIONAL                                     :
   CORPORATION,                                                 :
                                                                :
                     Plaintiff,                                 :
                                                                :
            v.                                                  :        Misc. No. 17-151-LPS
                                                                :
   BOLIVARIAN REPUBLIC                                          :
   OF VENEZUELA,                                                :
                                                                :
                     Defendant.                                 :
   ---------------------------------------------------------------------------------------------------------------------

                                            BIDDING PROCEDURES

                                                       Overview

   On January 14, 2021, the United States District Court for the District of Delaware (the “Court”)
   issued an opinion and corresponding order setting forth certain contours for the sale of the shares
   of PDV Holding, Inc. (“PDVH”) owned by Petróleos de Venezuela, S.A. (“PDVSA”) in
   connection with the above-captioned proceeding (the “Crystallex Case”). In furtherance thereof,
   the Court appointed Robert B. Pincus as special master (the “Special Master”) on April 13, 2021
   to assist the Court with the sale of PDVSA’s shares of PDVH.

   On [___], 2022, the Court entered an order (Docket No. __) (the “Sale Procedures Order”),
   which, among other things, authorized the Special Master to solicit bids for the sale of the shares
   of PDVH and related transactions (collectively, a “Sale Transaction”) and approved these
   procedures and accompanying notices (the “Bidding Procedures”) for the consideration of the
   highest bid that the Special Master believes to be capable of being timely consummated after taking
   into account the factors set forth below in connection therewith. 1

   These Bidding Procedures describe, among other things: (i) the procedures for bidders to submit
   bids for shares of PDVH; (ii) the manner in which bidders and bids become Qualified Bidders and
   Qualified Bids, respectively; (iii) the process for negotiating the bids received; (iv) the conduct of
   any Auction if the Special Master receives Qualified Bids; (v) the procedure for the ultimate
   selection of any Successful Bidder; and (vi) the process for approval of a Sale Transaction at the
   Sale Hearing (each, as defined herein).


   1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Sale
   Procedures Order.




   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 42 of 176 PageID #: 12539




   The Special Master may, subject to the exercise of his reasonable judgment, in a manner
   consistent with his duties to the Court, and in good faith consultation with the Sale Process
   Parties (as defined below), modify, delay implementation of, or terminate these Bidding
   Procedures, waive terms and conditions set forth herein, extend any of the deadlines or other
   dates set forth herein or adjourn any Auction and/or Sale Hearing, in each case, at any time
   and without specifying the reasons therefor, to the extent not materially inconsistent with
   these Bidding Procedures and/or the Sale Procedures Order. The Special Master may also,
   in his sole discretion, terminate discussions with any or all prospective bidders at any time
   and without specifying the reasons therefor.

                                           Summary of Important Dates

                                 Key Event                                                       Deadline

  Special Master to Launch Marketing Process and
  Establish Data Room in accordance with terms of the Sale                                  Launch (“L”)
  Procedures Order. 2

  Deadline to Submit Non-Binding Indications of Interest                                      L+ 45 days

  Deadline to Submit Stalking Horse Bids                                                      L+ 90 days

  Deadline for Special Master to Designate Stalking Horse
                                                                                             L + 150 days
  Bidder and Enter into Stalking Horse Agreement
                                                                               As soon as reasonably practicable
  Deadline for Special Master to File Notice of Stalking
                                                                              following designation by the Special
  Horse Bidder
                                                                                            Master
  Deadline to Submit Bids                                                                    L + 210 days

  Deadline for Special Master to Notify Bidders of Status as
                                                                                             L + 217 days
  Qualified Bidders

  Auction to be conducted at the offices of Potter Anderson
  & Corroon LLP (1313 N. Market Street, 6th Floor,
  Wilmington, DE 19801-6108) or such other location as is                                    L + 230 days
  mutually agreeable to the Special Master and each of the
  Sale Process Parties
                                                                               As soon as reasonably practicable
                                                                              following conclusion of the Auction
  Deadline to File Notice of Successful Bid
                                                                                or, if no Auction, selection of the
                                                                                          Successful Bid


   2
     Prior to launch of the marketing process, a notice will be filed on the docket of the Crystallex Case setting forth the
   specific date of each deadline.
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 43 of 176 PageID #: 12540




  Deadline to File Objections to Sale Transaction                                  L + 250 days

  Deadline for Parties to Reply to Objections to Sale
                                                                                   L + 263 days
  Transaction

  Sale Hearing                                                                     L + 270 days

                                       Assets To Be Sold: Shares of PDVH

   Interested parties may submit bids for the purchase and sale of some or all of the shares of PDVH
   in accordance with the terms and conditions set forth herein. To avoid any ambiguity, parties may
   submit bids for less than 100% of the shares of PDVH so long as such bid satisfies the
   Attached Judgments.

   PDVH is the sole shareholder and direct parent of CITGO Holding, Inc. (“CITGO Holding”),
   which in turn is the sole shareholder and direct parent of CITGO Petroleum Corporation (“CITGO
   Petroleum,” and together with CITGO Holding, “CITGO”).

                                                   Due Diligence

   The Special Master will post copies of certain documents available to the Special Master related
   to the shares of PDVH and CITGO to the confidential electronic data room (the “Data Room”)
   managed by the Special Master. To access the Data Room, an interested party must submit to the
   Special Master’s Advisors:

                     i.          an executed confidentiality agreement substantially in the form attached to
                                 the Sale Procedures Order; and

                    ii.          sufficient information, as reasonably determined by the Special Master, to
                                 allow the Special Master to determine that the interested party intends to
                                 access the Data Room for a purpose consistent with these Bidding
                                 Procedures.

   An interested party that meets the aforementioned requirements to the reasonable satisfaction of
   the Special Master shall be a “Potential Bidder.” As soon as reasonably practicable, the Special
   Master will provide such Potential Bidder access to the Data Room; provided that, such Data
   Room access and access to any other due diligence materials and information may be terminated
   by the Special Master in his sole discretion at any time for any reason whatsoever, including that
   a Potential Bidder does not become a Qualified Bidder, these Bidding Procedures are terminated,
   the Potential Bidder breaches any obligations under its confidentiality agreement, the Special
   Master becomes aware that information submitted by the Potential Bidder is inaccurate or
   misleading or the Potential Bidder is unable to provide sufficient information to demonstrate that
   it has the financial wherewithal to consummate a Sale Transaction. The Special Master may
   restrict or limit access of any Potential Bidder to the Data Room if the Special Master determines,
   based on his reasonable judgment, that certain information in the Data Room is sensitive,
   proprietary or otherwise not appropriate for disclosure to such Potential Bidder.

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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 44 of 176 PageID #: 12541




   Each Potential Bidder shall comply with all reasonable requests for information and due diligence
   access by the Special Master and his Advisors regarding the ability of such Potential Bidder to
   consummate a Sale Transaction.

   The Special Master may provide any Potential Bidder with any additional information requested
   by Potential Bidders (subject to any restrictions pursuant to applicable law, rule or regulation) that
   the Special Master believes to be reasonable and appropriate under the circumstances. All
   additional due diligence requests shall be directed to the Special Master’s financial advisor,
   Evercore Group L.L.C. (“Evercore”) (Attn: Ray Strong (ray.strong@evercore.com); William
   Hiltz (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David Ying
   (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)).

   Neither the Special Master nor any of his representatives shall be obligated to furnish any
   information of any kind whatsoever relating to PDVH or any of its subsidiaries to any person or
   entity who (i) is not a Potential Bidder, (ii) does not comply with the participation requirements
   set forth herein, or (iii) in the case of competitively sensitive information, is a competitor of PDVH
   or any of its direct or indirect subsidiaries.

   Each of the Sale Process Parties may recommend to the Special Master documents or additional
   information to be included in the Data Room.

                                        Non-Binding Indications of Interest

   Parties who are interested in purchasing shares of PDVH are strongly encouraged to submit to the
   Special Master by [Launch + 45 days] at 4:00 p.m. (ET) a written non-binding indication of
   interest that identifies the percentage of PDVH shares they are seeking to purchase (each a “Non-
   Binding Indication of Interest”). Non-Binding Indications of Interest should be sent to the
   Special Master’s investment banker, Evercore (Attn: Ray Strong (ray.strong@evercore.com);
   William Hiltz (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David Ying
   (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)).

   Submitting a Non-Binding Indication of Interest by the deadline listed herein does not obligate the
   interested party or the Special Master to consummate a transaction and does not obligate the
   interested party to submit a formal bid or otherwise further participate in the bidding process. It
   also does not exempt an interested party from having to submit a Qualified Bid by the applicable
   Bid Deadline or to comply with these Bidding Procedures to participate in any subsequent Auction
   for the shares in which such party is indicating an interest, all as described below. For the
   avoidance of doubt, a party that does not submit a Non-Binding Indication of Interest is not
   precluded from submitting a Qualified Bid by the Bid Deadline.

   The Special Master requests (and strongly encourages) Potential Bidders to, at a minimum, include
   the following items in their Non-Binding Indication of Interest:

                     i.          the percentage of shares of PDVH to be included in the interested party’s
                                 bid;

                    ii.          the cash purchase price in U.S. dollars that the interested party would be
                                 prepared to pay, the amount and a detailed description of any non-cash
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 45 of 176 PageID #: 12542




                                 components of the purchase price and a brief description of the
                                 methodology used by the interested party to select its proposed value;

                   iii.          any minority shareholder rights, protections, or other desired terms in
                                 connection with any bid for less than 100% of the PDVH Shares;

                   iv.           expected sources and uses for payment of the purchase price, including
                                 either confirmation that no financing would be required to consummate a
                                 Sale Transaction, or alternatively, the type and amount of any financing that
                                 would be so required and confirmation that such financing would not be a
                                 condition to consummation of a Sale Transaction;

                    v.           identification of the acquiring entity that would be party to a Sale
                                 Transaction and details regarding the ownership of such entity;

                   vi.           a description of any and all shareholder, regulatory or other third-party
                                 approvals, consents and notifications and other conditions that the interested
                                 party views as being necessary to consummate the Sale Transaction and the
                                 interested party’s expected timeline for satisfying such conditions or
                                 approvals;

                  vii.           the interested party’s consent for the Special Master, in his discretion, to
                                 share information with U.S. Government regulators, including the
                                 Department of the Treasury’s Office of Foreign Assets Control (“OFAC”),
                                 pertaining to such interested party or the Non-Binding Indication of Interest;

                 viii.           any material assumptions underlying the Non-Binding Indication of Interest
                                 regarding the interested party’s determination of a purchase price or the
                                 assets to be purchased, including the interested party’s proposed treatment
                                 of the outstanding indebtedness of PDVH and its subsidiaries and the
                                 purported pledge of shares of CITGO Holding (the “CITGO Holding
                                 Pledge”) for the benefit of holders of that certain series of bonds issued by
                                 PDVSA due in 2020 (the “PDVSA 2020 Bondholders”);

                   ix.           sufficient information to demonstrate that the interested party has the
                                 financial wherewithal to timely consummate a Sale Transaction;

                    x.           a specific and comprehensive list of all due diligence information and
                                 meetings with management (including site visits) and others which the
                                 interested party would require in order to be able to submit a definitive,
                                 binding offer without due diligence conditions and the interested party’s
                                 specific plans and timeline for completion of such due diligence;

                   xi.           any internal or other approvals that would be required by the interested party
                                 in order to execute definitive documentation in respect of a Sale Transaction
                                 and the interested party’s expected timeline for obtaining such approvals,
                                 and an indication as to any board, committee or other internal approvals or

                                                           5
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 46 of 176 PageID #: 12543




                                 support the interested party has obtained in connection with submission of
                                 the Non-Binding Indication of Interest; and

                  xii.           any other factors that are relevant to the Non-Binding Indication of Interest.


                                                          Bid Deadline

   A Potential Bidder that desires to submit a bid for shares of PDVH shall deliver electronic copies
   of its bid so as to be received by the Special Master no later than [Launch Date + 210 days] at
   4:00 p.m. (ET) (the “Bid Deadline”); provided that, the Special Master may, in consultation with
   the Sale Process Parties, upon consideration of relevant factors, including any Non-Binding
   Indications of Interest received by the Special Master, accelerate or extend the Bid Deadline
   without further order of the Court subject to providing notice to all Potential Bidders and any
   Stalking Horse Bidder. The submission of a bid by the Bid Deadline shall constitute a binding
   and irrevocable offer to acquire the assets specified in such bid. The Special Master will have
   the right in his sole discretion to prohibit any party that does not submit a bid by the Bid Deadline
   from (i) submitting any offer after the Bid Deadline or (ii) participating in any Auction.

   Bids should be submitted by email to the following representatives of the Special Master:

              Weil, Gotshal & Manges LLP                                         Evercore
                  Ray C. Schrock, P.C.                                          Ray Strong
                (Ray.Schrock@weil.com)                                 (ray.strong@evercore.com)
                    Michael J. Aiello                                          William Hiltz
               (Michael.Aiello@weil.com)                                  (hiltz@evercore.com)
                  Alexander W. Welch                                            David Ying
              (Alexander.Welch@weil.com)                                  (ying@evercore.com)
                    Renee M. Pristas                                        Stephen Goldstein
                (Renee.Pristas@weil.com)                           (stephen.goldstein@evercore.com)
                     Chase Bentley                                            Patrick O’Shea
               (Chase.Bentley@weil.com)                              (patrick.oshea@evercore.com)
                    Kenneth Hershey
              (Kenneth.Hershey@weil.com)

                                       Designation of Stalking Horse Bidder

   Designation of Stalking Horse Bidder. A Potential Bidder that desires to make a stalking horse
   bid (each a “Stalking Horse Bidder,” and its bid, a “Stalking Horse Bid”) shall deliver electronic
   copies of its Stalking Horse Bid so as to be received by the Special Master no later than [Launch
   + 90 days] at 4:00 p.m. (ET) (the “Stalking Horse Bid Deadline”); provided that, the Special
   Master may, in consultation with the Sale Process Parties, extend the Stalking Horse Bid Deadline
   without further order of the Court subject to providing notice to all Potential Bidders. A Stalking
   Horse Bid shall include and be consistent with the form and content of a Bid explained in the
   following section and may provide for the provision of Stalking Horse Bid Protections (as defined
   below).

                                                           6
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 47 of 176 PageID #: 12544




   Following the Stalking Horse Bid Deadline, the Special Master may, in consultation with the Sale
   Process Parties, designate a Stalking Horse Bidder and, following approval from the Court, enter
   into an agreement (a “Stalking Horse Agreement”) with such Stalking Horse Bidder. To the
   extent the Special Master designates any Stalking Horse Bidder, the Special Master shall promptly
   and as soon as reasonably practicable file with the Court a notice (the “Notice of Stalking Horse
   Bidder”) that identifies the Stalking Horse Bidder, discloses any Stalking Horse Bid Protections,
   specifies the equity value implied by the total enterprise value of the Stalking Horse Bid as
   reasonably determined by the Special Master (the “Implied Value” and the Implied Value of the
   Stalking Horse Bid, the “Stalking Horse Bid Implied Value”), and attaches the Stalking Horse
   Agreement.

   Good Faith Deposit. Upon entry into the Stalking Horse Agreement by the Special Master, the
   Stalking Horse Bidder shall make a cash deposit that is refundable under the circumstances
   described in these Bidding Procedures in the amount that is the lesser of (i) ten percent (10%) of
   the value of the total consideration of the Stalking Horse Bid or (ii) $50,000,000, unless otherwise
   agreed to by the Special Master, in consultation with the Sale Process Parties and the Stalking
   Horse Bidder; provided, that the Special Master may petition the court to reduce the foregoing
   deposit requirement after consultation with the Sale Process Parties.

   Stalking Horse Bid Protections. In connection with any Stalking Horse Agreement, the Special
   Master may, subject to Court approval, agree to: (i) establish initial overbid minimum and
   subsequent bidding increment requirements not to exceed 5.0% of the Stalking Horse Bid Implied
   Value, subject to adjustment for any Bids for a lesser percentage of the PDVH Shares than the
   Stalking Horse Bid; (ii) a break-up fee in an amount agreed to by the Special Master in
   consultation with the Sale Process Parties (as defined herein) but not to exceed 3.0% of the Stalking
   Horse Bid Implied Value (a “Termination Payment”) payable either (a) in the event that an
   overbid is consummated, out of the proceeds from the consummation of such overbid or (b) by
   PDVH, CITGO Holding, and CITGO Petroleum in circumstances where any of PDVH, CITGO
   Holding, and/or CITGO Petroleum is materially responsible for the events that give rise to
   termination of the Stalking Horse Agreement; (iii) provide that if the Stalking Horse Bidder bids
   on shares of PDVH at the Auction, the Stalking Horse Bidder will be entitled to a credit up to the
   amount of any Termination Payment against the increased purchase price for its subsequent Bid;
   (iv) provide for the reimbursement of reasonable and documented fees and expenses actually
   incurred by the Stalking Horse Bidder by PDVH, CITGO Holding and CITGO Petroleum solely
   under certain circumstances in which the transactions contemplated by the Stalking Horse
   Agreement are not consummated (“Expense Reimbursement”); (v) provide that any sale order
   shall seek to transfer the PDVH Shares free and clear of any claims upon them; and (vi) provide
   other reasonable, appropriate or customary protections to a Stalking Horse Bidder (the bid
   protections described in this paragraph collectively are referred to as the “Stalking Horse Bid
   Protections”). The amount and a description of any Stalking Horse Bid Protections shall be
   included in the Notice of Stalking Horse Bidder.

   Following approval from the Court, the Stalking Horse Bid Protections shall be binding upon the
   Special Master’s entry into the Stalking Horse Agreement.

   Designation of Back-Up Bid. In the event that the Special Master does not receive any Qualified
   Bids by the Bid Deadline (other than the Stalking Horse Bid), the Stalking Horse Bidder shall be
                                                    7
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 48 of 176 PageID #: 12545




   deemed the Successful Bidder with respect to the assets specified in such bidder’s Stalking Horse
   Bid or the Stalking Horse Agreement, as applicable. If, however, the Special Master identifies a
   Bid other than the Stalking Horse Bid as the Successful Bid, then the Stalking Horse Bid may be
   designated by the Special Master as a back-up bid (the “Back-Up Bid” and such bidder,
   the “Back-Up Bidder”). Except as otherwise agreed in a Stalking Horse Agreement, the Back-
   Up Bid shall remain open and irrevocable until the earliest to occur of: (i) consummation of a Sale
   Transaction with the Successful Bidder; (ii) the release of such Back-Up Bid by the Special Master
   in writing; and (iii) 180 days from the announcement of the Back-Up Bid (unless otherwise agreed
   to by the Special Master, in consultation with the Sale Process Parties) (such date, the “Back-Up
   Bid Expiration Date”).

   If a Sale Transaction with a Successful Bidder is terminated prior to the Back-Up Bid Expiration
   Date, the Back-Up Bidder shall be deemed a Successful Bidder and shall be obligated to
   consummate the transactions contemplated by the Back-Up Bid as if it were a Successful Bid;
   provided that the Special Master is not required to accept any bid or designate a Successful Bid or
   Back-Up Bid.

                                             Form and Content of Bid

           A bid is a signed document from a Potential Bidder received by the Special Master by the
   applicable Bid Deadline that identifies the proposed purchaser by its legal name and any other
   party that will be participating in connection with the bid (a “Bid”). To be considered for selection
   as a Stalking Horse Bid and/or to constitute a “Qualified Bid,” a Bid must include, at a minimum,
   the following: 3

                       i.        Proposed Agreement. Each Bid must include an agreement executed by the
                                 Potential Bidder (the “Proposed Agreement”) that provides for the
                                 acquisition of all or some of the shares of PDVH, together with a redline
                                 comparing the Proposed Agreement to the form of agreement distributed by
                                 the Special Master to Potential Bidders.

                       ii.       Purchase Price; Percentage of Shares of PDVH Purchased; Cash
                                 Requirements; Assumed Liabilities; Credit Bid; Assumptions or Related
                                 Transactions. Each Bid must clearly set forth:

                                   (a)          Purchase Price. Each Bid must clearly identify the total
                                                purchase price to be paid by the Potential Bidder
                                                (the “Purchase Price”), including the amount to be paid in
                                                cash in U.S. dollars and any non-cash components,
                                                including, without limitation, a Credit Bid, stock and/or the
                                                assumption of liabilities.

                                   (b)          Percentage of Shares of PDVH Purchased. Each Bid must,
                                                in the Proposed Agreement, clearly identify the percentage

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     The Special Master, in consultation with the Sale Process Parties, may waive any of the following requirements
   with respect to any Bid.
                                                          8
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 49 of 176 PageID #: 12546




                                       of shares of PDVH and any other assets that the Potential
                                       Bidder seeks to acquire or exclude.

                                 (c)   Shareholder or Minority Shareholder Rights. If the Bid is
                                       for less than 100% of the PDVH Shares, the Bid should
                                       clearly specify any required shareholder or minority
                                       shareholder rights or protections contemplated by the Bid.

                                 (d)   Cash Requirements. Each Bid must provide sufficient cash
                                       consideration to pay in full (i) any applicable Termination
                                       Payment and (ii) all Transaction Expenses (as defined in the
                                       Sale Procedures Order).

                                 (e)   Assumed Liabilities. Each Bid must clearly identify any
                                       additional liabilities the Potential Bidder seeks to assume.

                                 (f)   Credit Bid. Persons or entities holding an Attached
                                       Judgment may seek to submit a credit bid (a “Credit Bid”)
                                       on the PDVH shares, to the extent permitted by applicable
                                       law. For the avoidance of doubt, a Credit Bid must (i)
                                       comply with the “Cash Requirements” set forth in section
                                       (ii)(d) of these Bidding Procedures and (ii) provide
                                       sufficient cash to satisfy any obligations secured by a senior
                                       lien on the PDVH Shares. Notwithstanding the foregoing,
                                       the Special Master may waive the “Cash Requirements”
                                       with respect to a Credit Bid if the applicable Credit Bid
                                       provides for payment of the applicable obligation in full in
                                       cash in a manner acceptable to the Special Master or, to the
                                       extent applicable, if such senior creditor consents. Any
                                       Potential Bidder submitting a Credit Bid must certify under
                                       oath the amount of its claim as of the date of the Credit Bid
                                       and again prior to consummation of any Sale Transaction if
                                       the Credit Bid is deemed the Successful Bid, in each case,
                                       in accordance with the terms of the Sale Procedures Order.

                                 (g)   Assumptions or Related Transactions. Each Bid must
                                       clearly (i) identify any underlying material assumptions
                                       regarding the business of PDVH and CITGO or the
                                       Potential Bidder’s determination of a Purchase Price or the
                                       assets to be purchased, including the Potential Bidder’s
                                       proposed treatment of the outstanding indebtedness of
                                       PDVH and its subsidiaries and the CITGO Holding Pledge
                                       and (ii) disclose any related transactions to be pursued or
                                       effectuated by the Potential Bidder in connection with the
                                       transactions contemplated by the Bid and the Proposed
                                       Agreement.


                                                 9
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 50 of 176 PageID #: 12547




                       iii.      Unconditional Offer. A statement that the Bid is formal, binding, and
                                 unconditional, is not subject to any further due diligence or financing
                                 contingency, and is irrevocable until the Special Master notifies the
                                 Potential Bidder that such Bid is not a Successful Bid or a Back-Up Bid and
                                 files the Notice of Successful Bid in the Crystallex Case.

                       iv.       Proof of Financial Ability to Perform. Each Bid must contain a description
                                 of sources and uses for payment of the Purchase Price and such financial
                                 and other information that allows the Special Master, in consultation with
                                 the Sale Process Parties, to make a reasonable determination as to the
                                 Potential Bidder’s financial and other capabilities to timely consummate a
                                 Sale Transaction. Without limiting the foregoing, such information must
                                 include current financial statements or similar financial information
                                 certified to be true and correct as of the date thereof, proof of financing
                                 commitments if needed to consummate the Sale Transaction (not subject to,
                                 in the Special Master’s sole discretion, any unreasonable conditions),
                                 contact information for verification of such information, including for any
                                 financing sources, and any other information reasonably requested by the
                                 Special Master to demonstrate that such Potential Bidder has the ability to
                                 consummate a Sale Transaction in a timely manner.

                       v.        Required Approvals. A statement or evidence (i) that the Potential Bidder
                                 has made or will make in a timely manner (a) all filings and disclosures
                                 necessary to comply with the regulations of OFAC (or that the Potential
                                 Bidder has already received any necessary authorization), (b) all necessary
                                 filings under the Hart-Scott-Rodino Antitrust Improvements Act of 1976,
                                 as amended, and any other antitrust laws, as applicable, and pay the fees
                                 associated with such filings and (c) all necessary filings in connection with
                                 any applicable review by the Committee on Foreign Investment in the
                                 United States (CFIUS); (ii) of the Potential Bidder’s plan and ability to
                                 obtain or make all requisite shareholder, governmental, regulatory, or other
                                 third-party approvals, consents and notifications (including a list of all
                                 contemplated third-party approvals, consents and notifications) and the
                                 proposed timing for the Potential Bidder to undertake the actions required
                                 to obtain or make such approvals, consents and notifications; (iii) that the
                                 Bid is reasonably likely, after taking into consideration antitrust and any
                                 other regulatory matters, the Potential Bidder’s prior experience, and any
                                 other relevant considerations, to be consummated, if selected as the
                                 Successful Bid, within a time frame acceptable to the Special Master; and
                                 (iv) of the Potential Bidder’s consent for the Special Master, in his
                                 discretion, to share with U.S. Government regulators, including OFAC,
                                 information pertaining to the Potential Bidder or the Bid. A Potential
                                 Bidder further agrees that its legal counsel will coordinate in good faith with
                                 the Special Master’s legal counsel to discuss and explain such Potential
                                 Bidder’s regulatory and other consent analysis, strategy, and timeline for
                                 securing all such approvals and consents as soon as reasonably practicable.

                                                           10
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 51 of 176 PageID #: 12548




                       vi.       Disclosure of Identity and Authorization. Each Bid must (i) fully disclose
                                 the identity of the Potential Bidder and each entity that will be bidding or
                                 otherwise participating in such bid, including the acquiring entity that
                                 would be party to the Sale Transaction and details regarding the ownership
                                 of such entity, and the complete terms of any such participation, and
                                 (ii) include evidence of corporate or other organizational authorization and
                                 approval from the Potential Bidder’s board of directors (or comparable
                                 governing body) with respect to the submission, execution, and delivery of
                                 a Bid (including execution of the Potential Bidder’s Proposed Agreement),
                                 participation in any Auction, and closing of the transactions contemplated
                                 by the Potential Bidder’s Proposed Agreement in accordance with the terms
                                 of such agreement and these Bidding Procedures.

                       vii.      No Entitlement to Expense Reimbursement or Other Amounts. With the
                                 exception of any Stalking Horse Bid, each Bid must expressly state that the
                                 Bid does not entitle the Potential Bidder to any break-up fee, termination
                                 fee, expense reimbursement, or similar type of payment or reimbursement.

                       viii.     Special Master’s Judicial Immunity. Each Bid must expressly state that
                                 (i) the Potential Bidder agrees that in no circumstance shall the Special
                                 Master or his Advisors be personally or otherwise liable for any amounts or
                                 obligations owed to the Potential Bidder and (ii) the Special Master and his
                                 Advisors are acting as an arm of the Court and are entitled to judicial
                                 immunity in the performance of their duties.

                       ix.       Joint Bids. The Special Master may approve joint Bids in his sole discretion
                                 on a case-by-case basis.

                       x.        Representations and Warranties. Each Bid must include the following
                                 representations and warranties:

                                 a.      a statement that the Potential Bidder has had an opportunity to
                                         conduct and has completed any and all due diligence regarding the
                                         assets to be purchased prior to submitting its Bid;

                                 b.      a statement that the Potential Bidder recognizes and acknowledges
                                         that the Special Master, his Advisors, PDVH, and CITGO make no
                                         representations, covenants, or warranties (or any other promise) as
                                         to the accuracy or completeness of any information provided in the
                                         Data Room or otherwise made available by the Special Master and
                                         his Advisors in connection with the bid process;

                                 c.      a statement that the Potential Bidder has relied solely upon its own
                                         independent review, investigation, and/or inspection of any relevant
                                         documents regarding the assets to be purchased and did not rely on
                                         any written or oral statements, representations, promises,
                                         warranties, or guaranties whatsoever, whether express or implied,

                                                          11
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 52 of 176 PageID #: 12549




                                         by operation of law or otherwise, regarding the assets to be
                                         purchased or the completeness of any information made available
                                         in connection therewith;

                                 d.      a statement that the Potential Bidder has not engaged in any
                                         collusion with respect to the submission of its Bid;

                                 e.      a statement that all proof of financial ability to consummate a Sale
                                         Transaction in a timely manner is true and correct; and

                                 f.      a statement that the Potential Bidder agrees to be bound by the terms
                                         and conditions of the Bidding Procedures.

             A Potential Bidder must also accompany its Bid with:

                       xi.       the contact information of the specific person(s) whom the Special Master
                                 or his Advisors should contact in the event that the Special Master has any
                                 questions or wishes to discuss the Bid submitted by the Potential Bidder.

                       xii.      a covenant to cooperate with the Special Master and the Sale Process Parties
                                 to provide pertinent factual information regarding the Potential Bidder’s
                                 ownership and operations reasonably required to respond to, or otherwise
                                 analyze issues arising with respect to, U.S. sanctions laws and regulations,
                                 the Committee on Foreign Investment in the United States, any applicable
                                 antitrust laws, and other relevant regulatory requirements or requests.

                       xiii.     if the Purchase Price of a Bid includes non-cash components, a detailed
                                 analysis of the value of any such non-cash components, including any
                                 assumptions related thereto, and reasonable back-up documentation to
                                 support such value.

                       xiv.      a cash deposit that is refundable under the circumstances described in these
                                 Bidding Procedures in the amount that is the lesser of (i) ten percent (10%)
                                 of the value of the total consideration of the Bid or (ii) $50,000,000 (such
                                 cash deposit, a “Good Faith Deposit”), unless otherwise agreed to by the
                                 Special Master, in consultation with the Sale Process Parties, and a Potential
                                 Bidder; provided that, the Special Master may petition the court to reduce
                                 the Good Faith Deposit requirement for any particular Potential Bidder or
                                 type of bid after consultation with the Sale Process Parties; provided further
                                 that, a Potential Bidder submitting a Credit Bid shall only be required to
                                 provide a Good Faith Deposit in the amount that is the lesser of (i) 10% of
                                 the cash component of such Bid or (ii) $50,000,000 if such Potential Bidder
                                 agrees in connection with the submission of such Credit Bid that the lesser
                                 of 10% of the portion of the judgment that is Credit Bid or $50 million of
                                 the judgment that is Credit Bid shall serve as the Good Faith Deposit and
                                 be forever waived in a manner upon which any other Bidder would forfeit
                                 its Good Faith Deposit, provided however that no forfeiture shall occur if

                                                          12
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 53 of 176 PageID #: 12550




                                 the reason for the withdrawal or failure to consummate the Credit Bid is a
                                 settlement or satisfaction of the judgment.

                                                   Good Faith Deposit

          Except as otherwise provided herein with respect to a Stalking Horse Bidder, a Good Faith
   Deposit must be deposited by a Potential Bidder on or prior to the Bid Deadline, with an escrow
   agent selected by the Special Master (the “Escrow Agent”) pursuant to an escrow agreement to
   be provided by the Special Master. To the extent a Bid is modified before, during, or after any
   Auction, the Special Master reserves the right to require that such Potential Bidder adjust its Good
   Faith Deposit so that it equals the lesser of (i) ten percent (10%) of the value of the total
   consideration of the Bid or (ii) $50,000,000 (or such other amount as is agreed to by the Special
   Master in consultation with the Sale Process Parties in accordance with subsection xiv of Form
   and Content of Bid). If a Qualified Bidder is required to adjust its Good Faith Deposit, its status
   as a Qualified Bidder shall be suspended pending satisfaction of such adjustment.

          Notwithstanding the foregoing, in the event that the Special Master concludes that the
   Good Faith Deposit should be reduced for any particular Potential Bidder or type of bid after
   consultation with the Sale Process Parties, the Special Master may petition the Court to approve a
   reduction of the Good Faith Deposit for such Potential Bidder or bid. The Special Master may
   seek such a reduction, and the Court may approve one, notwithstanding the lack of an agreement
   between the Sale Process Parties as to such reduction.

                                                   Sale Process Parties

           At all times during the bidding process, the Special Master will consult with the Court and
   the Sale Process Parties and may do so on an ex parte basis in camera. In addition, throughout the
   bidding process, the Special Master and his Advisors will regularly and timely consult with the
   following parties (through their applicable advisors) (collectively, the “Sale Process Parties”):

                       i.        The Venezuela Parties, including PDVH and CITGO;

                       ii.       Crystallex; and

                       iii.      ConocoPhillips.

           The Special Master shall use reasonable efforts to timely provide copies of any Non-
   Binding Indications of Interest, Bids, Stalking Horse Bids, and other relevant documents to the
   Sale Process Parties, provided that the Special Master shall not consult with or provide copies of
   any Non-Binding Indications of Interest, Bids, or Stalking Horse Bids to any Sale Process Party
   pursuant to the terms of these Bidding Procedures if such Sale Process Party has a Bid pending, or
   has expressed any written interest in bidding for the PDVH Shares. If a Sale Process Party chooses
   not to submit any Bid, then such party may receive copies of all Bids following expiration of the
   latest possible Bid Deadline (as such Bid Deadline may be extended by the Special Master pursuant
   to the terms of these Bidding Procedures); provided that (i) such Sale Process Party shall be
   required to hold any Bids or other documents received in strict confidence in accordance with the
   terms of the Special Master Confidentiality Order [D.I. 291] and (ii) upon a Sale Process Party’s
   receipt of a copy of any Bid, such Sale Process Party shall thereafter be precluded from submitting
                                                    13
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 54 of 176 PageID #: 12551




   any bid or other offer for the PDVH Shares. For the avoidance of doubt, if the only Bid that a Sale
   Process Party receives a copy of is the Stalking Horse Bid designated by the Special Master, such
   Sale Process Party may submit a Bid like any other Potential Bidder pursuant to the terms of these
   Bidding Procedures.

           Without the express written consent of the Special Master, no Sale Process Party shall
   contact or in any way communicate with a Potential Bidder except as permitted by paragraph 40
   of the Sale Procedures Order.

          For the avoidance of doubt, any consultation rights afforded to the Sale Process Parties by
   these Bidding Procedures shall not limit the Special Master’s discretion in any way and shall not
   include the right to veto any decision made by the Special Master in the exercise of his judgment
   in good faith.

           In addition, the Special Master may in his sole discretion (but is not obligated to) consult
   with the United States, the Intervenor PDVSA 2020 Bondholders, other creditors of the Republic
   and PDVSA and any of its direct and indirect subsidiaries, and any additional person or entity that
   the Special Master determines it would be appropriate to consult in connection with
   implementation of the Sale Procedures Order and these Bidding Procedures. For the avoidance of
   doubt, such parties shall not be “Sale Process Parties” as defined herein.

                                  Review of Bids; Designation of Qualified Bids

           The Special Master, in consultation with the Sale Process Parties following expiration of
   the latest possible Bid Deadline (as such Bid Deadline may be modified by the Special Master
   pursuant to the terms of these Bidding Procedures), will evaluate Bids that are timely submitted
   and may engage in negotiations with Potential Bidders who submitted Bids as the Special Master
   deems appropriate in the exercise of his judgment, based upon the Special Master’s evaluation of
   the content of each Bid.

          A Bid received that is determined by the Special Master, in consultation with the Sale
   Process Parties, to meet the requirements set forth herein will be considered a “Qualified Bid”
   and any bidder that submits a Qualified Bid (including any Stalking Horse Bid) will be considered
   a “Qualified Bidder.”

           By no later than [Launch + 217 days] (the “Qualified Bid Deadline”), the Special Master
   shall determine, in his reasonable judgment, and in consultation with the Sale Process Parties,
   which of the Bids received by the Bid Deadline qualifies as a Qualified Bid. The Special Master
   shall notify each Potential Bidder who submits a Qualified Bid of its status as a Qualified Bidder
   by the Qualified Bid Deadline.

          Solely if the Court has approved of the Special Master entering into a Stalking Horse
   Agreement and such Stalking Horse Agreement has been executed, no other Bid shall be
   considered a Qualified Bid unless such Bid meets the following mandatory requirements
   (the “Mandatory Requirements”):

                     i.          The Bid must have a greater Implied Value than the Stalking Horse Bid
                                 Implied Value or be within a range of such Implied Value which, in the
                                                        14
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 55 of 176 PageID #: 12552




                                 Special Master’s judgment, is sufficient to meet the requirements of
                                 obtaining a value maximizing transaction, provided, that this requirement
                                 shall not preclude a Bid for less than 100% of the PDVH Shares from being
                                 considered a Qualified Bid so long as such Bid satisfies the Attached
                                 Judgments in cash and in full;

                    ii.          In addition to the minimum amount of consideration necessary to satisfy the
                                 foregoing requirement, the Bid must provide for additional consideration
                                 sufficient to pay in full in cash all Stalking Horse Bid Protections, including
                                 any Termination Payment and Expense Reimbursement amounts payable;
                                 and

                   iii.          The Bid must provide for either (i) sufficient proceeds to pay no less of the
                                 Attached Judgments than the Stalking Horse Bid or (ii) proceeds in excess
                                 of the proceeds provided for in the Stalking Horse Bid after payment of all
                                 Stalking Horse Bid Protections.

          In evaluating the Bids (and only Bids that meet the Mandatory Requirements, if
   applicable), the Special Master may take into consideration the following non-binding factors:
                     i.          the amount of the Purchase Price and Credit Bid, including other non-cash
                                 consideration, as applicable, set forth in the Bid and the Implied Value of
                                 the Bid (provided that for purposes of evaluating competing bids, every U.S.
                                 dollar of a Credit Bid shall be treated the same as a U.S. dollar from a cash
                                 or other non-cash Bid, and a Credit Bid shall not be considered inferior to a
                                 comparable cash or other non-cash Bid because it is a Credit Bid);

                    ii.          the percentage of shares of PDVH to be purchased and any other assets
                                 included in or excluded from the Bid;

                   iii.          the value to be provided under the Bid, including the net economic effect
                                 taking into account any Stalking Horse Bidder’s rights to any Termination
                                 Payment and any other Stalking Horse Bid Protections;

                   iv.           any benefit to PDVH and its subsidiaries from any assumption of liabilities
                                 or waiver of liabilities;

                    v.           the transaction structure and execution risk, including conditions to, and
                                 speed, complexity, timing and certainty of, closing of the Sale Transaction,
                                 termination provisions, availability of financing and financial wherewithal
                                 of the Qualified Bidder to pay the Purchase Price and satisfy all other
                                 requirements and commitments, and any required shareholder,
                                 governmental, regulatory or other third-party approvals or consents; and

                   vi.           any other factors the Special Master may deem relevant consistent with his
                                 duties to the Court and applicable law.



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 56 of 176 PageID #: 12553




          The Special Master reserves the right to work with any Potential Bidder in advance of the
   Auction to cure any deficiencies in a Bid that is not initially deemed a Qualified Bid. The Special
   Master may amend or waive the conditions precedent to being a Qualified Bidder (including any
   Mandatory Requirements) at any time in his reasonable judgment, in consultation with the Sale
   Process Parties and in a manner consistent with his duties to the Court and under applicable law
   (as reasonably determined in good faith by the Special Master in consultation with his legal
   counsel).

           The Special Master may, in his discretion, seek the cooperation of third parties to evaluate
   a Bid pursuant to the Sale Procedures Order. The Special Master, in consultation with the Sale
   Process Parties, may accept a single Bid or multiple partial Bids, if taken together, such multiple
   partial Bids would otherwise meet the standards for a single Qualified Bid (in which event those
   multiple bidders shall be treated as a single Qualified Bidder for purposes of the Auction).

          Without the written consent of the Special Master, a Qualified Bidder may not modify,
   amend, or withdraw its Qualified Bid, except for proposed amendments to increase the Purchase
   Price or otherwise improve the terms of the Qualified Bid during the period that such Qualified
   Bid remains binding as specified herein; provided that, any Qualified Bid may be improved at any
   Auction as set forth in these Bidding Procedures.

                     Failure to Receive Qualified Bids Other Than Stalking Horse Bid

           If no Qualified Bid other than the Stalking Horse Bid is received by the Qualified Bid
   Deadline, the Special Master will not conduct an Auction, and shall file a notice with the Court
   indicating that no Auction will be held. In such circumstance, the Special Master shall also file
   with the Court a notice designating the Stalking Horse Bid as the Successful Bid and the Stalking
   Horse Bidder as the Successful Bidder as soon as reasonably practicable after the Qualified Bid
   Deadline.

                                          Auction Procedures

           If the Special Master receives more than one Qualified Bid (inclusive of any Stalking Horse
   Bid), the Special Master shall conduct the Auction beginning at 10:00 a.m. (ET) at the offices
   of Potter Anderson & Corroon LLP, 1313 N. Market Street, 6th Floor, Wilmington, DE
   19801-6108 or such other location mutually agreeable to the Special Master and each of the Sale
   Process Parties, on [Launch + 230 days], or such other later date as may be determined by the
   Special Master in consultation with the Sale Process Parties. Only a Qualified Bidder will be
   eligible to participate in the Auction, subject to such other limitations as the Special Master may
   impose in good faith. In addition, professionals and/or other representatives of the Special Master
   and the Sale Process Parties shall be permitted to attend and observe the Auction. Each Qualified
   Bidder shall be required to confirm, both before and after the Auction, that it has not engaged in
   any collusion with respect to the submission of any bid, the bidding, or the Auction.

            The Special Master may, in consultation with the Sale Process Parties, adopt rules for the
   Auction at any time that the Special Master reasonably determines it to be appropriate to promote
   a spirited and robust auction. Any rules developed by the Special Master will provide that all bids
   in the Auction will be made and received on an open basis, and all other bidders participating in

                                                   16
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 57 of 176 PageID #: 12554




   the Auction will be entitled to be present for all bidding with the understanding that the true identity
   of each bidder placing a bid at the Auction will be fully disclosed to all other bidders participating
   in the Auction, and that all material terms of a bid submitted in response to any successive bids
   made at the Auction will be disclosed to all other bidders. Each Qualified Bidder will be permitted
   to receive what the Special Master, in consultation with the Sale Process Parties, reasonably
   determines to be an appropriate amount of time to respond to the previous bid at the Auction. The
   Auction will be conducted openly and shall be transcribed or recorded.

            The Special Master may, in consultation with the Sale Process Parties, identify the highest
   Qualified Bid that the Special Master reasonably believes to be capable of being timely
   consummated after taking into account the factors set forth above as the successful bid
   (a “Successful Bid” and the bidder submitting such bid, a “Successful Bidder”); provided, that if
   the Special Master receives multiple competing Qualified Bids that would satisfy the Attached
   Judgments in full and which the Special Master reasonably believes to be capable of being timely
   consummated as set forth above, then the Special Master must designate such Qualified Bid that
   (i) satisfies the Attached Judgments and (ii) provides for the sale of the fewest PDVH Shares,
   unless PDVSA consents to the Special Master designating the Qualified Bid for more of the PDVH
   Shares. As set forth above, the Special Master may also identify the Stalking Horse Bidder and its
   Stalking Horse Bid as a Back-Up Bid. If a Sale Transaction with a Successful Bidder is terminated
   prior to the Back-Up Bid Expiration Date, the Back-Up Bidder shall be deemed a Successful
   Bidder and shall be obligated to consummate the transactions contemplated by the Back-Up Bid
   as if it were a Successful Bid. For the avoidance of doubt, the Special Master is not required to
   accept any bid or designate a Successful Bidder or Back-Up Bidder.

          Within one (1) business day after the Auction, a Successful Bidder shall submit to the
   Special Master, for the Special Master’s review, approval and coordination of execution, definitive
   documentation in respect of the Sale Transaction executed by the Successful Bidder and
   memorializing the terms of a Successful Bid. A Successful Bid may not be assigned to any party
   without the written consent of the Special Master.

            At any time before entry of an order approving an applicable Sale Transaction envisioned
   by a Qualified Bid, the Special Master reserves the right to and may reject such Qualified Bid if
   such Qualified Bid, in the Special Master’s sole discretion, is: (i) inadequate or insufficient;
   (ii) not in conformity with the requirements of the Federal Rules of Civil Procedure, Delaware or
   other applicable law, an order of the Court, these Bidding Procedures, or the terms and conditions
   of the applicable Sale Transaction; or (iii) contrary to the best interests of the Parties and
   ConocoPhillips in the Crystallex Case.

                                          Post-Auction Process
           If an Auction is held, as soon as reasonably practicable thereafter, the Special Master shall
   file with the Court a notice of a Successful Bid and Successful Bidder. Unless otherwise required
   by applicable law, the Special Master shall not consider any bids submitted after the conclusion of
   the Auction.

           Within seven (7) days after the Auction, the Special Master shall direct the Escrow Agent
   to return the deposit of any bidder who is not declared a Successful Bidder or a Back-Up Bidder.

                                                     17
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 58 of 176 PageID #: 12555




   Upon the authorized return of any such deposit, the bid of such Potential Bidder or Qualified
   Bidder, as applicable, shall be deemed revoked and no longer enforceable.

           A Successful Bidder’s deposit shall be applied against the cash portion of the Purchase
   Price of such bidder’s Successful Bid upon the consummation of a Sale Transaction.

            In addition to the foregoing, the deposit of a Qualified Bidder will be forfeited to the
   Special Master if (i) the Qualified Bidder attempts to modify, amend, or withdraw its Qualified
   Bid, except as permitted herein, during the time the Qualified Bid remains binding and irrevocable
   or (ii) the Qualified Bidder is selected as a Successful Bidder and refuses or fails to enter into the
   required definitive documentation or to consummate a Sale Transaction in accordance with these
   Bidding Procedures. A forfeited deposit shall first be used to pay any unpaid Transaction Expenses
   and, if any excess remains thereafter, the Special Master shall seek guidance from the Court
   regarding the distribution thereof.

                                              Sale Hearing

          If the Special Master elects to proceed with a Sale Transaction in accordance with these
   Bidding Procedures, the Special Master will seek the entry of an order authorizing and approving,
   among other things, the Sale Transaction with the Successful Bidder, including the definitive
   documentation in respect of such Sale Transaction, at a hearing before the Court to be held on
   [Launch + 270 days] (the “Sale Hearing”). The objection deadline for any Sale Transaction to
   be approved at the Sale Hearing will be [Launch + 250 days] at 4:00 p.m. (ET) (the “Sale
   Objection Deadline”); provided that, the Special Master may extend the Sale Objection Deadline,
   as the Special Master deems appropriate in the exercise of his reasonable judgment and in
   consultation with the Sale Process Parties.

            Objections to any Sale Transaction, including any objection to the sale of shares of PDVH
   free and clear of liens, claims, encumbrances, and other interests (each, a “Sale Objection”), must:
   (i) be in writing; (ii) state the name and address of the objecting party and such party’s interest(s)
   in the Crystallex Case, any related proceeding, or PDVH and its affiliates; (iii) state with
   particularity the basis and nature of any objection, and provide proposed language that, if accepted
   and incorporated by the Special Master, would obviate such objection (if such objection can be
   resolved through inclusion of acceptable language); (iv) conform to the applicable rules of the
   Court; and (v) be filed with the Court in accordance with the customary practices of the Court. If
   a timely Sale Objection cannot otherwise be resolved by the parties, such objection shall be heard
   by the Court at the Sale Hearing.

           A Successful Bidder shall appear at the Sale Hearing and be prepared to have a
   representative(s) testify in support of the Successful Bid and such Successful Bidder’s ability to
   close the Sale Transaction in a timely manner.

           Any party who fails to file with the Court a Sale Objection by the Sale Objection Deadline
   may be forever barred from asserting, at the Sale Hearing or thereafter, any Sale Objection with
   regard to a Successful Bidder, or to the consummation of a Sale Transaction, including with respect
   to the transfer of shares of PDVH to a Successful Bidder, free and clear of all liens, claims,


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 59 of 176 PageID #: 12556




   encumbrances, and other interests. Failure to object to a Sale Transaction shall be deemed consent
   to such Sale Transaction.

                                  Satisfaction of All Attached Judgments

          Nothing in these Bidding Procedures (or the Sale Procedures Order) prohibits or in any
   way impairs the rights of the Venezuela Parties to pay Crystallex’s Judgment (or any other
   Attached Judgment) in full prior to consummation of a Sale Transaction. If at any time all Attached
   Judgments become satisfied in full (or otherwise are consensually resolved), then the Special
   Master shall cease implementation of the Sale Procedures in accordance with the Sale Procedures
   Order.

                       Consent to Jurisdiction and Authority as Condition to Bidding

            All bidders that participate in the bidding process shall be deemed to have (i) consented
   to the core jurisdiction of the Court to enter any order or orders, which shall be binding in all
   respects, in any way related to these Bidding Procedures, the bid process, the Auction, the Sale
   Hearing, or the construction, interpretation and enforcement of any agreement or any other
   document relating to a Sale Transaction; (ii) waived any right to a jury trial in connection with any
   disputes relating to these Bidding Procedures, the bid process, the Auction, the Sale Hearing, or
   the construction, interpretation and enforcement of any agreement or any other document relating
   to a Sale Transaction; and (iii) consented to the entry of a final order or judgment in any way
   related to these Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the
   construction, interpretation and enforcement of any agreement or any other document relating to
   a Sale Transaction if it is determined that the Court would lack jurisdiction to enter such a final
   order or judgment absent the consent of the parties.

                                          Reservation of Rights

           The Special Master may, in his reasonable judgment, in a manner consistent with his duties
   to the Court and the Sale Procedures Order, and in good faith consultation with the Sale Process
   Parties, modify, delay implementation of or terminate these Bidding Procedures, waive terms and
   conditions set forth herein, extend any of the deadlines or other dates set forth herein, adjourn any
   Auction and/or Sale Hearing, announce at the Auction modified or additional procedures for
   conducting the Auction, or provide reasonable accommodations to any Potential Bidder with
   respect to such terms, conditions, and deadlines of the bidding and Auction process to promote
   further bids on any assets, in each case, at any time and without specifying the reasons therefor, to
   the extent not materially inconsistent with these Bidding Procedures and/or the Sale Procedures
   Order. The rights of each Sale Process Party are fully reserved as to any Sale Transaction. The
   Special Master shall not be obligated to recommend to the Court approval of or
   consummation of any transaction with respect to any asset.

                                            Judicial Immunity

          The Special Master is entitled to judicial immunity in performing his duties pursuant to the
   Sale Procedures Order and these Bidding Procedures, including all actions taken to implement
   these Bidding Procedures. The Special Master’s Advisors are further entitled to judicial immunity
   in connection with all actions taken at the direction of, on behalf of, or otherwise in connection
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 60 of 176 PageID #: 12557




   with representation of or advising the Special Master. In no circumstance shall the Special Master
   or any of his Advisors be liable to any party in connection with implementing the Sale Procedures
   Order or these Bidding Procedures. To the maximum extent permitted by applicable law, neither
   the Special Master nor his Advisors will have or incur, and the Special Master and his Advisors
   are released and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt,
   right, cause of action, remedy, loss, and liability in connection with or arising out of all actions
   taken to implement the Marketing Process, Sale Procedures, Bidding Procedures, or Sale
   Transaction, or the performance of the Special Master’s and his Advisors’ duties pursuant to the
   Sale Procedures Order and all other orders of the Court.




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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 61 of 176 PageID #: 12558




                                      Exhibit 2

                                 Form of Sale Notice




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 62 of 176 PageID #: 12559




                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE

   ---------------------------------------------------------------------------------------------------------------------
   CRYSTALLEX INTERNATIONAL                                     :
   CORPORATION,                                                 :
                                                                :
                     Plaintiff,                                 :
                                                                :
            v.                                                  :        Misc. No. 17-151-LPS
                                                                :
   BOLIVARIAN REPUBLIC                                          :
   OF VENEZUELA,                                                :
                                                                :
                     Defendant.                                 :
   ---------------------------------------------------------------------------------------------------------------------

                                        NOTICE OF SALE, BIDDING
                                 PROCEDURES, AUCTION, AND SALE HEARING

   PLEASE TAKE NOTICE OF THE FOLLOWING:

           On January 14, 2021, the United States District Court for the District of Delaware
   (the “Court”) 1 issued an opinion and corresponding order setting forth certain contours for the
   sale of the shares of PDV Holding, Inc. (“PDVH”) owned by Petróleos de Venezuela, S.A.
   (“PDVSA”) in connection with the above-captioned proceeding (the “Crystallex Case”). In
   furtherance thereof, the Court appointed Robert B. Pincus as special master (the “Special
   Master”) on April 13, 2021 to assist the Court with the sale of PDVSA’s shares of PDVH. The
   Special Master is advised by Weil, Gotshal & Manges LLP, as transaction counsel, and Evercore
   Group L.L.C. as investment banker.

           On [_], 2022, the Court entered an order (Docket No. __) (the “Sale Procedures Order”)
   (i) approving the bidding procedures, substantially in the form attached to the Sale Procedures
   Order as Exhibit 1 (the “Bidding Procedures”); (ii) authorizing the Special Master to designate
   a stalking horse bidder (“Stalking Horse Bidder,” and such bidder’s bid, a “Stalking Horse Bid”)
   and offer such bidder the Stalking Horse Bid Protections identified therein; (iii) setting the
   timeframe for potential bidders to submit a proposal to purchase shares of PDVH, scheduling an
   auction (the “Auction”), and scheduling the hearing with respect to the approval of the sale
   (the “Sale Hearing”); (iv) authorizing and approving the Notice Procedures for the foregoing; and
   (v) granting related relief.



   1
     Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the Sale
   Procedures Order and the Bidding Procedures (each, as defined herein), as applicable. Any summary of the Sale
   Procedures Order or the Bidding Procedures contained herein is qualified in its entirety by the actual terms and
   conditions thereof. To the extent that there is any conflict between any such summary and such actual terms and
   conditions, the actual terms and conditions shall control.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 63 of 176 PageID #: 12560




                                    Assets to be sold: Shares of PDVH

           Interested parties may submit bids for the purchase and sale of some or all of the shares of
   PDVH in accordance with the terms and conditions set forth in the Bidding Procedures. To avoid
   any ambiguity, parties may submit bids for less than 100% of the shares of PDVH so long as such
   bid satisfies the Attached Judgments.

           PDVH is the sole shareholder and direct parent of CITGO Holding, Inc., which in turn is
   the sole shareholder and direct parent of CITGO Petroleum Corporation.

                                      Important Dates and Deadlines

        •    Non-Binding Indication of Interest Deadline. Any person or entity interested in
             participating in the sale of shares of PDVH is encouraged to submit a Non-Binding
             Indication of Interest on or before [Launch Date + 45 days] at 4:00 p.m. (prevailing
             Eastern Time).

        •    Stalking Horse Bid Deadline. Any person or entity interested in being designated as a
             Stalking Horse Bidder must submit a Stalking Horse Bid on or before [Launch Date + 90
             days] at 4:00 p.m. (prevailing Eastern Time).

        •    Bid Deadline. Any person or entity interested in participating in the Auction must submit
             a Qualified Bid on or before [Launch Date + 210 days] at 4:00 p.m. (prevailing Eastern
             Time).

        •    Auction. An Auction has been scheduled for [Launch Date + 230 days] at 10:00 a.m.
             (prevailing Eastern Time).

        •    Sale Objection Deadlines. Objections to the Sale Transaction, including any objection to
             the sale of shares of PDVH free and clear of liens, claims, encumbrances, and other
             interests must (i) be in writing; (ii) state the name and address of the objecting party and
             such party’s interests in the PDVH Shares and/or the assets of PDVH and its subsidiaries;
             (iii) state with particularity the basis and nature of any objection, and provide proposed
             language that, if accepted and incorporated by the Special Master, would obviate such
             objection (if such objection can be resolved through inclusion of acceptable language);
             (iv) conform to the applicable rules; and (v) be filed with the Court in accordance with the
             customary practices of the Court by no later than [Launch Date + 250 days] at 4:00 p.m.
             (prevailing Eastern Time) (the “Sale Objection Deadline”).

        •    Sale Hearing. A hearing to approve the Sale Transaction shall be held before the Court
             before the Honorable Leonard P. Stark on [Launch Date + 270 days] at 10:00 a.m.
             (prevailing Eastern Time) in Courtroom 6B at the United States District Court, 844
             North King Street, Wilmington DE 19801.

                                          Additional Information

          Any party interested in submitting a bid should contact the Special Master’s investment
   banker, Evercore (Attn: Ray Strong (ray.strong@evercore.com); William Hiltz
   (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David Ying
   (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)), as soon as
   possible.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 64 of 176 PageID #: 12561




          The Bidding Procedures set forth the requirements for becoming a Qualified Bidder and
   submitting a Qualified Bid, and any party interested in making an offer to purchase the shares of
   PDVH must comply with the Bidding Procedures. Only Qualified Bids will be considered by the
   Special Master, in accordance with the Bidding Procedures.

          Copies of the Sale Procedures Order and the Bidding Procedures may be requested free of
   charge by email to the Special Master’s counsel, Weil, Gotshal & Manges LLP (attn.: Chase
   Bentley at Chase.Bentley@weil.com).

        FAILURE TO ABIDE BY THE BIDDING PROCEDURES, THE SALE
   PROCEDURES ORDER, OR ANY OTHER ORDER OF THE COURT MAY RESULT IN
   THE REJECTION OF YOUR BID.

   THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE A SALE
   OBJECTION IN ACCORDANCE WITH THE SALE PROCEDURES ORDER BY THE
   SALE OBJECTION DEADLINE MAY FOREVER BAR SUCH PERSON OR ENTITY
   FROM ASSERTING, AT THE SALE HEARING OR THEREAFTER, ANY SALE
   OBJECTION WITH REGARD TO A SUCCESSFUL BIDDER, OR TO THE
   CONSUMMATION OF A SALE TRANSACTION, INCLUDING WITH RESPECT TO
   THE TRANSFER OF SHARES OF PDVH TO A SUCCESSFUL BIDDER, FREE AND
   CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS.

   Dated __________________, 2022




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 65 of 176 PageID #: 12562




                                              Exhibit 3

                                 Proposed Evercore Engagement Letter




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 66 of 176 PageID #: 12563




                                            PROPOSED EVERCORE ENGAGEMENT LETTER

                                                                                         As of [●], 2022

   Robert B. Pincus
   In his capacity as Special Master
   of the United States District Court for the District of Delaware
   108 Rockford Grove Lane
   Wilmington, DE 19806

   Dear Special Master Robert Pincus:

       1. Assignment:
   This engagement letter (this “Agreement”) is to formalize the arrangement between Evercore
   Group L.L.C. (“Evercore”) and Robert B. Pincus, solely in his capacity as special master
   (“Special Master”) for the United States District Court for the District of Delaware (the “Court”)
   in Crystallex International Corp. v. Bolivarian Republic of Venezuela (D. Del. Case. No. 17-151-
   LPS) (the “Specified Litigation”) pursuant to that certain order entered by the Court on April 13,
   2021 [Docket No. 258], that certain Order Regarding Special Master entered by the Court on May
   27, 2021 [Docket No. 277] (the “May Order”) and the Order (A) Establishing Sale and Bidding
   Procedures, (B) Approving Special Master’s Report and Recommendation Regarding Proposed
   Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by Special
   Master and (D) Regarding Related Matters entered by the Court on [●] [Docket No. [●]] (the
   “Sale Procedures Order”). The Special Master, solely in his capacity as special master, hereby
   retains Evercore as exclusive financial advisor in connection with implementation of the Sale
   Procedures Order and consummation of the sale of the equity interests of PDV Holding, Inc.
   (“PDVH” and together with its direct and indirect subsidiaries, the “Company”) held by Petróleos
   de Venezuela, S.A. (“PDVSA”) (the “Sale Transaction”).
   The parties hereto entered into that certain engagement dated as of June 2, 2021 (the “Prior
   Engagement Letter”). Upon execution of this Agreement, the Prior Engagement Letter shall
   automatically terminate as of the date this Agreement becomes effective (other than any provision
   that by its terms expressly survives termination thereof).
   It is the parties’ intent that services (as described herein) performed hereunder are, in part, for the
   purpose of assisting Weil, Gotshal & Manges LLP (“Weil”) in its capacity as counsel to the Special
   Master so that Weil can render attorney-client advice to the Special Master. Accordingly, certain
   actions taken by Evercore are intended to be and shall be privileged and protected by the attorney
   work product privilege, attorney-client privilege, and other applicable privilege doctrines available
   under applicable law. The Special Master and Evercore each acknowledge and agree that Weil
   shall not be responsible for any fees, expenses, indemnification rights or other amounts or
   payments that may be owed to Evercore directly or indirectly under this Agreement.
      2. Fees and Expenses:
   Evercore will seek payment of its fees and documented expenses from Crystallex International
   Corporation (“Crystallex”), the Bolivarian Republic of Venezuela (the “Republic”), PDVH,



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 67 of 176 PageID #: 12564




   PDVSA, CITGO Petroleum Corp. (“CITGO,” and collectively with the Republic, PDVH,
   PDVSA, the “Venezuela Parties”), Phillips Petroleum Company Venezuela Limited and
   ConocoPhillips Petrozuata B.V. (together, “ConocoPhillips,” and collectively, with Crystallex
   and the Venezuela Parties, the “Sale Process Parties”) in accordance with the May Order and the
   Sale Procedures Order. The Special Master hereby agrees to take all actions required of the Special
   Master and to otherwise assist Evercore in seeking (and, as applicable, obtaining approval of)
   payment of the fees and documented expenses incurred pursuant to this Agreement from the Sale
   Process Parties, including by making any necessary or desirable filings in the Specified Litigation.
   Notwithstanding anything to the contrary in this Agreement, Evercore and the Special Master each
   acknowledge and agree that the Special Master shall not be personally responsible for any fees or
   expenses, or other amounts or payments that may be due and payable directly or indirectly under
   this letter. For the avoidance of doubt, notwithstanding anything herein to the contrary, under no
   circumstances shall the Special Master be liable to any party for any fees, expenses, or amounts
   due or claimed in connection to or arising from this Agreement.
   As compensation for the services rendered by Evercore hereunder, Evercore shall be paid the
   following fees in cash by the Sale Process Parties as and when set forth below:
        a. A monthly fee of $200,000 (a “Monthly Fee”), which shall be earned in full and payable
           on the date that the Special Master provides Evercore with (i) written notice of his
           determination to begin preparations for the Marketing Process or (ii) written notice that he
           would like Evercore to engage in settlement discussions regarding a claims resolution
           process with creditors in accordance with the terms of the Sale Procedures Order, and
           subsequently on the same day of each month thereafter until the earlier of the
           consummation of a Sale Transaction or the termination of Evercore’s engagement. The
           first twelve (12) Monthly Fees actually paid shall be credited 50% (without duplication)
           against any Sale Fee that becomes payable hereunder; provided that in the event a credit
           bid by Crystallex in an amount in excess of the Credit Bid Threshold (as defined below) is
           the prevailing bid, the percentage crediting shall be increased to 75%. In the event an
           Upfront Amount (as defined below) is payable, the crediting of monthlies will apply to the
           portion of the Sale Fee that is payable upon consummation of the Sale Transaction;
           provided that in the event a credit bid by Crystallex in an amount in excess of the Credit
           Bid Threshold (as defined below) is the prevailing bid, the crediting of monthlies will apply
           to the Upfront Amount up to a maximum of $600,000 in crediting, with the remainder of
           crediting (if any) applying to the portion of the Sale Fee that is payable upon consummation
           of the Sale Transaction. Notwithstanding the foregoing, if implementation or
           consummation of the Sale Transaction is stayed or otherwise delayed for any reason, the
           Special Master may send a written notice (including by email) to Evercore that, three
           business days after it is actually received by Evercore, will have the effect of ending the
           accrual of Monthly Fees until such time as the Special Master rescinds the notice in writing
           (including by email). Evercore shall not be required to repay any amount of any Monthly
           Fee paid prior to the receipt of such a notice. The Special Master may only send such a
           notice if no material amount of work or services have been requested of Evercore for the
           applicable period, and Evercore shall have no obligation to perform any work or services
           during the period in which such Monthly Fees do not accrue until such time as Evercore
           actually receives the next Monthly Fee, which shall be payable not later than 3 business



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 68 of 176 PageID #: 12565




             days following rescission of the Special Master’s stay notice and subsequently on the same
             day of each month thereafter until the earlier of the consummation of a Sale Transaction or
             the termination of Evercore’s engagement; provided that the first Monthly Fee payable
             after such rescission shall be prorated to account for any period for which a Monthly Fee
             already was paid hereunder.
        b. A sale fee (a “Sale Fee”) equal to (a) the amount of the Aggregate Consideration (as
           defined below) multiplied by (b) 0.35% (the “Sale Fee Percentage”); provided that
                i.     if a credit bid by Crystallex in an amount no more than $500,000,000 (the “Credit
                       Bid Threshold”) is the prevailing bid, the Sale Fee shall be the greater of
                       1) $7,000,000 and 2) 2.0% of the credit bid amount
               ii.     if a credit bid by Crystallex (in an amount in excess of the Credit Bid Threshold) is
                       the prevailing bid, the Sale Fee Percentage shall be 0.25% of the Aggregate
                       Consideration, but, for the avoidance of doubt, Aggregate Consideration in such
                       scenario shall be calculated to include 100% of the implied equity value of the
                       credit bid.

             $3,500,000 of the Sale Fee shall be earned and payable upon the earlier of
             (i) announcement by the Special Master of any Sale Transaction and (ii) execution of a
             binding definitive agreement with respect to any Sale Transaction (the “Upfront
             Amount”), and the remainder of the Sale Fee shall be earned and payable upon
             consummation of any Sale Transaction; provided that no Upfront Amount shall be owed if
             a credit bid by Crystallex (in an amount no more than the Credit Bid Threshold) is the
             prevailing bid. The Upfront Amount shall be split amongst and paid by the Sale Process
             Parties that are obligated to pay the Upfront Amount as follows: Crystallex and the
             Venezuela Parties shall be obligated to pay (and only obligated to pay) one-half each of
             the Upfront Amount, unless the implied value of the contemplated Sale Transaction is
             sufficient to provide for a recovery for ConocoPhillips. If the implied value of the
             contemplated Sale Transaction is sufficient to provide for a recovery for ConocoPhillips,
             then ConocoPhillips and Crystallex shall together pay one-half of the Upfront Amount split
             proportionately between them based on the amount of each of their expected recoveries
             based on the implied value of the contemplated Sale Transaction (e.g., if Crystallex’s
             expected recovery amounts to 90% of the total expected recoveries of Crystallex and
             ConocoPhillips combined, Crystallex shall pay 90% of one-half (or 45% of the entire
             Upfront Amount) and ConocoPhillips 10% of one-half (or 5% of the entire Upfront
             Amount). The remaining amount of the Sale Fee (i.e., any amount other than the Upfront
             Amount) shall be payable in connection with consummation of the applicable Sale
             Transaction and shall be payable by the applicable purchaser directly or from any proceeds
             from the applicable Sale Transaction.
             As used in this Agreement, the term “Aggregate Consideration” shall mean the total fair
             market value (determined at the time of the closing of a Sale) of all consideration paid or
             payable, or otherwise to be distributed to, or received by, directly or indirectly, the Court
             (or the Special Master) in connection with the Sale Transaction or the Company, its
             bankruptcy estate (if any), its creditors and/or the security holders of the Company in
             connection with a Sale, including all (i) cash, securities and other property, (ii) Company


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 69 of 176 PageID #: 12566




             debt assumed, satisfied, or paid by a purchaser or which remains outstanding at closing
             (including, without limitation, the amount of any indebtedness, securities or other property
             “credit bid” in any Sale) and any other indebtedness and obligations, including litigation
             claims and tax claims that will actually be paid, satisfied, or assumed by a purchaser from
             the Company or the security holders of the Company and (iii) amounts placed in escrow
             and deferred, contingent and installment payments.
             If the amount of any claim that remains secured by a purported pledge of the stock of
             CITGO Holding in favor of Rosneft Trading, S.A. (or its assignee) is ascertained to be
             greater than $0 by a material amount, and a credit bid by Crystallex (in an amount no more
             than the Credit Bid Threshold) is the prevailing bid, the Special Master and Evercore agree
             to negotiate in good faith a mutually acceptable increase in the Sale Fee if such an increase
             is requested by Evercore, subject to the scope of work and consideration of the increased
             threshold necessary to achieve value to the holders of Attached Judgements (as defined in
             the Proposed Sale Procedure Order). Following the result of such good faith negotiations,
             the Special Master shall seek approval of any such increase from the Court upon reasonable
             notice to the Sale Process Parties. Court approval of any such increase may be sought at
             any time until the consummation of the applicable Sale Transaction giving rise to the Sale
             Fee. Each of the Sale Process Parties’ rights is reserved with respect to an increase in the
             Sale Fee.
        c. Only if related services are expressly requested by the Special Master in the performance
           of his duties, a financing fee (a “Financing Fee”), to be mutually agreed upon in advance
           of consummation of any Financing (as defined below), payable upon consummation of
           such Financing. The parties agree to negotiate in good faith a mutually acceptable
           Financing Fee, which, subject to the anticipated scope of work, shall be consistent with the
           compensation customarily paid to investment bankers of similar standing acting in similar
           situations. Evercore will, prior to performing any services that would give rise to a
           Financing Fee, inform the Special Master that the requested services, if performed, would
           give rise to a Financing Fee.
        d. Only if related services are expressly requested by the Special Master in the performance
           of his duties, a restructuring fee (a “Restructuring Fee”), to be mutually agreed upon in
           advance of consummation of any Restructuring (as defined below), payable upon
           consummation of such Restructuring (it being understood that, unless otherwise agreed
           pursuant to this Section 2(d), Evercore shall not be entitled to a Restructuring Fee on
           account of any Sale that also constitutes a Restructuring). The parties agree to negotiate in
           good faith a mutually acceptable Restructuring Fee, which, subject to the anticipated scope
           of work, shall be consistent with the compensation customarily paid to investment bankers
           of similar standing acting in similar situations. Evercore will, prior to performing any
           services that would give rise to a Restructuring Fee, inform the Special Master that the
           requested services, if performed, would give rise to a Restructuring Fee.
        e. In addition to any fees that may be payable to Evercore and, regardless of whether any
           transaction occurs, Evercore shall promptly be reimbursed on a monthly basis for (a) all
           reasonable expenses (including travel and lodging, data processing and communications
           charges, courier services and other appropriate expenditures) and (b) other documented
           reasonable fees and expenses, including expenses of counsel, if any.


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 70 of 176 PageID #: 12567




        f. If Evercore provides services for which a fee is not provided herein, such services shall,
           except insofar as they are the subject of a separate agreement, be treated as falling within
           the scope of this Agreement, and the Special Master and Evercore will agree upon a fee for
           such services based upon good faith negotiations and the scope of work performed.
        g. All amounts referenced hereunder reflect United States currency and shall be paid promptly
           in cash after such amounts accrue hereunder.
   In addition, the Special Master and Evercore acknowledge and agree that more than one fee may
   be payable to Evercore under subparagraphs 2(a), 2(b), 2(c), 2(d), and/or 2(f) hereof in connection
   with any single transaction or a series of transactions, it being understood and agreed that if more
   than one fee becomes so payable to Evercore in connection with a series of transactions, each such
   fee shall be paid to Evercore.
   The Special Master acknowledges that the fee structure herein, including the Monthly Fees,
   reflects the substantial commitment of professional time and effort that will be required of
   Evercore and its professionals and in light of the fact that (i) such commitment may foreclose other
   opportunities for Evercore and (ii) the actual time and commitment required of Evercore and its
   professionals to perform its services may vary substantially from week to week and month to
   month, creating “peak load” issues for Evercore.
       3. Interpretation of Terms:
   As used in this agreement, the term “Sale” shall mean whether or not in one transaction, or a series
   of related transactions, (a) the disposition to one or more third parties of all or a portion of the
   issued and outstanding equity securities or any other issued and outstanding securities of the
   Company by the existing security holders of the Company; or (b) an acquisition, merger,
   consolidation, or other business combination, of which all or a portion of the business, assets or
   existing equity or securities of the Company are, directly or indirectly, sold or transferred to, or
   combined with, another company (other than an ordinary course intra-company transaction); or (c)
   an acquisition, merger, consolidation, sale, or other business combination pursuant to a successful
   “credit bid” of any securities by existing securities holders; or (d) the formation of a joint venture,
   partnership or similar entity; or (e) any transaction similar to any of the transactions described in
   clauses (a)-(d).
   As used in this Agreement, the term “Financing” shall mean the issuance, sale or placement of
   newly issued or treasury equity, equity-linked or debt securities, instruments or obligations of the
   Company with one or more lenders and/or investors or security holders (each such lender or
   investor, an “Investor”), including any “debtor-in-possession financing” or “exit financing” in
   connection with any case under the Bankruptcy Code (as defined below) or a refinancing,
   repricing, rights offering or any loan or other financing or obligation.
   As used in this Agreement, the term “Restructuring” shall mean, collectively, any restructuring,
   reorganization and/or recapitalization, however such result is achieved, including, without
   limitation, through one or more of the following: (a) a plan of reorganization or liquidation (a
   “Plan”) confirmed pursuant to 11 U.S.C. §101 et. seq., as from time to time amended, or any other
   current or future federal statute or regulation that may be applicable to such plan (11 U.S.C. §101
   et. seq. and those other statutes and regulations are referred to herein generally as the “Bankruptcy
   Code”), (b) any similar proceeding or mechanism under the laws of any non-U.S. jurisdiction or



                                                     5
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 71 of 176 PageID #: 12568




   authority, or (c) a refinancing, cancellation, forgiveness, satisfaction, retirement, purchase,
   assumption and/or a material modification or amendment to the terms of the Company’s
   outstanding indebtedness (including bank debt, bond debt, preferred stock, and other on and off
   balance sheet indebtedness), trade claims, leases (both on and off balance sheet), litigation-related
   claims and obligations, unfunded pension and retiree medical liabilities, lease obligations,
   partnership interests and other liabilities, including pursuant to a sale, repurchase or an exchange
   transaction, a Plan or a solicitation of consents, waivers, acceptances or authorizations. For
   avoidance of doubt, the term Restructuring shall also mean any claims negotiation process and
   related negotiations with various creditors and claimants including with respect to the 8.5% Senior
   Secured Notes issued by PDVSA due 2020.
   Other:
        4. Evercore’s engagement hereunder is premised on the assumption that the Special Master
           will make available to, or use reasonable efforts to cause the Sale Process Parties to make
           available to, Evercore all information and data that Evercore reasonably deems appropriate
           in connection with its activities. The parties recognize and consent to the fact that (a)
           Evercore will use and rely on the accuracy and completeness of public reports and other
           information provided by others, including information provided by the Special Master, the
           Sale Process Parties, other parties and their respective officers, employees, auditors,
           attorneys or other agents in performing the services contemplated by this Agreement, and
           (b) Evercore does not assume responsibility for, and may rely without independent
           verification upon, the accuracy and completeness of any such information. Evercore will,
           and will cause its controlled affiliates, directors, officers, members, agents, employees and
           other representatives to, keep confidential all information furnished to it to the extent
           provided in any protective order entered by the Court and furnished to Evercore by the
           Special Master or a Sale Process Party. Further, Evercore agrees and acknowledges that it
           will execute any confidentiality or joinder agreement required by the Court or reasonably
           requested by the Special Master pursuant to any such protective order, including, without
           limitation, the Special Master Confidentiality Order [D.I. 291].
        5. Evercore’s engagement hereunder may be terminated by the Special Master or Evercore at
           any time upon written notice without liability or continuing obligation to the Special Master
           or Evercore, except that following such termination, Evercore shall remain entitled to
           payment of any fees accrued pursuant to Section 2 but not yet paid prior to such
           termination, and to reimbursement of expenses incurred prior to such termination. Solely
           in the case of termination by the Special Master (and not in the case of termination by
           Evercore), payment of (i) any Sale Fee in respect of any Sale Transaction announced or
           consummated on or within 15 months of the date of entry of the Sale Procedures Order,
           and (ii) any other fees that may become payable to Evercore pursuant to the terms of the
           Sale Procedures Order or any other Court order entered on or before the date of such
           termination on or within 15 months of the date of entry of the Sale Procedures Order or
           such other order, as applicable; provided, however, that in the case of both (i) and (ii), any
           such fees shall only be payable out of the proceeds of any Sale Transaction or Financing
           (if applicable) that is overseen and/or directed by the Special Master.
        6. Evercore acknowledges that it will provide testimony, as reasonably necessary, with
           respect to matters related to the implementation and consummation of the Sale Transaction.


                                                     6
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 72 of 176 PageID #: 12569




        7. To the extent the provision of services or other transactions contemplated in this Agreement
           may, in Evercore’s sole judgment, require a specific license from the Office of Foreign
           Assets Control in the United States Department of the Treasury (“OFAC”), such services
           or transactions will not commence unless and until authorized by a license from OFAC.
           Any applicable laws, executive orders, regulations, directives or licenses administered or
           issued by OFAC will take precedence over the terms of this letter in the event of a conflict.
           Evercore may terminate this Agreement at any time if it appears, in Evercore’s sole
           judgment, that OFAC will not grant a license necessary to complete the services or other
           transactions contemplated in this Agreement within a reasonable amount of time. Should
           Evercore refuse to provide services under this agreement pursuant to this paragraph, the
           Special Master shall have the right to terminate this agreement and no further fees shall be
           due under this agreement (other than any outstanding incurred but unpaid fees, and
           reimbursable expenses incurred prior to such termination).
        8. The Special Master and Evercore each acknowledge that to the extent there is any conflict
           between this Agreement and the Sale Procedures Order, the Sale Procedures Order shall
           control.
        9. Nothing in this Agreement, expressed or implied, is intended to confer or does confer on
           any person or entity other than the parties hereto or their respective successors and assigns
           any rights or remedies under or by reason of this Agreement or as a result of the services
           to be rendered by Evercore hereunder. The Special Master acknowledges that Evercore is
           not acting as an agent of the Special Master or in a fiduciary capacity with respect to the
           Special Master and that Evercore is not assuming any duties or obligations other than those
           expressly set forth in this Agreement. Nothing contained herein shall be construed as
           creating, or be deemed to create, the relationship of employer and employee between the
           parties, nor any agency, joint venture or partnership. Evercore shall at all times be and be
           deemed to be an independent contractor. Nothing herein is intended to create or shall be
           construed as creating a fiduciary relationship between Evercore and the Special Master.
           No party to this Agreement nor its employees or agents shall have any authority to act for
           or to bind the other party in any way or to sign the name of the other party or to represent
           that that the other party is in any way responsible for the acts or omissions of such party.
        10. Pursuant to the Sale Procedures Order, Evercore shall be entitled to judicial immunity to
            the extent provided therein. The provisions of this Section 10 shall survive any termination
            or completion of Evercore’s engagement hereunder.
        11. Subject to the Sale Procedures Order, the Special Master agrees that he is solely responsible
            for any decision regarding the Sale Transaction, regardless of the advice provided by
            Evercore with respect to the Sale Procedures Order. The Special Master acknowledges
            that the appointment of Evercore pursuant to this Agreement is not intended to achieve or
            guarantee, and that Evercore is not in a position to guarantee the achievement of or
            consummation of, the Sale Transaction.
        12. The Special Master recognizes that Evercore has been engaged only by the Special Master
            and that the Special Master’s engagement of Evercore is not deemed to be on behalf of and
            is not intended to confer rights on any of the Sale Process Parties, any creditor, lender or
            any other person not a party hereto or any of its affiliates or their respective directors,


                                                     7
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 73 of 176 PageID #: 12570




             officers, members, agents, employees or representatives. Unless otherwise expressly
             agreed, no one other than the Special Master is authorized to rely upon the Special Master’s
             engagement of Evercore or any statements, advice, opinions or conduct by Evercore.
             Without limiting the foregoing, any advice, written or oral, rendered to the Special Master
             in the course of the Special Master’s engagement of Evercore is solely for the purpose of
             assisting the Special Master (and assisting Weil in representing the Special Master) in
             implementing the Sale Transaction and does not constitute a recommendation to any of the
             Sale Process Parties that such party might or should take in connection with the Sale
             Procedures Order. Any advice, written or oral, rendered by Evercore may not be disclosed
             publicly or made available to third parties without the prior written consent of Evercore.
        13. In order to coordinate Evercore’s efforts on behalf of the Special Master during the period
            of Evercore’s engagement hereunder, the Special Master will promptly inform Evercore of
            any discussions, negotiations, or inquiries regarding the Sale Transaction, including any
            such discussions or inquiries that have occurred since the date of the Special Master’s
            appointment (April 13, 2021).
        14. This Agreement between Evercore and the Special Master, embodies the entire agreement
            and understanding between the parties hereto and supersedes all prior agreements and
            understandings relating to the subject matter hereof, including the Prior Engagement Letter.
            If any provision of this Agreement is determined to be invalid or unenforceable in any
            respect, such determination will not affect this Agreement in any other respect, which will
            remain in full force and effect. This Agreement may not be amended or modified except
            in writing signed by each of the parties.
        15. In the event that, as a result of or in connection with Evercore’s engagement for the Special
            Master, Evercore becomes involved in any legal proceeding or investigation or is required
            by government regulation, subpoena or other legal process to produce documents, or to
            make its current or former personnel available as witnesses at deposition or trial, the
            Special Master will use reasonable efforts to cause the Sale Process Parties to reimburse
            Evercore for the reasonable fees and expenses of its counsel incurred (i) in responding to
            such a request and (ii) in asserting Evercore’s rights with respect to judicial immunity. The
            provisions of this Section 15 shall survive any termination or completion of Evercore’s
            engagement hereunder.
        16. So long as consistent with its duties pursuant to the Sale Procedures Order, and any
            subsequent order of the Court, Evercore shall have the right to place advertisements in
            financial and other newspapers and journals at its own expense describing its services
            hereunder.
        17. The Special Master acknowledges that Evercore, in the ordinary course, may have received
            information and may receive information from third parties which could be relevant to this
            engagement but is nevertheless subject to a contractual, equitable or statutory obligation of
            confidentiality, and that Evercore is under no obligation hereby to disclose any such
            information or include such information in its analysis or advice provided to the Special
            Master. In addition, Evercore or one or more of its affiliates may in the past have had, and
            may currently or in the future have, investment banking, investment management, financial
            advisory or other relationships with the Sale Process Parties and their affiliates, potential


                                                      8
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 74 of 176 PageID #: 12571




             parties to any transaction and their affiliates or persons that are competitors, customers or
             suppliers of (or have other relationships with) the Sale Process Parties or their affiliates or
             potential parties to any transaction or their affiliates, and from which conflicting interests
             or duties may arise. Nothing contained herein shall limit or preclude Evercore or any of
             its affiliates from carrying on (i) any business with or from providing any financial or non-
             financial services to any party whatsoever, including, without limitation, any competitor,
             supplier or customer of the Sale Process Parties, or any other party which may have
             interests different from or adverse to the Sale Process Parties or (ii) its business as currently
             conducted or as such business may be conducted in the future. The Special Master also
             acknowledges that Evercore and its affiliates engage in a wide range of activities for their
             own accounts and the accounts of customers, including corporate finance, mergers and
             acquisitions, equity sales, trading and research, private equity, asset management and
             related activities. In the ordinary course of such businesses, Evercore and its affiliates may
             at any time, directly or indirectly, hold long or short positions and may trade or otherwise
             effect transactions for their own accounts or the accounts of customers, in debt or equity
             securities, senior loans and/or derivative products relating to the Sale Process Parties or
             their affiliates, potential parties to any transaction and their affiliates or persons that are
             competitors, customers or suppliers of the Sale Process Parties. Without limiting the
             foregoing, so long as customary information barriers are created and maintained by
             Evercore, Evercore’s engagement hereunder will not limit the ability of Evercore or its
             affiliates to provide service to any third party, including in relation to a Sale Process Party
             or any affiliate thereof.
        18. The Special Master agrees to provide and use reasonable efforts to procure all corporate,
            financial, identification and other information regarding the Special Master, as Evercore
            may require to satisfy its obligations as a U.S. financial institution under the USA
            PATRIOT Act and Financial Crimes Enforcement Network regulations.
        19. Evercore may, in the performance of its services hereunder, delegate the performance of
            all or certain services as it may select to any of its affiliated entities; provided that no such
            delegation by Evercore shall in any respect affect the terms hereof, and Evercore shall be
            responsible for any acts or omissions by any of its affiliated entities in the performance of
            any services delegated to such entity.
        20. For the convenience of the parties hereto, any number of counterparts of this Agreement
            may be executed by the parties hereto, each of which shall be an original instrument and
            all of which taken together shall constitute one and the same Agreement. Delivery of a
            signed counterpart of this Agreement by facsimile or electronic mail transmission shall
            constitute valid sufficient delivery thereof.
        21. Except as provided herein, the parties hereby irrevocably consent to the exclusive
            jurisdiction of the Court over any action or proceeding arising out of or relating to this
            Agreement, and the parties hereby irrevocably agree that all claims in respect of such action
            or proceeding may be heard by the Court. The parties irrevocably agree to waive all rights
            to trial by jury in any such action or proceeding and irrevocably consent to the service of
            any and all process in any such action or proceeding by the mailing of copies of such
            process to each party at its address set forth above. The parties agree that a final judgment
            in any such action or proceeding shall be conclusive and may be enforced in other


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 75 of 176 PageID #: 12572




             jurisdictions by suit on the judgment or in any other manner provided by law. The
             Agreement and any claim related directly or indirectly to this Agreement shall be governed
             by and construed in accordance with the laws of the State of New York (without regard to
             conflicts of law principles that would result in the application of any law other than the law
             of the State of New York). The parties further waive any objection to venue in the Court
             and any objection to any action or proceeding in such state on the basis of forum non
             conveniens.




                                                      10
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 76 of 176 PageID #: 12573




   If the foregoing correctly sets forth the understanding and agreement between Evercore and the
   Special Master, please so indicate in the space provided below, whereupon this letter shall
   constitute a binding agreement as of the date hereof.


                                                    Very truly yours,

                                                    Evercore Group L.L.C.


                                                   By:
                                                           David Ying
                                                           Senior Managing Director

   Agreed to and Accepted as of
   [●], 2022:

   Special Master of the United States District Court for the District of Delaware

   By:       ______________________
             Robert B. Pincus
             In his capacity as Special Master
             of the United States District Court for the District of Delaware




                                                     11
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 77 of 176 PageID #: 12574




                                               Exhibit 4

                                  Form of Confidentiality Arrangement




    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 78 of 176 PageID #: 12575




                                                [●], 2022




    [●]

    DEAR [●]:

             In connection with the consideration by [●], a [●] (“you” or “your”), of a possible
    negotiated transaction (the “Possible Transaction”) for the sale of shares of PDV Holding, Inc.
    (“PDVH” and together with its direct and indirect subsidiaries, the “Company”) owned by
    Petróleos de Venezuela, S.A. in accordance with that certain order of the United States District
    Court for the District of Delaware (the “Court”) authorizing, among other things, the Court-
    appointed special master, Robert B. Pincus (the “Special Master”) to implement certain bidding
    procedures for the sale of shares of PDVH [(D.I [●])] (the “Sale Procedures Order”) (each of
    you and the Special Master, a “Party,” and together, the “Parties”), the Special Master is
    prepared to make available to you and your Representatives (as defined below) certain
    information concerning the Company. In consideration for and as a condition to such
    information being furnished to you and your Representatives (as defined below), you agree that
    you and your Representatives will treat any information or data concerning or relating to the
    Company or any of its affiliates (whether prepared by the Special Master or the Company,
    either of their advisors or other Representatives or otherwise and irrespective of the form of
    communication) which has been or will be furnished, or otherwise made available, to you or
    your Representatives by or on behalf of the Special Master or the Company or any of its
    affiliates, whether before or after the date of this Agreement, including, without limitation, any
    confidential or proprietary information of the Company or any of its affiliates and any
    information or data concerning or relating to the business, financial condition, properties,
    services, products, technology, employees, operations, strategy, actual or potential prospects,
    assets or liabilities of the Company or any of its affiliates (collectively referred to as, and
    together with the Transaction Information (as defined below), the “Confidential Information”),
    in accordance with the provisions of this letter agreement (this “Agreement”), and to take or
    abstain from taking certain other actions hereinafter set forth.

            1. Confidential Information. (a) The term “Confidential Information” shall include
    all notes, memoranda, summaries, analyses, compilations, forecasts, data, models, studies,
    interpretations or other documents or materials prepared by the Special Master, the Company
    or any of its affiliates, their Representatives or you or your Representatives, which use, contain,
    reflect or are based upon or derived from, in whole or in part, information furnished to you or
    your Representatives by or on behalf of the Special Master. The term “Confidential
    Information” shall not include information that you can demonstrate (i) at the time of disclosure
    by you is generally available to the public other than as a result of a disclosure by you or your
    Representatives in breach of this Agreement, (ii) was within your possession prior to it being
    furnished or made available to you or your Representatives hereunder or becomes available to
    you on a non-confidential basis from a source other than the Special Master or any of his
    Representatives; provided that, in each case, the source of such information was not known by
    you or your Representatives (after reasonable inquiry) to be bound by a contractual, legal or
    fiduciary obligation of confidentiality to the Special Master, the Company or any other person
    with respect to such information, or (iii) has been or is subsequently independently developed
    by you or your Representatives (on your behalf) without (A) use or benefit of or reference to
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    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 79 of 176 PageID #: 12576




    any Confidential Information or any information from a source known (after reasonable
    inquiry) by you or your Representatives to be bound by a contractual, legal or fiduciary
    obligation of confidentiality to the Special Master or the Company, or (B) breaching this
    Agreement.

                   (b) For purposes of this Agreement:

                                  (i)     “Representatives” shall mean:

                                             (A) with respect to you: your controlled affiliates and your
                                                and such controlled affiliates’ directors, officers,
                                                employees and professional advisors (including, without
                                                limitation, accountants, consultants, attorneys and
                                                financial advisors); provided that your “Representatives”
                                                shall not include, without the prior written consent of the
                                                Special Master: (1) any actual or potential bidding
                                                partners or equity financing sources, or (2) any actual or
                                                potential debt financing sources;

                                             (B) with respect to the Company: the Company’s affiliates
                                                and each of the Company’s and its respective affiliates’
                                                directors, officers, employees, professional advisors
                                                (including, without limitation, attorneys, accountants,
                                                consultants and financial advisors), agents and other
                                                representatives;

                                             (C) with respect to the Special Master: the Special Master’s
                                                 professional advisors (including, without limitation,
                                                 attorneys and financial advisors), agents and other
                                                 representatives;

                                  (ii)    the term “person” shall be broadly interpreted to include the
                                          media and any individual, corporation, limited or general
                                          partnership, limited liability company, trust, association, joint
                                          venture, governmental or self-regulatory agency or body or other
                                          entity or group;

                                  (iii)   the term “affiliate” means, with respect to any specified person,
                                          any other person that, directly or indirectly, controls, is
                                          controlled by or is under common control with, such specified
                                          person; and

                                  (iv)    the term “control” and derivative terms mean, as used in the
                                          definition of the term “affiliate” or in relation to the term
                                          “affiliate,” the possession, directly or indirectly, of the power to
                                          direct or cause the direction of the management and policies of a
                                          person, whether through the ownership of voting securities, by
                                          contract or otherwise.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 80 of 176 PageID #: 12577




              2. Use and Disclosure of Confidential Information.

           (a) You hereby agree that you and your Representatives (i) shall keep the Confidential
    Information confidential and use the Confidential Information solely for the purpose of
    evaluating, and participating in discussions with the Special Master regarding, the Possible
    Transaction and for no other purpose and (ii) shall not disclose any of the Confidential
    Information in any manner whatsoever; provided that you may disclose such information (A) to
    those of your Representatives who have a need to know such information for the sole purpose
    of evaluating and, if applicable, negotiating, documenting and consummating the Possible
    Transaction on your behalf and who are provided with a copy of this Agreement and agree to
    be bound by the applicable terms hereof to the same extent as if they were parties hereto and
    (B) subject to Section 2(c), to the extent you are Legally Required (as defined below) to
    disclose such information. In any event, you agree, at your sole expense, to (y) undertake
    reasonable precautions to safeguard and protect the confidentiality of the Confidential
    Information and to prevent you and your Representatives from making any unauthorized
    disclosure or unauthorized use of such information (such measures to be no less stringent than
    the measures taken with respect to your own confidential and proprietary information and in
    any event shall involve no less than a reasonable degree of care) and (z) be responsible for any
    breach of, or failure to comply with, this Agreement by any of your Representatives as if such
    Representatives were parties hereto (it being understood that such responsibility shall be in
    addition to and does not limit any right or remedy the Special Master or the Company may
    have against your Representatives with respect to such breach).

            (b) Without the prior written consent of the Special Master, you and your
    Representatives will not disclose to any person (i) the fact that either of the Parties is
    considering the Possible Transaction, (ii) the fact that this Agreement exists (or the contents
    hereof) or that any Confidential Information has been made available to you or your
    Representatives or (iii) that discussions, negotiations or investigations are taking place or have
    taken place concerning the Possible Transaction, the Special Master or the Company, or any of
    the terms, conditions or other facts with respect to the Possible Transaction or such discussions,
    negotiations or investigations (including, without limitation, the timing or status thereof) (all
    of the foregoing being referred to as “Transaction Information”). All Transaction Information
    shall be deemed Confidential Information for all purposes of this Agreement.

             (c) In the event that you or any of your Representatives are (i) required by applicable
    law or regulation or (ii) legally compelled by deposition, interrogatories, requests for
    information or documents in legal or administrative proceedings, subpoena, civil investigative
    demand or other similar legal process) (any of the foregoing in clauses (i) or (ii), “Legally
    Required”) to disclose any of the Confidential Information, you or such Representative, as
    applicable, shall provide the Special Master with prompt (and in any event prior to any
    disclosure) written notice, to the extent not legally prohibited, of the existence, terms and
    circumstances of any such requirement so that the Special Master may seek a protective order
    or other appropriate remedy and/or waive compliance with the provisions of this Agreement.
    If, in the absence of a protective order or other remedy or the receipt of a waiver by the Special
    Master, you or any of your Representatives are nonetheless, upon advice of outside counsel,
    Legally Required to disclose Confidential Information, you or your Representatives may
    disclose only that portion of the Confidential Information which such outside counsel advises
    is Legally Required to be disclosed; provided that (i) you shall exercise (and shall cause your
    Representatives to exercise) reasonable best efforts to preserve the confidentiality of the
    Confidential Information, including, without limitation, exercising reasonable best efforts to

                                                    4
    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 81 of 176 PageID #: 12578




    obtain an order or other reliable assurance that confidential treatment shall be afforded to such
    information and (ii) such disclosure was not caused by or resulted from a previous disclosure
    by you or any of your Representatives in violation of this Agreement. You and your
    Representatives shall cooperate fully with (and shall not oppose any action by) the Special
    Master (or the Company, if applicable) to obtain a protective order or other relief to prevent or
    narrow the disclosure of the Confidential Information or to obtain reliable assurance that
    confidential treatment will be afforded to the Confidential Information.

            (d) Notwithstanding anything to the contrary in this Agreement, neither you nor any
    of your Representatives will, without the prior written consent of the Special Master, enter into
    any agreement, arrangement or understanding with any person (or make any offers or have any
    discussions which might lead to such agreement, arrangement or understanding) with respect
    to participating in the Possible Transaction, including, without limitation, an equity or debt
    participation in the Possible Transaction, a sale of a portion of the equity or assets of the
    Company simultaneously with or following a transaction involving the Company, or any other
    form of joint transaction by you or your affiliates and such person or its affiliates involving the
    Company. Furthermore, you acknowledge and agree that neither you nor your Representatives
    has, prior to the date hereof, entered into any such agreements, arrangements or understandings
    with any person or made any such offers or had any such discussions. Neither you nor any of
    your Representatives shall, without the prior written consent of the Special Master,
    (i) communicate with any potential bidding partners, financing sources or creditors of the
    Company regarding the Possible Transaction or (ii) enter into any agreement, arrangement or
    understanding (or have any discussions which might lead to such agreement, arrangement or
    understanding), whether written or oral, with any actual or potential bidding partners or
    financing sources that could reasonably be expected to limit, restrict, restrain or otherwise
    impair in any manner, directly or indirectly, the ability of such partners or financing sources to
    provide financing or other assistance to any other person in any other possible transaction
    involving the Company.

            3. Destruction of Confidential Information. If you determine you do not wish to
    proceed with the Possible Transaction, you will promptly notify the Special Master in writing
    of that decision. In that case or if otherwise requested by the Special Master or one of his
    Representatives, you will, and will cause your Representatives to, promptly (and in any event
    within ten (10) days of such event or request) destroy (including by erasure) all Confidential
    Information (and all copies thereof) in your or your Representatives’ possession, as applicable.
    If requested by the Special Master, you shall deliver to the Special Master a written certification
    executed by an authorized officer that such destruction has occurred. Notwithstanding the
    foregoing, you and your Representatives may retain one copy of any Confidential Information
    to the extent required to comply with applicable legal or regulatory requirements or established
    bona fide document retention policies for use solely to demonstrate compliance with such
    requirements, provided that any retained information shall solely be accessible by information
    technology personnel to demonstrate compliance with legal or regulatory requirements and
    shall be destroyed (including by erasure) in the ordinary course of your business.
    Notwithstanding the destruction or retention of the Confidential Information, you and your
    Representatives will continue to be bound by your obligations hereunder and such obligations
    will survive the termination of this Agreement with respect to any retained Confidential
    Information.

            4. Inquiries. You agree that Evercore Group, L.L.C. (“Evercore”) has responsibility
    for arranging appropriate contacts for due diligence in connection with the Possible Transaction

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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 82 of 176 PageID #: 12579




    and that (a) all communications regarding the Possible Transaction, (b) requests for additional
    information and requests for facility tours, management or similar meetings in connection with
    the Possible Transaction or Confidential Information, and (c) discussions or questions
    regarding procedures with respect to the Possible Transaction will be submitted or directed
    only to Evercore or such other person as may be expressly designated by the Special Master in
    writing, and not to any other Representative of the Special Master. You further agree that,
    except in the ordinary course of your business unrelated to the Possible Transaction or with the
    prior written consent of the Special Master, neither you nor any of your Representatives shall,
    directly or indirectly, initiate, solicit or maintain contact or otherwise engage in any
    communication with the Company, any director, officer, current or former employee,
    equityholder, affiliate, creditor, supplier, distributor, vendor, partner, customer, provider, agent
    or regulator (other than, in the case of a regulator, as permitted in Section 2(c) above) of the
    Company or other commercial counterparty of the Company regarding the Company, any
    Confidential Information, the Special Master or the Possible Transaction.

            5. No Representations or Warranties; No Agreement. You acknowledge and agree
    that neither of the Special Master nor the Company (nor any of their Representatives) (a) makes
    any representation or warranty, express or implied, as to the timeliness, accuracy or
    completeness of the Confidential Information, (b) is under any obligation to provide or make
    available to you or your Representatives any information that in the Special Master’s sole and
    absolute discretion he determines not to provide or (c) shall have any obligation or liability to
    you or to any of your Representatives on any basis relating to or resulting from the use of the
    Confidential Information or any errors therein or omissions therefrom (including, but not
    limited to, any obligation to update, supplement or correct any Confidential Information). You
    agree that only those representations, covenants or warranties which are made in a final
    definitive agreement with you regarding the Possible Transaction (a “Definitive Transaction
    Agreement”), subject to such limitations and restrictions as may be specified therein, when, as
    and if executed, will be relied on by you or your Representatives and have any legal effect.
    You acknowledge and agree that unless and until a Definitive Transaction Agreement between
    the Special Master and you has been executed and delivered, neither you nor the Special Master
    will be under any legal obligation with respect to the Possible Transaction by virtue of this
    Agreement or any other written or oral expression. You further agree that you and your
    Representatives shall not have any claims against the Special Master or his Representatives
    arising out of or relating to (x) the Possible Transaction or your evaluation thereof or (y) the
    Confidential Information or any action or inaction taken or occurring in reliance on such
    information, other than claims against the parties to a Definitive Transaction Agreement in
    accordance with the terms thereof. You further acknowledge and agree that neither the Special
    Master nor any of his Representatives shall have any legal, fiduciary or other duty to any
    prospective or actual purchaser with respect to the manner in which any sale process is
    conducted and that the Special Master reserves the right, in his sole discretion, to conduct the
    process leading up to the Possible Transaction, if any, as the Special Master and his
    Representatives determine, including, without limitation, by negotiating with any third party
    and entering into a preliminary or definitive agreement with a third party, rejecting any and all
    proposals made by you or any of your Representatives with regard to the Possible Transaction,
    terminating discussions and negotiations with you or your Representatives at any time and for
    no reason and terminating or denying access to the Confidential Information at any time and
    for no reason. Furthermore, nothing contained in this Agreement nor the furnishing of
    Confidential Information shall be construed as granting or conferring any rights by license or
    otherwise in any intellectual property of the Company, and all right, title and interest in the
    Confidential Information shall remain with the Company.
                                                     6
    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 83 of 176 PageID #: 12580




             6. No Waiver of Privilege. To the extent you or your Representatives are provided
    with any Confidential Information that is subject to a claim of attorney-client privilege,
    attorney work product or any other applicable privilege, immunity or ground on which
    production of such information should not be made to a third-party, the provision of such
    Confidential Information is inadvertent and shall in no way prejudice or otherwise constitute a
    waiver of, or estoppel as to, any claim of attorney-client privilege, work product or other
    applicable privilege or immunity. If the Special Master identifies any such Confidential
    Information under this Agreement, you and your Representatives shall: (i) refrain from any
    further disclosure or examination of such Confidential Information; (ii) if requested, promptly
    make a good faith effort to return such Confidential Information and all copies thereof; and
    (iii) not use such Confidential Information for any purpose.

            7. No Solicitation. Except as otherwise agreed in a definitive agreement with the
    Special Master, for a period of two (2) years from the date hereof, neither you nor any of your
    controlled affiliates or any person acting on your or their behalf will, without the prior written
    consent of the Company, directly or indirectly, solicit, hire, employ, engage (including, without
    limitation, as an independent contractor), or offer to hire, employ or engage, any of the officers,
    employees or independent contractors of the Company; provided that the foregoing shall not
    prohibit you or such affiliates from (i) making any general solicitation for employment by use
    of advertisements in the media that is not specifically directed or targeted at any officer,
    employee or independent contractor of the Company and (ii) hiring any such officer, employee
    or independent contractor who responds to any such general solicitation. You agree that you
    and your Representatives will not, without the prior written consent of the Special Master,
    engage in discussions with management of the Company regarding the terms of their post-
    transaction employment or equity participation as part of, in connection with or after the
    Possible Transaction.

            8. Material Non-Public Information. You acknowledge and agree that you are aware
    (and that your Representatives are aware or, upon providing any Confidential Information to
    such Representatives, will be advised by you) that Confidential Information being furnished to
    you or your Representatives may contain material non-public information regarding the
    Company and that the United States securities laws generally prohibit any persons who have
    material, non-public information from purchasing or selling securities of the Company on the
    basis of such information or from communicating such information to any person under
    circumstances in which it is reasonably foreseeable that such person is likely to purchase or
    sell such securities on the basis of such information.

            9. Remedies. You recognize and acknowledge the competitive value and confidential
    nature of the Confidential Information and the damage that would result to the Company (and
    to the process being conducted by the Court through the Special Master) if such information is
    disclosed in breach of this Agreement. You hereby agree that any breach of this Agreement
    by you or any of your Representatives would result in irreparable harm to the Company (and
    to the process being conducted by the Court through the Special Master) and that money
    damages would not be a sufficient remedy for any such breach. Accordingly, you agree that
    the Company and the Special Master shall be entitled to equitable relief, including, without
    limitation, injunction and specific performance, as a remedy for any breach or threatened
    breach hereof by you or your Representatives and that neither you nor your Representatives
    shall oppose the granting of such relief. Such relief shall be available without the obligation to
    prove any damages. You further agree not to raise, as a defense or objection to the request for
    or granting of such relief, that any breach would be compensable by an award of money

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    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 84 of 176 PageID #: 12581




    damages. You agree to waive, and to cause your Representatives to waive, any requirement for
    the securing or posting of any bond in connection with any such remedy. Such remedies shall
    not be deemed to be the exclusive remedies for a breach or threatened breach by you or your
    Representatives of this Agreement but shall be in addition to all other remedies available to the
    Special Master and the Company at law or equity. If the Company or the Special Master
    prevails in any enforcement proceeding in respect of this Agreement, or a court of competent
    jurisdiction determines that you or any of your Representatives have breached this Agreement
    (including upon any appeal), then you shall be liable and pay to and reimburse the Company
    and/or the Special Master and their Representatives, as applicable, for their respective costs of
    such enforcement and/or litigation, including, without limitation, their reasonable legal fees
    incurred in connection therewith.

             10. Governing Law; Jurisdiction; Waiver of Jury Trial. This Agreement, and all
    proceedings, claims or causes of action (whether in contract, tort, statute or otherwise) that may
    be based upon, arise out of or relate to this Agreement, or the negotiation, execution or
    performance of this Agreement, shall be governed by, construed and enforced in accordance
    with the laws of the State of Delaware, without giving effect to any laws, rules or provisions
    that would cause the application of the laws of any jurisdiction other than the State of Delaware.
    You hereby irrevocably and unconditionally (a) consent and submit to the exclusive
    jurisdiction of the Court, for all proceedings, claims or causes of action (whether in contract,
    tort, statute or otherwise) that may be based upon, arise out of or relate to this Agreement, or
    the negotiation, execution or performance of this Agreement and (b) waive any objection you
    may now or may hereafter have to laying of venue in the Court, including, without limitation,
    based on improper venue or forum non conveniens. You agree not to commence any such
    proceeding, claim or cause of action, except in the Court. ANY RIGHT TO TRIAL BY JURY
    WITH RESPECT TO ANY PROCEEDING, CLAIM OR CAUSE OF ACTION
    (WHETHER IN CONTRACT, TORT, STATUTE OR OTHERWISE) BASED UPON,
    ARISING OUT OF OR RELATING TO THIS AGREEMENT IS EXPRESSLY AND
    IRREVOCABLY WAIVED.

            11. Authority to Enter into Agreement. You hereby represent and warrant to the
    Special Master and the Company that this Agreement has been duly authorized by all necessary
    action, has been duly executed and delivered by one of your duly authorized officers and is
    enforceable against you in accordance with its terms.

            12. Third-Party Beneficiaries. This Agreement is not intended to, and does not, confer
    upon any person other than the Parties any rights or remedies hereunder; provided that each
    person included in the definition of the Company is an express third-party beneficiary of, and
    shall have the right to enforce the terms of, this Agreement; provided further that the Company
    may only seek to enforce this Agreement as a third-party beneficiary in accordance with this
    Section 12 (a) with the prior written consent of the Special Master or (b) if the Special Master
    unreasonably declines to prosecute an alleged breach of this Agreement after receiving notice
    of such alleged breach.

            13. Entire Agreement. This Agreement constitutes the entire agreement between the
    Parties regarding the subject matter hereof, and supersedes all prior negotiations,
    understandings, arrangements, agreements and discussions, whether oral or written, between
    the Parties or their Representatives related to the subject matter hereof. In the event of any
    conflict between this Agreement, on the one hand, and the terms of any confidentiality legend
    set forth in a confidential information memorandum (or similar document) related to the
    Possible Transaction or the terms of any “click-through” or other similar agreement with
                                                   8
    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 85 of 176 PageID #: 12582




    respect to the access to Confidential Information, including through an electronic data room,
    now or hereafter applicable to you or any of your Representatives in connection with the
    Possible Transaction, on the other hand, the terms and conditions of this Agreement shall
    govern and supersede any such conflicting terms and conditions.

           14. Assignment. This Agreement and the rights and obligations herein may not be
    assigned or otherwise transferred, in whole or in part, by you without the written consent of the
    Special Master. The benefits of this Agreement shall inure to the respective successors and
    permitted assigns of the Parties, and the obligations and liabilities of the Parties under this
    Agreement shall be binding upon their respective successors and permitted assigns. Any
    attempted assignment not in compliance with this Agreement shall be void ab initio.

            15. No Modification. No provision of this Agreement can be waived, modified or
    amended without the prior written consent of the Parties, which consent shall specifically refer
    to the provision to be waived, modified or amended and shall explicitly make such waiver,
    modification or amendment. It is understood and agreed that no failure or delay by the Special
    Master or the Company in exercising any right, power or privilege hereunder shall operate as
    a waiver thereof, nor shall any single or partial exercise thereof preclude any other or further
    exercise thereof or the exercise of any other right, power or privilege hereunder.

           16. Counterparts. This Agreement may be executed in counterparts, which may be
    delivered and exchanged by electronic means and each of which when executed shall be
    deemed an original, and all such counterparts shall together constitute one instrument.

            17. Severability. If any term or provision of this Agreement is found to violate any
    law, statute, regulation, rule, order or decree of any governmental authority, court or agency,
    such invalidity shall not be deemed to affect any other term or provision hereof or the validity
    of the remainder of this Agreement, and there shall be substituted for the invalid term or
    provision a substitute term or provision that shall as nearly as possible achieve the intent of the
    invalid term or provision.

            18. Term. This Agreement shall terminate and cease to have any force and effect on
    the date that is two (2) years from the last disclosure by the Special Master, the Company or
    any of their Representatives of any Confidential Information to you or any of your
    Representatives; provided that (a) such termination shall not relieve you of any liability for any
    breach of this Agreement by you or your Representatives prior to such termination and
    (b) Section 3 of this Agreement shall survive such termination.

             19. Filing Under Seal. Upon execution of this Agreement, the Special Master shall
    file this Agreement under seal with the Court and shall provide notice of execution of this
    Agreement to the Sale Process Parties (as defined in the Sale Procedures Order).

           20. Notices. All notices to be given to the Special Master or you, as applicable, shall
    be in writing and delivered by email or personally to:

                        If to the Special Master:   Robert B. Pincus
                                                    Email: Rbpincus@gmail.com




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    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 86 of 176 PageID #: 12583




                        With copies (which shall not constitute notice) to:

                                                      Weil, Gotshal & Manges LLP
                                                      Attention:    Ray C. Schrock, P.C.
                                                                    Alexander W. Welch
                                                                    Chase Bentley
                                                                    Kenneth Hershey

                                                      Email:         Ray.Schrock@weil.com
                                                                     Alexander.Welch@weil.com
                                                                     Chase.Bentley@weil.com
                                                                     Kenneth.Hershey@weil.com

                    If to you:                        [●]
                                                      Attention:     [●]

                                                      Email:         [●]

                                                      Address:       [●]



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    WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 87 of 176 PageID #: 12584




          Please confirm your agreement with the foregoing by signing and returning one copy of
   this Agreement to the undersigned, whereupon this Agreement shall become a binding agreement
   between you and the Special Master.

                                                    Very truly yours,

                                                    Robert B. Pincus




                                                    Name: Robert B. Pincus
                                                    Title: Special Master



   Accepted and agreed as of
   the date first written above:

   [●]




   By:
             Name:
             Title:




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 88 of 176 PageID #: 12585


                                    EXHIBIT B

        REDLINE OF SIXTH REVISED PROPOSED SALE PROCEDURES ORDER
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 89 of 176 PageID #: 12586




                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

   --------------------------------------------------------------------------------------------------------------------
   -
   CRYSTALLEX INTERNATIONAL                                    :
   CORPORATION,                                                :
                                                               :
                     Plaintiff,                                :
                                                               :
            v.                                                 :        Misc. No. 17-151-LPS
                                                               :
   BOLIVARIAN REPUBLIC                                         :
   OF VENEZUELA,                                               :
                                                               :
                     Defendant.                                :
   --------------------------------------------------------------------------------------------------------------------
   -

        [FIFTHSIXTH REVISED PROPOSED] ORDER (A) ESTABLISHING SALE AND
                                   BIDDING
            PROCEDURES, (B) APPROVING SPECIAL MASTER’S REPORT AND
            RECOMMENDATION REGARDING PROPOSED SALE PROCEDURES
          ORDER, (C) AFFIRMING RETENTION OF EVERCORE AS INVESTMENT
        BANKER BY SPECIAL MASTER AND (D) REGARDING RELATED MATTERS

            On January 14, 2021, the Court issued an opinion and corresponding order (D.I. 234,

   235) (the “January Ruling”) following pleadings filed by Plaintiff Crystallex International

   Corporation (“Crystallex”), Defendant Bolivarian Republic of Venezuela (the “Republic”),

   Intervenor Petróleos de Venezuela, S.A. (“PDVSA”), Garnishee PDV Holding, Inc. (“PDVH”),

   Intervenor CITGO Petroleum Corp. (“CITGO Petroleum,” and together with the Republic,

   PDVSA, and PDVH, the “Venezuela Parties”), non-parties Phillips Petroleum Company

   Venezuela Limited and ConocoPhillips Petrozuata B.V. (together, “ConocoPhillips,” and

   collectively with Crystallex and the Venezuela Parties, the “Sale Process Parties”) and the

   United States, which set out “some contours of the sale procedures that [the Court] will follow in




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 90 of 176 PageID #: 12587




   conducting a sale of PDVSA’s shares in PDVH,” including appointment of a special master to

   “oversee the day-to-day and detailed implementation of the sales procedures.” (D.I. 234 at 34).

            Consistent with the January Ruling, on April 13, 2021, the Court appointed Robert B.

   Pincus as a special master (the “Special Master”) to assist the Court with the sale of PDVSA’s

   shares in PDVH (D.I. No. 258). On May 27, 2021, the Court entered the Order Regarding

   Special Master (D.I. No. 277) (the “May Order”) directing the Special Master to, among other

   things, devise a plan (the “Proposed Sale Procedures Order”) for the sale of shares of PDVH

   (the “PDVH Shares”) as necessary to satisfy the outstanding judgment of Crystallex and the

   judgment of any other judgment creditor added to the sale by the Court and/or devise such other

   transaction as would satisfy such outstanding judgment(s) while maximizing the sale price of

   any assets to be sold (collectively, the “Sale Transaction”).

            On August 9, 2021, the Special Master filed the Proposed Order (A) Establishing Sale

   and Bidding Procedures, (B) Approving Special Master’s Report and Recommendation

   Regarding Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment

   Banker by Special Master and (D) Regarding Related Matters (D.I. 302) (the “Initial Proposed

   Sale Procedures Order”) and the Special Master’s Report and Recommendation Regarding

   Proposed Sale Procedures Order (D.I. 303) (the “Report”).

            On August 25, 2021, objections to the Initial Proposed Sale Procedures Order were filed

   by Crystallex (D.I. 317), the Venezuela Parties (D.I. 318), and ConocoPhillips (D.I. 319)

   (collectively, the “August 25 Objections”).

            On September 10, 2021, the Special Master filed the Response of Special Master to

   Objections to Proposed Sale Procedures Order (D.I 341) (the “Reply”) and the Revised

   Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s


                                                   2
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 91 of 176 PageID #: 12588




   Report and Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming

   Retention of Evercore as Investment Banker by Special Master and (D) Regarding Related

   Matters, attached as Exhibit A.1 to the Reply (the “First Revised Proposed Sale Procedures

   Order”).

            On November 5, 2021, the Special Master filed the Second Revised Proposed Order

   (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

   Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of

   Evercore as Investment Banker by Special Master and (D) Regarding Related Matters at

   (D.I. 391) (the “Second Revised Proposed Sale Procedures Order”).

            On November 8, 2021, the Court held a hearing to consider the relief contemplated by

   the Proposed Sale Procedures Order and heard oral arguments with respect thereto (the

   “Hearing”).

            On November 24, 2021, the Special Master filed the Third Revised Proposed Order

   (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and

   Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of

   Evercore as Investment Banker by Special Master and (D) Regarding Related Matters at

   (D.I. 411-1) (the “Third Revised Proposed Sale Procedures Order”).

            On March 2, 2022, the Court issued an Opinion [D.I. 443] (the “March 2022 Opinion”)

   in which the Court, among other things, (i) ruled on certain Objections (as defined herein) to the

   Proposed Sale Procedures Order and (ii) directed the Special Master to submit a revised

   Proposed Sale Procedures Order consistent with the March 2022 Opinion.

            On March 31, 2022, consistent with the March 2022 Opinion, the Special Master filed

   the Fourth Revised Proposed Order (A) Establishing Sale and Bidding Procedures,


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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 92 of 176 PageID #: 12589




   (B) Approving Special Master’s Report and Recommendation Regarding Proposed Sale

   Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by Special Master

   and (D) Regarding Related Matters at (D.I. 451-1 Ex. A) (the “Fourth Revised Proposed Sale

   Procedures Order”).

            On April 11, 2022, objections to the Fourth Revised Proposed Sale Procedures Order

   were filed by ConocoPhillips (D.I. 455), Crystallex (D.I. 456), and the Venezuela Parties (D.I.

   457), (collectively, the “April 11 Objections”).       The April 11 Objections filed by

   ConocoPhillips and Crystallex were resolved. (See D.I. 458).

            On July 27, 2022, the Court issued a Memorandum Order [D.I. 469] (the “July 2022

   Order”) in which the Court, among other things, (i) ruled on the April 11 Objections and (ii)

   directed the Special Master to submit a revised Proposed Sale Procedures Order consistent with

   the July 2022 Order.

            On August 5, 2022, consistent with the July 2022 Order, the Special Master filed the

   Fifth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving

   Special Master’s Report and Recommendation Regarding Proposed Sale Procedures Order,

   (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D) Regarding

   Related Matters at (D.I. [●]472-1 Ex. A) (the “Fifth Revised Proposed Sale Procedures

   Order”).


            On September 29, 2022, the Court issued an Oral Order [D.I. 479] (the “September

   2022 Order”) in which the Court, among other things, directed the Special Master to submit a

   revised Proposed Sale Procedure Order reflecting the passage of time since the Fifth Revised

   Proposed Sale Procedures Order.



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 93 of 176 PageID #: 12590




            On October 4, 2022, consistent with the September 2022 Order, the Special Master filed

   the Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving

   Special Master’s Report and Recommendation Regarding Proposed Sale Procedures Order,

   (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D) Regarding

   Related Matters at (D.I. [●]) (the “Sixth Revised Proposed Sale Procedures Order”).


            The Court, having reviewed and considered the Initial Proposed Sale Procedures Order,

   the Reply, the First Revised Proposed Sale Procedures Order, the Second Revised Proposed Sale

   Procedures Order, the Third Revised Proposed Sale Procedures Order, the Fourth Revised

   Proposed Sale Procedures Order, the Fifth Revised Proposed Sale Procedures Order, the Sixth

   Revised Proposed Sale Procedures Order, the Report, and the proposed sale procedures

   contemplated thereby, and having reviewed the August 25 Objections, the April 11 Objections

   and all other objections filed with the Court (collectively, with the August 25 Objections and the

   April 11 Objections, the “Objections”); and the Court having held the Hearing to consider the

   relief contemplated by the Proposed Sale Procedures Order; and upon the record of the Hearing;

   and the Court having issued the March 2022 Opinion; and the Court having issued the July 2022

   Order; and the Court having issued the September 2022 Order; and the Court having determined

   that the legal and factual bases set forth in this Order and the Report establish just cause for the

   relief contemplated herein; and upon all of the proceedings had before the Court in the above

   captioned case; and after due deliberation and sufficient cause appearing therefor,




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 94 of 176 PageID #: 12591




                      IT IS HEREBY FOUND AND DETERMINED THAT:1

                      A.         Jurisdiction and Venue. The Court has jurisdiction to grant the relief

   requested herein pursuant to 28 U.S.C. § 1605(a)(6). Venue is proper before the Court pursuant

   to 28 U.S.C. § 1963.

                      B.         Statutory and Legal Predicates. The statutory and legal predicates for

   the relief granted herein include (a) Rule 69(a) of the Federal Rules of Civil Procedure

   (the “Federal Rules”), (b) Section 324 of Title 8 of the Delaware Code (the “Delaware General

   Corporation Law”), (c) Rule 53 of the Federal Rules (“Rule 53”), (d) the Court’s general

   equitable powers to enforce its orders and judgments (See Chambers v. NASCO, Inc., 501 U.S.

   32, 43 (1991) (quoting Link v. Wabash R. Co., 370 U.S. 626, 630–631 (1962)) and (e) the All

   Writs Act (See United States v. New York Tel. Co., 434 U.S. 159, 172 (1977) (“This Court has

   repeatedly recognized the power of a federal court to issue such commands under the All Writs

   Act as may be necessary or appropriate to effectuate and prevent the frustration of orders it has

   previously issued in its exercise of jurisdiction otherwise obtained.”).

                      C.         Sale Procedures. As set out in his Report delivered in accordance with

   Rule 53 contemporaneously with this Order, the Special Master has articulated good and

   sufficient reasons for the Court to approve the procedures set forth herein (the “Sale

   Procedures”), including the bidding procedures and accompanying notices, substantially in the

   form attached hereto as Exhibit 1 (the “Bidding Procedures”).2 For the reasons outlined in the

   Report, the Sale Procedures, including the Bidding Procedures, are (a) fair, (b) reasonable,



   1
     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law. To
   the extent any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
   extent any of the following conclusions of law constitute findings of fact, they are adopted as such.
   2
     Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
   in the Bidding Procedures (as defined herein).
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 95 of 176 PageID #: 12592




   (c) appropriate, (d) designed to promote a competitive and robust bidding process to generate the

   greatest level of interest in the PDVH Shares and result in the highest offer in connection with

   any Sale Transaction at least sufficient to satisfy the Attached Judgments (as defined below), and

   (e) reasonably calculated to balance the many competing interests in a dynamic and

   internationally sensitive set of circumstances. The Bidding Procedures are substantively and

   procedurally fair to all parties and potential bidders and they afford notice and a full, fair and

   reasonable opportunity for any person or entity to make a higher or otherwise better offer to

   purchase the PDVH Shares.              The procedures and requirements set forth in the Bidding

   Procedures, including those associated with submitting deposits and Qualified Bids, are fair,

   reasonable, and appropriate.

                      D.         Timeline and Marketing Process. Beginning on the Launch Date (as

   defined below), the Special Master, directly or through the assistance of his Advisors (as defined

   below), shall market the PDVH Shares pursuant to the procedures set forth in the Bidding

   Procedures (the “Marketing Process”). The Special Master has articulated good and sufficient

   reasons for the Marketing Process and the timeline contemplated by the Bidding Procedures,

   including the procedures for modifying deadlines or postponing implementation thereof. The

   Marketing Process and the timeline for implementation of the Sale Procedures is (a) fair, open,

   comprehensive, and a public process, (b) adequate, (c) reasonable, (d) appropriate, (e) consistent

   with applicable law, (f) sufficient to promote a competitive and robust bidding and auction

   process to generate competitive interest in the PDVH Shares, (g) reasonably calculated to

   maximize value and result in the highest offer in connection with any Sale Transaction at least

   sufficient to satisfy the Attached Judgments, and (h) reasonably calculated to balance the many

   competing interests in a dynamic and internationally sensitive set of circumstances.


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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 96 of 176 PageID #: 12593




                      E.         Notice Procedures. After the Launch Date, in addition to conducting the

   Marketing Process, the Special Master shall cause a notice, substantially in the form attached

   hereto as Exhibit 2 (the “Sale Notice”), to be published (i) following the launch of the sale

   process, and (ii) prior to any Auction or designation of any Stalking Horse Bidder as the

   Successful Bidder, in The News Journal, the Delaware State News, the Wall Street Journal

   (national edition), the USA Today (national edition), and, if practicable, a regional or local

   newspaper published or circulated in Venezuela selected by the Special Master in consultation

   with the Sale Process Parties, in each case for two successive weeks. A copy of this Order shall

   be served by e-mail on counsel to the Venezuela Parties.3 If any Sale Process Party believes that

   further service of this order, the Sale Notice or any additional publication or notice is necessary

   or appropriate, such Sale Process Party shall, within 10 calendar days of entry of this Order,

   provide the Special Master with a specific list of specific actions or service that the Sale Process

   Party believes should be undertaken, subject to order of the Court or with the consent of the

   Special Master. The foregoing notice procedures (the “Notice Procedures”) are appropriate and

   reasonably calculated to provide interested parties and Potential Bidders with timely and proper

   notice of the Sale Procedures and any Sale Transaction.

                      F.         Sufficient Notice. The Marketing Process and Notice Procedures are

   appropriate and reasonably calculated to provide all interested parties with timely and proper

   notice of the Sale Procedures, the opportunity to bid pursuant to the Bidding Procedures, the

   Auction, the Sale Hearing, and any proposed Sale Transaction, and any and all objection

   deadlines related thereto, and no other or further notice shall be required for this Order and any



   3
     The Court takes notice and accepts that the Venezuela Parties have voluntarily waived any requirement under the
   Delaware General Corporation Law or otherwise regarding publication of notice in Venezuela. (See D.I. 318 at
   ⁋ 24) The Special Master and the other Sale Process Parties are entitled to rely on this waiver.
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 97 of 176 PageID #: 12594




   Sale Transaction, except as expressly required herein. The Sale Process Parties have had an

   adequate opportunity to review and provide input on the Sale Notice and Notice Procedures.

                      G.         Public Sale. The process contemplated by the Sale Procedures, including

   the Marketing Process, Bidding Procedures, and Notice Procedures, shall constitute a “public

   sale to the highest bidder” within the meaning of Section 324 of the Delaware General

   Corporation Law.

                      H.         Designation of Stalking Horse Bid. The Special Master has articulated

   good and sufficient reasons for the Court to authorize the Special Master to seek authority from

   this Court to designate a Stalking Horse Bidder and enter into a Stalking Horse Agreement with

   (or without) the Stalking Horse Bid Protections (as defined below), at the Special Master’s sole

   discretion and in accordance with the Bidding Procedures and this Order, if he determines that it

   would be in furtherance of a value maximizing Sale Transaction. The Stalking Horse Bid

   Protections are (a) fair, (b) appropriate, (c) reasonably calculated to incentivize potential bidders

   to participate in a competitive bidding process, (d) designed to encourage robust bidding by

   compensating a bidder whose definitive agreement in connection with a Sale Transaction is

   terminated for the risks and costs incurred in signing and announcing an agreement for a

   transaction that may not ultimately be completed, and (e) reasonably calculated so as to not

   unreasonably deter Qualified Bidders from submitting a Qualified Bid.

                      I.         Crystallex’s Judgment. Subject to paragraphs 31 and 32 of this Order,

   Crystallex’s alleged outstanding judgment is $969,999,752.93 as of August 9, 2021

   (“Crystallex’s Judgment”).4 The amount of Crystallex’s Judgment for the purpose of any


   4
     In paragraph 50 of the Report, the Special Master identified what appears to be a clerical error in judgment entered
   by the Clerk for the United States District Court for the District of Columbia. The figure set forth here is the
   amount of Crystallex’s Judgment if the clerical error is rectified or if the Court otherwise determines that such
   rectification is unnecessary.
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 98 of 176 PageID #: 12595




   satisfaction of payment shall be finalized pursuant to the procedures set forth in this Order and

   any further order of the Court.

                      J.         ConocoPhillips’ Judgment. Subject to paragraphs 31 and 32 of this

   Order, ConocoPhillips’ alleged outstanding judgment against PDVSA is $1,289,365,299.91 as of

   August 9, 2021 (“ConocoPhillips’ Judgment”). To the extent that ConocoPhillips’ Judgment

   becomes an Attached Judgment (as defined below), the amount of ConocoPhillips’ Judgment for

   the purpose of any satisfaction of payment shall be finalized pursuant to the procedures set forth

   in this Order and any further order of the Court.

                      K.         Retention of Advisors. The Special Master has articulated good and

   sufficient reasons and has retained, as approved by the May Order and as affirmed by this Order,

   Weil, Gotshal & Manges LLP, Potter Anderson & Corroon LLP, Jenner & Block LLP, Evercore

   Group L.L.C. (“Evercore”), and any additional advisors engaged by the Special Master pursuant

   to the May Order (collectively, the “Advisors”). The terms of the proposed Engagement Letter

   between the Special Master and Evercore, the form of which is annexed to this Order as

   Exhibit 3 (the “Proposed Evercore Engagement Letter”), are (a) fair, (b) reasonable, and

   (c) appropriate and are hereby approved in all respects. All obligations owed to Evercore set

   forth in the Proposed Evercore Engagement Letter, including the fees and reimbursement of

   reasonable expenses, are approved, and Evercore shall be compensated and reimbursed in

   accordance with the terms of the Proposed Evercore Engagement Letter, in each case subject to

   the procedures set forth herein and any other applicable orders of the Court. For avoidance of

   doubt, all obligations owed to Evercore pursuant to the Proposed Evercore Engagement Letter

   shall constitute and be included within the definition of “Transaction Expenses” (as defined

   below); provided that, as set forth below, any Sale Fee other than the Upfront Amount (each as


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 99 of 176 PageID #: 12596




   defined in the Proposed Evercore Engagement Letter) shall be paid by the purchaser directly or

   from any proceeds from a Sale Transaction.

                      IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                      1.         All Objections to the relief granted herein that have not been withdrawn

   with prejudice, waived, or settled, and all reservations of rights included in such objections, are

   hereby overruled and denied on the merits with prejudice.

                      2.         Following the Launch Date, a hearing to consider approval of any Sale

   Transaction resulting from implementation of the Sale Procedures shall be scheduled for

   approximately 270 calendar days after the Launch Date and noticed on the docket of the

   Crystallex Case (the “Sale Hearing”), and may be adjourned or rescheduled by the Court upon

   notice by the Special Master. At the Sale Hearing, the Court will consider approval of the

   Successful Bid(s) (as defined below) and Back-up Bid(s), if applicable. Unless the Court orders

   otherwise, the Sale Hearing shall be an evidentiary hearing on matters relating to the applicable

   Sale Transaction(s) and there will be no further bidding at such hearing.

                      3.          Within the period of six (6) months after the date of this Order (the “Six-

   Month Window”), the Special Master and his Advisors shall solicit and attempt to gain clarity

   or guidance from the United States Department of the Treasury’s Office of Foreign Assets

   Control (“OFAC”) of its support for (or non-opposition to), the launch of the Marketing Process

   by the Special Master, the viability of the Marketing Process, and any additional feedback or

   guidance that the Special Master believes will more likely result in a value-maximizing Sale

   Transaction. During the Six-Month Window, but by no later than the expiration thereof or

   February 28May 2, 2023 (whichever comes first), the Special Master shall make a

   recommendation (such recommendation, the “Supplemental Report”) to the Court as to


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 100 of 176 PageID #: 12597




   whether (and when) the Court should direct the Special Master to begin to make preparations for

   launch of the Marketing Process (the date on which preparation for the Marketing Process is

   launched, the “Preparation Launch Date”) and the ultimate launch of the Marketing Process

   (the date on which the Marketing Process is launched, the “Launch Date”). The Supplemental

   Report shall, in the Special Master’s sole discretion, address significant factors and

   considerations that the Special Master and his Advisors believe relevant to the Court’s decision

   as to when Preparation Launch Date and the Launch Date should occur. The Sales Process

   Parties shall have the opportunity to object to the Special Master’s recommendations in the

   Supplemental Report regarding the Preparation Launch Date and the Launch Date (“Launch

   Date Objections”), which Launch Date Objections shall be filed with the Court no later than

   15 business days after the Supplemental Report is filed (the “Launch Date Objection

   Deadline”). Any response to a Launch Date Objection from the Special Master or a Sale

   Process Party shall be filed no later than 10 business days after the Launch Date Objection

   Deadline. The Court shall consider the Supplemental Report, all Launch Date Objections

   thereto, and any responses, after which the Court shall make a determination regarding when to

   trigger the Preparation Launch Date and subsequent Launch Date with or without a license from

   OFAC.

                      4.         Prior to the Preparation Launch Date, unless otherwise ordered by the

   Court, the Special Master shall not prepare in a material way for the Marketing Process or take

   material steps toward implementation of the Sale Procedures; provided that, notwithstanding the

   foregoing, the Special Master shall be authorized to (i) proactively engage with representatives

   from the Executive Branch (as defined below) and to take all steps or actions reasonably in

   furtherance of the issuance of OFAC guidance and/or authorization, including, but not limited to,


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 101 of 176 PageID #: 12598




   making market inquiries into potential bidders with respect to the impact of OFAC’s position (or

   their lack thereof) on their willingness to participate in a sale process that is conditioned on

   OFAC’s final approval of any sale transaction; provided that the Sale Process Parties and their

   advisors shall be consulted as to the identity of, and the scope of inquiry to, any such potential

   bidders, (ii) proactively engage with the Sale Process Parties and their advisors, (iii) prepare for

   and participate in any discussions with the Court and/or any hearing held by the Court, including

   the Initial Status Conference (as defined below), (iv) participate in any settlement discussions

   with parties regarding a global claims waterfall or related issues if so directed by the Court, and

   (v) direct his Advisors to assist him in all actions contemplated in (i) to (iv) of this paragraph 4

   and in furtherance of all actions authorized or contemplated by this Order. On and after the

   Preparation Launch Date, the Special Master and the Special Master’s Advisors are hereby

   directed to prepare for the Marketing Process and take all such preliminary actions in connection

   therewith, including conducting or performing appropriate due diligence and related analysis.

   Without limiting the foregoing, in preparation for the Marketing Process following the

   Preparation Launch Date, the Special Master shall prepare a customary “teaser” and a

   “confidential information memorandum” (“CIM”) to be shared with Potential Bidders and such

   other materials that the Special Master reasonably determines to be necessary or appropriate.

   Subject to the Protective Order, the Special Master shall share a draft of the “teaser” and CIM

   with counsel to the Sale Process Parties no later than seven (7) calendar days prior to launch of

   the Marketing Process and shall consult in good faith with the Sale Process Parties regarding the

   same. Further, the Special Master shall (a) no later than 10 business days after the Preparation

   Launch Date, meet and confer with PDVSA regarding any minority shareholder rights or other

   protections that could facilitate a sale of minority shares and (b) as soon as reasonably


                                                    13
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 102 of 176 PageID #: 12599




   practicable after any Potential Bidder submits a Non-Binding Indication of Interest that

   contemplates the provision of minority shareholder rights and protections.                 See Bidding

   Procedures at item (iii) on page 4 (requesting Potential Bidders to identify “any minority

   shareholder rights, protections, or other desired terms in connection with any bid for less than

   100% of the PDVH Shares”).

                      5.         Status Conferences. Unless otherwise ordered by the Court, the Court

   shall hold a status conference approximately every thirty days commencing after the Preparation

   Launch Date for the Special Master to provide an update to the Court and other interested parties

   regarding implementation of the Sale Procedures Order; provided that subject to the Court’s

   availability, the Special Master or the Sale Process Parties may request that such status

   conferences occur more or less frequently or on an as-needed basis; provided further that

   nothing shall impede the Special Master’s right to meet in camera or share information with the

   Court to provide updates on the sale process. The initial status conference shall be held

   approximately 30 days after the Preparation Launch Date at a date and time to be set by the

   Court by separate order (the “Initial Status Conference”). At the Initial Status Conference, the

   Special Master shall provide the Court and interested parties with an update on his progress and

   the Special Master’s current estimate, if any, regarding launch of the Marketing Process. For the

   avoidance of doubt, the Special Master shall not launch the Marketing Process until otherwise

   ordered by the Court.

                      6.         The Special Master shall deliver a copy of this Order to the United States

   Attorney for the District of Delaware (“USAO”). The Court hereby requests that, upon receipt,

   the USAO take reasonable efforts to ensure that copies of the Order are received by the pertinent

   offices within the Executive Branch of the United States Government, including the United


                                                         14
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 103 of 176 PageID #: 12600




   States Department of Justice, Department of State, and Department of the Treasury (including

   OFAC) (collectively, the “Executive Branch”). Consistent with the Court’s prior orders, the

   Court invites input from the Executive Branch regarding implementation of this Order and the

   Bidding Procedures at any time and further requests that the representatives from the USAO

   voluntarily provide an update regarding the Executive Branch’s decision-making process related

   to the Marketing Process and consummation of a Sale Transaction, including, but not limited to,

   whether, in a sale process overseen and directed by this Court in connection with the

   enforcement of the judgment(s) of this Court, (i) the Special Master, acting as an arm of this

   Court, requires an OFAC specific license to launch and conduct the Marketing Process;

   (ii) potential bidders participating in any or all aspect of the Marketing Process require an OFAC

   specific license; or (iii) an order of this Court approving the sale, cancellation and reissue, or

   transfer of property subject of its prior order, requires a specific OFAC license. If the Special

   Master determines that it is necessary as a precondition to launching the Marketing Process he

   may request that the Court issue an order for the Executive Branch to show (i) cause as to why

   the launch and participation of prospective bidders in the Marketing Process is not authorized

   and (ii) the facts and circumstances that would be necessary for OFAC to provide approval for

   any transfer of the PDVH Shares pursuant to the process contemplated by these Sale Procedures.

                                             The Bidding Procedures

                      7.         The Sale Procedures, including the Bidding Procedures, substantially in

   the form attached hereto as Exhibit 1, are hereby approved. The Bidding Procedures are

   incorporated herein by reference, and shall govern the bids and proceedings related to any sale of

   PDVH Shares in connection with a Sale Transaction. The failure to specifically include or

   reference any particular provision of the Bidding Procedures in this Order shall not diminish or


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 104 of 176 PageID #: 12601




   otherwise impair the effectiveness of such procedures, it being the Court’s intent that the

   Bidding Procedures are approved in their entirety, as if fully set forth in this Order.

                      8.         The Special Master is authorized and directed to take all reasonable

   actions necessary or desirable to implement this Order, including the Sale Procedures and the

   Bidding Procedures.

                      9.         Subject to the Bidding Procedures and this Order, the Special Master shall

   be authorized, as he may reasonably determine is necessary or desirable, to carry out the Bidding

   Procedures, including, without limitation, to:             (a) designate a Stalking Horse Bid, if any,

   pursuant to the Bidding Procedures; (b) determine which bidders are Qualified Bidders; (c)

   determine which bids are Qualified Bids; (d) determine which Qualified Bid is the highest

   purchase price received prior to the Auction; (e) determine which Qualified Bid is the Successful

   Bid; (f) reject any bid that is (i) inadequate or insufficient, (ii) not a Qualified Bid or otherwise

   not in conformity with the requirements of the Bidding Procedures, or (iii) not a bid that

   provides for a value maximizing Sale Transaction; (g) adjourn the Auction and/or the Sale

   Hearing by filing a notice on the Court’s docket without need for further notice; and (h) modify

   the Bidding Procedures upon notice to and consultation with the Sale Process Parties in a manner

   consistent with his duties and applicable law.

                      10.        The Special Master shall be authorized to, in his reasonable judgment,

   upon notice to and consultation with the Sale Process Parties, modify the Bidding Procedures,

   including (a) waive terms and conditions with respect to any Potential Bidder, (b) extend the

   deadlines set forth in the Bidding Procedures, (c) announce at the Auction modified or additional

   procedures for conducting the Auction, and (d) provide reasonable accommodations to a

   Stalking Horse Bidder with respect to such terms, conditions, and deadlines set forth in the


                                                         16
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 105 of 176 PageID #: 12602




   Bidding Procedures to promote further bids by bidders, in each case, to the extent not materially

   inconsistent with the Bidding Procedures and this Order; provided that a Sale Process Party may,

   within five (5) calendar days, file an objection to any modification, upon which time the Court

   shall set a briefing schedule for any reply and a hearing, if applicable, to adjudicate such

   objection.

                      11.        All Potential Bidders submitting bids determined by the Special Master to

   be “Qualified Bids” in accordance with the Bidding Procedures are deemed to have submitted to

   the exclusive jurisdiction of this Court with respect to all matters related to the Bidding

   Procedures, the Auction, and any Sale Transaction. Except as provided in an executed definitive

   Stalking Horse Agreement, and then subject to the terms thereof, nothing in this Order or the

   Bidding Procedures shall obligate the Special Master to pursue any transaction with a Qualified

   Bidder.

                      12.        The Special Master may, in the exercise of his judgment, identify the

   highest Qualified Bid(s) that the Special Master reasonably believes to be capable of being

   timely consummated after taking into account the factors set forth in the Bidding Procedures as

   the successful bid(s) (a “Successful Bid” and, the bidder(s) submitting such bid(s),

   a “Successful Bidder”); provided, that if the Special Master receives multiple competing

   Qualified Bids that would satisfy the Attached Judgments in full and which the Special Master

   reasonably believes to be capable of being timely consummated as set forth above, then the

   Special Master must designate such Qualified Bid that (i) satisfies the Attached Judgments and

   (ii) provides for the sale of the fewest PDVH Shares, unless PDVSA consents to the Special

   Master designating the Qualified Bid for more of the PDVH Shares. As soon as reasonably

   practicable following selection of a Successful Bid, the Special Master shall file with the Court a


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 106 of 176 PageID #: 12603




   notice containing information about the Successful Bidder with the proposed definitive

   agreement attached thereto (without exhibits or schedules that the Special Master elects to omit)

   (the “Notice of Successful Bidder”). Notwithstanding anything to the contrary in this Order

   (including the Bidding Procedures), the Special Master shall not designate a Qualified Bid as the

   Successful Bid if it provides for the sale of more shares than are necessary to satisfy the

   Attached Judgments; provided that if PDVSA informs the Special Master that they wish to sell

   more of the PDVSA Shares, then the Special Master may consider that view.

                      13.        Upon the selection of a Successful Bidder and as soon as reasonably

   practicable after the Special Master files the Notice of Successful Bidder (and in no event later

   than seven (7) days prior to the Sale Objection Deadline), the Special Master shall file a report

   under seal (and serve a copy to the Sale Process Parties) that provides a summary of the Bids,

   including their cash and non-cash consideration components. Further, if, pursuant to the Bidding

   Procedures, the Special Master, in the exercise of his judgment, does not select a Successful Bid

   following the Bid Deadline, the Special Master shall file a report with the Court under seal (and

   serve a copy to the Sale Process Parties) explaining the basis and rationale for not selecting any

   of the Bids (if any) as a Successful Bid. In the event the Special Master fails to select a

   Successful Bid, the Sales Process Parties shall have the right to move the Court to select a

   Successful Bid from among those presented to the Special Master. In connection with any of the

   foregoing reports filed under seal, the Special Master shall disclose to the Court (with a copy to

   the Sale Process Parties) a copy of any Bid(s) received that were not selected by the Special

   Master as a Successful Bid. Any unsealed version of such reports or Bids filed on the Court’s

   docket shall retain redactions to the names of any bidders or other identifying information and

   any other redactions to be determined by the Special Master.


                                                       18
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 107 of 176 PageID #: 12604




                      14.        For the avoidance of doubt, subject to approval of any Sale Transaction by

   the Court, the Special Master shall have authority to select a Qualified Bid as the Successful Bid

   that provides for a transfer of PDVH Shares free and clear of any claims, encumbrances, and

   liabilities, which, for the avoidance of doubt, upon entry of an order by this Court approving any

   Sale Transaction and upon the consummation of any such Sale Transaction, may constitute a full

   and complete general assignment, conveyance, and transfer of all of PDVSA’s or any other

   person’s right, title, and interest in the PDVH Shares and may provide for the valid transfer

   under applicable law of good and marketable title to the PDVH Shares to the Successful Bidder

   free and clear of all claims, encumbrances, and liabilities; provided that such transfer shall be

   without prejudice to any such claims, encumbrances, and liabilities attaching to the proceeds of

   any Sale Transaction with the same nature, validity, priority, extent, perfection, and force and

   effect that such claims, encumbrances, and liabilities encumbered the PDVH Shares immediately

   prior to the consummation of any Sale Transaction.

                      15.        The Sale Notice, substantially in the form attached hereto as Exhibit 2, is

   approved, and no other or further notice of the Sale Transaction, the Auction, the Sale Hearing or

   the Sale Objection Deadline shall be required if the Special Master publishes such notice in

   accordance with the Notice Procedures. The Sale Notice and publication thereof complies in all

   respects with and satisfies the requirements of Section 324 of the Delaware General Corporation

   Law. The Special Master may file on the Court’s docket, publish, or otherwise distribute any

   supplemental notice that he, in his sole discretion, deems appropriate or desirable; provided that

   no such supplemental notice shall be required. All expenses and fees related to implementation

   of the Marketing Process and Notice Procedures shall constitute “Transaction Expenses” and

   shall be payable by the Sale Process Parties and holders of any Additional Judgments (as defined


                                                          19
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 108 of 176 PageID #: 12605




   below) (the “Additional Judgment Creditors”). The Special Master may request that the Sale

   Process Parties and any Additional Judgment Creditors, collectively, reimburse the Special

   Master in advance in an amount equal to the amount of any quote received in connection with

   publication required by the Notice Procedures and, upon any such request, the Sale Process

   Parties shall each promptly pay their respective share; provided that, in the event any Additional

   Judgment Creditor becomes obligated to pay a portion of the Transaction Expenses pursuant to

   this Order, the Special Master shall meet and confer with the Sale Process Parties to determine

   such Additional Judgment Creditor’s share of the reimbursement obligation.

                                          Objections to Sale Transaction

                      16.        The deadline to object to any Sale Transaction to be approved at the Sale

   Hearing will be 4:00 p.m. (prevailing eastern time) on the fourteenth day after the Special

   Master files the Notice of Successful Bid (the “Sale Objection Deadline,” and any such

   objection, a “Sale Objection”); provided that, the Special Master may extend such deadline, as

   the Special Master deems appropriate in the exercise of his reasonable judgment. If a timely

   Sale Objection cannot otherwise be resolved by the parties, such objection shall be heard by the

   Court at the Sale Hearing. The Notice of Successful Bid shall state the specific date and time of

   the Sale Objection Deadline.

                      17.        The Successful Bidder(s) shall appear at the Sale Hearing and be

   prepared, if necessary, to have a representative(s) testify in support of the Successful Bid and the

   Successful Bidder’s ability to close the Sale Transaction contemplated therein in a timely

   manner.

                      18.        Any party who fails to timely file with the Court and serve a Sale

   Objection (including any Sale Process Party) on the Special Master may be forever barred from


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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 109 of 176 PageID #: 12606




   asserting any Sale Objection to the applicable sale, or to the consummation of any Sale

   Transaction.

                      19.        For the avoidance of doubt, the Sale Process Parties shall have the

   opportunity to object to the Special Master’s recommendation as to which bid is best and

   whether the Court should accept or reject such bid. Upon hearing all Sale Objections, the Court

   will make the final decision as to whether to accept or reject any bid. Nothing in this Order shall

   affect the rights of any party to appeal such a decision by the Court.

                                       Designation of Stalking Horse Bidder

                      20.        Selection of Stalking Horse Bidder. The Special Master is authorized to,

   in the exercise of his judgment and at his sole discretion, designate a Stalking Horse Bidder for

   the PDVH Shares and following such designation, subject to approval by the Court, enter into a

   Stalking Horse Agreement for the sale of any such PDVH Shares, in accordance with the terms

   of this Order and the Bidding Procedures.

                      21.        Stalking Horse Bid Protections. Subject to the Bidding Procedures and

   approval by this Court, the Special Master may: (a) establish an initial overbid minimum and

   subsequent bidding increment requirements not to exceed 5.00% of the Stalking Horse Bid

   Implied Value, subject to adjustment for any Bids for a lesser percentage of the PDVH Shares

   than the Stalking Horse Bid (the “Initial Minimum Overbid Amount”); (b) offer any Stalking

   Horse Bidder a break-up fee in an amount agreed to by the Special Master in consultation with

   the Sale Process Parties, but not to exceed 3.00% of the Stalking Horse Bid Implied Value

   (a “Termination Payment”) payable either (i) in the event that an overbid is consummated, out

   of the proceeds from the consummation of such overbid or (ii) by PDVH, CITGO Holding, Inc.

   (“CITGO Holding,” and collectively with CITGO Petroleum, “CITGO”) and CITGO


                                                         21
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 110 of 176 PageID #: 12607




   Petroleum in circumstances where any of PDVH, CITGO Holding, and/or CITGO Petroleum is

   materially responsible for the events that give rise to termination of the Stalking Horse

   Agreement; (c) provide that, if the Stalking Horse Bidder bids on PDVH Shares at the Auction,

   the Stalking Horse Bidder will be entitled to a credit up to the amount of its Termination

   Payment against the increased purchase price for the PDVH Shares; (d) provide for the

   reimbursement of reasonable and documented fees and expenses actually incurred by the

   Stalking Horse Bidder by PDVH, CITGO Holding and CITGO Petroleum solely under certain

   circumstances in which the transactions contemplated by the Stalking Horse Agreement are not

   consummated; (e) provide that any sale order shall seek to transfer the PDVH Shares free and

   clear of any claims upon them; and (f) in consultation with the Sale Process Parties, provide

   other appropriate and customary protections to a Stalking Horse Bidder (the Termination

   Payment and the other bid protections described in this paragraph collectively are referred to as

   the “Stalking Horse Bid Protections”). The Special Master is authorized to offer the Stalking

   Horse Bid Protections at his sole discretion if he determines that such Stalking Horse Bid

   Protections would be in furtherance of a value maximizing transaction; provided that, (a) absent

   further order of the Court, the Special Master shall not enter into a Stalking Horse Agreement

   and (b) any Stalking Horse Bid Protections offered shall not be effective until entry by the Court

   of an order approving such Stalking Horse Bid Protections and subsequent execution by the

   Special Master of the Stalking Horse Agreement.

                      22.        To the extent the Special Master designates a Stalking Horse Bidder with

   respect to any Sale Transaction, the Special Master shall, as soon as reasonably practicable

   following the execution of a Stalking Horse Agreement, file with the Court a notice containing

   information about the Stalking Horse Bidder with the proposed Stalking Horse Agreement


                                                         22
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 111 of 176 PageID #: 12608




   attached thereto (without exhibits or schedules that the Special Master elects to omit)

   (the “Notice of Stalking Horse Bidder”).               Any Stalking Horse Bid Protections shall be

   described in reasonable detail, including the amount and calculation of such Stalking Horse Bid

   Protections and the amount of the Stalking Horse Bid Implied Value, in the Notice of Stalking

   Horse Bidder. Contemporaneously with the filing of the Notice of Stalking Horse Bidder, the

   Special Master shall file a proposed order approving the Special Master’s entry into the Stalking

   Horse Agreement.

                      23.        Objections to the Special Master’s entry into a Stalking Horse Agreement,

   including any provision of Stalking Horse Bid Protections in connection therewith (each

   a “Stalking Horse Objection”), must be in writing, state with particularity the basis and nature

   of any objection, and be filed with the Court no later than 10 calendar days after the filing of the

   Notice of Stalking Horse Bidder (the “Stalking Horse Objection Deadline”), upon which time

   the Court shall set a briefing schedule for any reply and a hearing, if applicable, to adjudicate

   such objection.

                      24.        If a timely Stalking Horse Objection is filed and served with respect to a

   Stalking Horse Agreement, the proposed Stalking Horse Bid Protections provided for under that

   agreement shall not be approved until the objection is resolved by agreement of the objecting

   party or by entry of an order by the Court resolving such objection. If no timely Stalking Horse

   Objection is filed and served with respect to a particular Stalking Horse Agreement, then the

   Court may enter an Order approving the Stalking Horse Bid Protections provided for under such

   agreement upon the expiration of the Stalking Horse Objection Deadline.

                      25.        For all purposes under the Bidding Procedures, any Stalking Horse Bidder

   approved as such pursuant to this Order shall be considered a Qualified Bidder, and the Stalking


                                                         23
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 112 of 176 PageID #: 12609




   Horse Bid shall be considered a Qualified Bid. In the event that the Stalking Horse Bid is the

   only Qualified Bid received by the Special Master by the Bid Deadline, the Stalking Horse

   Bidder shall be deemed the Successful Bidder with respect to the assets set forth in the Stalking

   Horse Agreement.

                                                   Credit Bids

                      26.        Crystallex, and any other holder of an Attached Judgment, may submit a

   “credit bid” pursuant to the Bidding Procedures (each, a “Credit Bid”); provided that such

   Credit Bid shall comply with the Bidding Procedures, including the requirement that any credit

   bid include a cash component or other funding mechanism sufficient to pay (or otherwise

   contemplate payment in full in cash in a manner acceptable to the Special Master; provided, that,

   with respect to any reimbursement of Transaction Expenses owed to a Sale Process Party

   pursuant to the May Order, such Sale Process Party’s consent shall be required if such Sale

   Process Party is not to be reimbursed in cash) (a) any applicable Termination Payment, (b) all

   Transaction Expenses, and (c) all obligations secured by senior liens on the PDVH Shares (if

   any). If any Credit Bidder withdraws its Credit Bid or in any other way fails to consummate its

   Credit Bid in a manner that would cause any other Bidder to lose its Good Faith Deposit, then

   the lesser of ten percent (10%) of the portion of the judgment that was Credit Bid or $50 million

   of the judgment shall be forever waived and the Court shall enter an order reducing the judgment

   in accordance therewith, provided however that no such forfeiture shall occur if the reason for

   the withdrawal or failure to consummate the Credit Bid is a settlement or other satisfaction of the

   judgment. For the avoidance of doubt, a Credit Bid must be submitted by the deadlines set forth

   in the Bidding Procedures applicable to all other Bids.




                                                        24
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 113 of 176 PageID #: 12610




                      27.        Except as otherwise agreed by the Special Master, in connection with the

   submission of any Credit Bid (including a Credit Bid by Crystallex), any party seeking to submit

   a Credit Bid shall cause two of its representatives to each submit a sworn statement and affidavit

   that unequivocally and unconditionally states (a) the then outstanding and unpaid amount of such

   party’s judgment as of the date the Credit Bid is submitted and (b) that such representative

   submits to the personal jurisdiction of this Court in connection with making such statement and

   affidavit.      Except as otherwise agreed by the Special Master, in connection with the

   consummation of any Credit Bid that becomes the Successful Bid, the same two representatives

   shall each submit a supplemental statement and affidavit stating that all payments or

   consideration received by the person or entity in connection with or in respect of the applicable

   judgment that served as the basis for the Credit Bid have been disclosed to the Court and the

   Special Master.

                      28.        Any person or entity that submits a Credit Bid shall promptly (but in no

   event later than within 2 business days) notify the Special Master if such person or entity

   receives (or otherwise becomes entitled to receive) any payment or consideration in connection

   with or in respect of the judgment that served as the basis for the Credit Bid.

                                               Attached Judgments

                      29.        Satisfaction of All Attached Judgments. Nothing in this Order prohibits

   or in any way impairs the rights of the Venezuela Parties to satisfy Crystallex’s Judgment (or

   any other Attached Judgment) in full prior to consummation of a Sale Transaction. If at any time

   all Attached Judgments become satisfied in full (or otherwise are consensually resolved), then

   the Special Master shall cease implementation of the Sale Procedures and seek further direction

   from the Court. The Sale Process Parties and any Additional Judgment Creditors shall remain


                                                         25
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 114 of 176 PageID #: 12611




   liable for any Transaction Expenses incurred through the date that is two business days after the

   Special Master receives notice of satisfaction of all Attached Judgments. In the event that the

   Special Master selects a Successful Bid, the value of which implies satisfaction of less than all

   Attached Judgments, then any holder of an Attached Judgment that receives no proceeds in

   satisfaction of any part of their Attached Judgment shall be excused from contributing to the

   payment of any Transaction Expenses incurred after the date thereof. The Sale Process Parties

   shall be reimbursed for any paid Transaction Expenses as set forth in the May Order; provided

   that if the process is terminated due to satisfaction or resolution of all Attached Judgments by the

   Venezuela Parties, then, solely in such circumstance (and unless otherwise agreed to by

   Crystallex and ConocoPhillips), the Venezuela Parties shall pay and reimburse Crystallex and

   ConocoPhillips for the full amount of all Transaction Expenses paid by Crystallex

   and ConocoPhillips.

                      30.        Additional Judgment Deadline. By no later than ten calendar days after

   the Launch Date (the “Additional Judgment Deadline”), the Court will decide in accordance

   with applicable law which, if any, additional judgments (the “Additional Judgments,” and with

   the Crystallex Judgment, the “Attached Judgments”) are to be considered by the Special

   Master for purposes of the Sale Transaction.              Except as otherwise ordered by the Court,

   following the Additional Judgment Deadline, the Special Master shall implement the Sale

   Procedures, based on the Attached Judgments as of the Additional Judgment Deadline. For

   purposes of implementing this Order, the Special Master shall only consider judgments that are

   determined to be Attached Judgments by the Court by the Additional Judgment Deadline. For

   the avoidance of doubt, unless otherwise ordered by the Court, (i) the Additional Judgment

   Deadline does not impair or in any way limit any person’s or entity’s right to seek attachment to


                                                        26
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 115 of 176 PageID #: 12612




   any proceeds following consummation of the Sale Transaction and (ii) no PDVH Shares shall be

   sold, nor proceeds from any sale thereof distributed, to satisfy any judgments that are not

   Attached Judgments. If ConocoPhillips’ Judgment is not made an Attached Judgment following

   the Additional Judgment Deadline or the Launch Date, whichever is earlier, ConocoPhillips shall

   be excused from contributing to the payment of any Transaction Expenses incurred thereafter,

   provided that should ConocoPhillips decline to contribute to the funding of the sale process it

   shall no longer be treated as a Sale Process Party for purposes of this Order. ConocoPhillips’

   excuse from further funding obligations shall not affect its entitlement to reimbursement for all

   payments previously advanced, as provided in the May Order.

                      31.        Final Calculation of Attached Judgments. Thirty days prior to the

   designation of a Stalking Horse Bidder, the Special Master will file under seal a notice or

   recommendation with the Court seeking final determination of any Attached Judgment,

   including the rate at which interest continues to accrue and serve such notice or recommendation

   on the holder of the Attached Judgment and the Sale Process Parties. No later than seven

   calendar days after service, the holder of the Attached Judgment and the Sale Process Parties

   shall file any objection to the Special Master’s notice or recommendation. If no objection is

   filed, the amount set forth in the Special Master’s notice or recommendation shall become the

   amount of the Attached Judgment for purposes of the Sale Procedures. If an objection is filed, a

   hearing will be scheduled and the Court shall determine the amount of the Attached Judgment.

                      32.        By no later than 21 calendar days following the Preparation Launch Date,

   any holder of an Attached Judgment or holder of a judgment seeking to be an Attached Judgment

   shall deliver to the Special Master and to counsel for the Venezuela Parties a statement

   indicating the amount such creditor contends remains outstanding with respect to their Attached


                                                         27
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 116 of 176 PageID #: 12613




   Judgment or judgment.               Such creditor shall provide reasonably sufficient supporting

   documentation regarding any alleged outstanding balance and all amounts and assets received by

   reason of the Attached Judgment or judgment and any other information pertinent to

   understanding the outstanding balance of the applicable Attached Judgment or judgment.

                            Amendments & Additional Powers of the Special Master

                      33.        Additional Guidance from the Court. If the Special Master, in his sole

   discretion, but after consultation with the Sale Process Parties, determines that (a) a material

   modification or amendment of this Order or the Sale Procedures (including the Bidding

   Procedures) that is not otherwise permitted (each a “Proposed Amendment”) or (b) additional

   powers or guidance from the Court, is reasonably necessary or desirable for any reason,

   including to (i) ensure a value maximizing sale process or (ii) effectuate a value maximizing sale

   process through a Sale Transaction, the Special Master may seek such Proposed Amendment or

   additional powers or guidance, as applicable, by filing a request or recommendation with the

   Court with notice to the Sale Process Parties.

                      34.        Requests of the Special Master.       In addition to the cooperation

   provisions in the May Order, the Sale Process Parties, including CITGO and PDVH, and each of

   their subsidiaries, including their directors, officers, managers, employees, agents, and advisors,

   shall promptly cooperate and comply with the requests of the Special Master. If the Special

   Master specifically invokes this paragraph 33 34 in connection with any such request, then the

   person or entity that is the subject or recipient of such request shall comply no later than five (5)

   business days after the date upon which the request was made, unless the Special Master sets a

   different deadline for which a response is due. If any person objects to a request by the Special

   Master that specifically invokes this paragraph 3334, including objections based on a belief that


                                                        28
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 117 of 176 PageID #: 12614




   such request is unreasonable, such person shall file a motion with the Court seeking relief from

   the Special Master’s request. Absent a motion seeking relief from the Court, the Special Master

   may (but shall have no obligation to) explain the basis of his request to the subject or recipient;

   provided that, if requested by the subject or recipient, the Special Master shall meet and confer

   with such person at least one business day before such person’s deadline to file a motion seeking

   relief from the Special Master’s request. The Special Master may, in his sole discretion,

   recommend to the Court appropriate sanctions with respect to any person or entity that fails to

   promptly comply with a request absent a timely request for relief from the Court. For the

   avoidance of doubt, the terms of this paragraph are in addition to the terms of the May Order;

   provided that the scope of the May Order shall in no way be read to limit the effect of this

   paragraph.

                      35.        CITGO Management Team.           Without limiting paragraph 3334, if

   requested by the Special Master, CITGO shall use reasonable efforts to make members of the

   CITGO management team available for meetings with bidders or potential bidders, which may

   include, in the Special Master’s sole discretion, the most senior members of the CITGO

   management team. CITGO shall further use reasonable efforts to timely respond to the Special

   Master’s diligence requests or bidder-specific questions, including, if applicable, by providing

   accurate and complete due diligence materials, documentation, and backup support requested by

   the Special Master.

                      36.        Additional Powers of the Special Master. In addition to the duties and

   powers set forth in this Order, the Special Master shall have all of the powers and duties set forth

   in prior orders of the Court, including the May Order. Without limiting the foregoing, the

   Special Master may issue, without limitation, orders, subpoenas and interrogatories to any


                                                        29
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 118 of 176 PageID #: 12615




   person in the course of performing his duties. Further, the Special Master may, in his sole

   discretion and consistent with Rule 53 of the Federal Rules, issue orders to compel delivery of

   information from any person or entity in connection with implementing the Sale Procedures,

   including to ensure a comprehensive and value-maximizing sale process, to ensure that property

   that is directly or indirectly the subject of this Order is not transferred or otherwise encumbered

   by the Venezuela Parties or to determine the amount of claims against the Venezuela Parties.

   Following consultation with the Sale Process Parties, the Special Master may by order impose on

   a party any non-contempt sanction provided by Rule 37 or Rule 45 of the Federal Rules, and

   may recommend a contempt sanction against a party and sanctions against a nonparty, consistent

   with Rule 53(c) of the Federal Rules.

                                               Additional Provisions

                      37.        Rosneft Trading S.A. The Consent Order Regarding Disclosure by

   Rosneft Trading S.A. and Petróleos de Venezuela, S.A. Regarding CITGO Holding Pledge

   (D.I. 396) (the “Rosneft Consent Order”) is incorporated herein by reference as if fully set

   forth herein.

                      38.        Dispute Resolution. All bidders that participate in the sale and bidding

   process shall be deemed to have (a) consented to the jurisdiction of the Court to enter any order

   or orders, which shall be binding in all respects, in any way related to the Sale Procedures or

   Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the construction,

   interpretation, and enforcement of any agreement or any other document relating to a Sale

   Transaction; (b) waived any right to a jury trial in connection with any disputes relating to the

   Sale Procedures or Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the

   construction, interpretation, and enforcement of any agreement or any other document relating to


                                                         30
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 119 of 176 PageID #: 12616




   a Sale Transaction; and (c) consented to the entry of a final order or judgment in any way related

   to the Sale Procedures or Bidding Procedures, the bid process, the Auction, the Sale Hearing, or

   the construction, interpretation, and enforcement of any agreement or any other document

   relating to a Sale Transaction if it is determined that the Court would lack jurisdiction to enter

   such a final order or judgment absent the consent of the parties.

                      39.        Communications & Negotiations with Third Parties.      The Special

   Master is authorized and empowered, in his sole discretion and at any time, to communicate and,

   as applicable, negotiate with any bidder, potential bidder, or governmental or regulatory body.

   Further, in consultation with the Sale Process Parties, the Special Master is authorized and

   empowered, in his sole discretion and at any time, to communicate and, as applicable, negotiate

   with any other person or entity, including any contract counterparty, any indenture trustee,

   administrative agent, or collateral agent, any holders of that certain series of bonds issued by

   PDVSA due in 2020 (the “PDVSA 2020 Bondholders”) or other person related to PDVH,

   CITGO, and their affiliates to the extent reasonably necessary or desirable in connection with

   preparation of the Supplemental Report and implementation of the Sale Procedures and any Sale

   Transaction. If the Special Master determines it is reasonably necessary or desirable to negotiate

   a change, modification, or amendment to, or seek a consent or waiver under, any contract of

   PDVH, CITGO, or any of their subsidiaries in connection with any Bid or Potential Bid or

   implementation of the Sale Procedures or any Sale Transaction, including with respect to any

   “change-of-control” provisions in any contract, the Special Master shall work with PDVH and

   CITGO, as applicable, to negotiate such change, modification, amendment, consent, or waiver.

   If either PDVH or CITGO, as applicable, do not cooperate with or otherwise consent to any

   particular negotiation, change, modification, amendment, consent, or waiver, the Special Master


                                                     31
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 120 of 176 PageID #: 12617




   shall seek additional guidance from the Court and shall not proceed absent further order from

   the Court.

                      40.        Communications with Potential Bidders.   The Sale Process Parties

   (other than the Venezuela Parties) shall not, directly or indirectly, contact or otherwise

   communicate with any Potential Bidders regarding this Order, the Sale Procedures, any bid or

   potential bid, or any Sale Transaction, other than as expressly permitted in writing by the Special

   Master or otherwise authorized by this Court. Subject in all cases to the Special Master

   Confidentiality Order (D.I. 291) (the “Protective Order”), nothing herein restricts the

   Venezuela Parties’ ability to communicate with Potential Bidders or any other third-party,

   including by placing public advertisements regarding the Marketing Process and the Sale

   Transaction, provided that (a) the Venezuela Parties shall not disclose any nonpublic terms

   regarding the Bids of any Potential Bidder that the Venezuela Parties have learned as a

   Consultation Party or by any other means, (b) the Venezuela Parties shall provide the Special

   Master and his Advisors with advance notice prior to engaging in any form of communication

   with Potential Bidders, and (c) any information provided to the Potential Bidders by the

   Venezuela Parties shall be made available to the Special Master and all other Potential Bidders.

   If the Venezuela Parties communicate with any Potential Bidders, the Special Master may (in his

   sole discretion) disclose the identity of such Potential Bidders to the Sale Process Parties.

   If, during the course of implementing this Order, the Special Master believes that any of the

   Venezuela Parties is communicating with Potential Bidders in a manner that will impair or

   inhibit the ability of the Special Master to obtain value-maximizing Bids, the Special Master

   may inform the Court and the Court will consider appropriate amendments to this Order. For the

   avoidance of doubt, this paragraph 40 does not prevent or prohibit contact or communications in


                                                     32
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 121 of 176 PageID #: 12618




   the ordinary course of business consistent with past practice on matters unrelated to this Order,

   the Sale Procedures, any bid or potential bid, or any Sale Transaction.

                      41.        The Sale Process Parties may propose a list of Potential Bidders for the

   Special Master to solicit Bids from in connection with the Marketing Process and the Special

   Master shall consider in good faith inclusion of such Potential Bidders. If the Special Master

   elects to exclude or declines to solicit a Bid from a Potential Bidder identified by a Sale Process

   Party, the Special Master shall notify the applicable Sale Process Party of such decision as soon

   as reasonably practicable thereafter and, if appropriate, explain his rationale for the decision. If

   the applicable Sale Process Party reasonably believes that the Special Master inappropriately or

   unfairly excluded or declined to solicit a Bid from a Potential Bidder identified by such Sale

   Process Party, then such Sale Process Party shall file a letter that shall not exceed three pages

   with the Court and serve such letter on the Special Master and the other Sale Process Parties.

   The Special Master shall have two business days following service to respond by letter not to

   exceed three pages.            After considering the parties’ submissions, the Court will issue an

   appropriate order.

                      42.        Communications among Sale Process Parties. Subject in all cases to

   the Special Master Confidentiality Order (D.I. 291) (the “Protective Order”), nothing in this

   Order prohibits the Sale Process Parties from communicating with each other; provided that such

   communications do not involve or relate to colluding in connection with a Bid that has been

   submitted or may be submitted by the applicable Sale Process Party or a Bid by any Potential

   Bidder. For the avoidance of doubt, this provision is not intended to limit in any way the ability

   of some or all of the Sale Process Parties to discuss settlement or satisfaction of any Attached

   Judgment or to discuss the terms, content, or grounds of any potential objection to be filed with


                                                         33
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 122 of 176 PageID #: 12619




   the Court. The Special Master shall consult with the Sale Process Parties periodically and as

   appropriate in implementing the Sale Procedures.

                      43.        Sharing of Information with Potential Bidders. Upon giving notice to

   the applicable Sale Process Party, the Special Master shall be permitted, in his sole discretion, to

   share any and all information obtained related to the Sale Process Parties, regardless of whether

   marked or designated “confidential” or “highly confidential” pursuant to the Protective Order,

   with any bidder or potential bidder that has entered into a confidentiality arrangement in the

   form attached hereto as Exhibit 4 (the “Confidentiality Agreement”); provided that the Special

   Master shall be authorized to make reasonable changes to the extent requested by a Potential

   Bidder. The Special Master shall file each executed Confidentiality Agreement under seal with

   the Court and shall provide notice of execution of such Confidentiality Agreement to the Sale

   Process Parties. The Special Master shall exercise reasonable care in providing confidential

   information to bidders and Potential Bidders and, if applicable, shall use reasonable efforts to

   consult any Sale Process Party that marks or designates any information as “confidential” or

   “highly confidential” prior to its disclosure to any Potential Bidder. The Special Master shall

   use reasonable efforts to consult PDVH and CITGO in connection with sharing competitively

   sensitive information and, if determined to be appropriate by the Special Master, to establish

   firewall protections or “clean team” protocols with respect to any Potential Bidder that is a

   competitor, customer or supplier or under such other circumstances as the Special Master

   determines to be appropriate. Notwithstanding the foregoing, solely with respect to information

   designated as “highly confidential” by ConocoPhillips, unless the Court orders otherwise, the

   Special Master shall seek the reasonable consent of ConocoPhillips, which consent shall not be

   unreasonably withheld, prior to disclosing any such information to any Potential Bidder.


                                                       34
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 123 of 176 PageID #: 12620




   Notwithstanding the foregoing, unless otherwise ordered by the Court, the Special Master shall

   not disclose to any Potential Bidders the limited set of documents that the Special Master and the

   Venezuela Parties have agreed in writing (email shall suffice) shall not be disclosable pursuant

   to this Pparagraph 4243.

                      44.        Sharing of Information with the United States. The Special Master

   shall be authorized to share with the United States information obtained related to the Sale

   Process Parties and any bidder or potential bidder that the Special Master determines, in his sole

   discretion, is reasonably necessary or desirable in connection with the issuance of any regulatory

   approval or is reasonably necessary or desirable in connection with implementation of the Sale

   Procedures and any Sale Transaction, including any guidance or license from OFAC, provided

   that the Special Master shall request confidential treatment of information shared with the United

   States that has been designated as confidential or highly confidential by a Sale Process Party.

                      45.        Engagement of Advisors. The Special Master has retained, as approved

   by the May Order and as affirmed by this Order, the Advisors.                The Special Master’s

   engagement of Evercore, pursuant to the Proposed Evercore Engagement Letter, is hereby

   approved and the terms of the Engagement Letter in all respects shall be binding on the Special

   Master, including with respect to payment of the Upfront Amount of the Sale Fee by the Sale

   Process Parties. Any amounts owed to Evercore under the Proposed Evercore Engagement

   Letter shall be payable to Evercore pursuant to the terms of the May Order, including the Sale

   Fee and the Upfront Amount of the Sale Fee; provided that in no circumstance absent further

   order of the Court, shall any Sale Fee (other than the Upfront Amount) be payable directly by the

   Sale Process Parties and any such amount shall, in each circumstance, be payable out of any




                                                       35
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 124 of 176 PageID #: 12621




   proceeds or other cash consideration provided in connection with a Sale Transaction after the

   Sale Process Parties have been reimbursed pursuant to the terms of the May Order.

                      46.        Judicial Immunity & Exculpation. The Special Master is entitled to

   judicial immunity in performing his duties pursuant to this Order, including all actions taken to

   implement the Sale Procedures, and all other orders of the Court. The Special Master’s Advisors

   are entitled to judicial immunity in connection with all actions taken at the direction of, on behalf

   of, or otherwise in connection with representation of or advising the Special Master. No person

   or entity shall be permitted to pursue any cause of action or commence or prosecute any suit or

   proceeding against the Special Master or the Advisors, or their respective employees, officers,

   directors, attorneys, auditors, representatives, agents, successors or assigns, for any reason

   whatsoever relating to the Crystallex Case, implementation of the Sale Procedures, or in

   connection with any Sale Transaction, or the performance of the Special Master’s and his

   Advisors’ duties pursuant to this Order or any other orders of the Court, or any act or omission

   by the Special Master or any Advisor in connection with the foregoing. All interested persons

   and entities, including but not limited to the Sale Process Parties, any purchaser or prospective

   purchaser of the PDVH Shares, and all persons acting in concert with them, are hereby enjoined

   and restrained from pursuing any such cause of action or commencing any such action or

   proceeding. If any person or entity attempts to pursue any such cause of action or commence any

   suit or proceeding against the Special Master or any of the Advisors with knowledge of this

   Order (or continues to pursue or prosecute any cause of action, suit or proceeding after having

   received notice of this Order), the Court shall issue an order to show cause to such person or

   entity and a hearing will be scheduled to consider appropriate relief, which may include payment

   of fees and expenses incurred by the Special Master or any of the Advisors in connection


                                                       36
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 125 of 176 PageID #: 12622




   therewith. To the maximum extent permitted by applicable law, neither the Special Master nor

   his Advisors nor their respective employees, officers, directors, attorneys, auditors,

   representatives, agents, successors and assigns will have or incur, and are hereby released and

   exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, cause of

   action, remedy, loss, and liability for any claim in connection with or arising out of all actions

   taken to implement the Marketing Process, Sale Procedures, Bidding Procedures, or Sale

   Transaction, or the performance of the Special Master’s and his Advisors’ duties pursuant to this

   Order and all other orders of the Court.

                      47.        Payment of Transaction Expenses.    The Special Master shall be

   compensated and reimbursed for all expenses (including fees and expenses of his Advisors) on a

   monthly basis by the Sale Process Parties pursuant to the procedures set forth in the May Order

   (collectively, such compensation and expenses, the “Transaction Expenses”), which

   Transaction Expenses shall be shared by the Sale Process Parties and any Additional Judgment

   Creditors, pursuant to this Order; provided that the Special Master shall have the discretion to

   seek from the Court authorization to reallocate payment of any Transaction Expenses if the

   circumstances require (e.g., if any single Sale Process Party generates an inordinate number of

   disputes or if a Sale Process Party’s position in a dispute is found to be unreasonable); provided,

   further, that any Additional Judgment Creditor shall be obligated to reimburse its share of the

   Transaction Expenses pursuant to the May Order (as if such Additional Judgment Creditor were

   a Sale Process Party) and this Order (for purposes of determining such Additional Judgment

   Creditor’s share of the reimbursement obligation) . The Special Master shall comply with the

   procedures established pursuant to the Court’s Memorandum Order (D.I. 338) and any

   subsequent order of the Court regarding the provision of a budget to the Sale Process Parties.


                                                     37
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 126 of 176 PageID #: 12623




                      48.        Location of PDVH Shares. By no later than 30 calendar days after entry

   of this Order, the Venezuela Parties, including PDVSA, shall inform the Special Master as to the

   specific and precise physical location of the PDVH Shares held by PDVSA or any other facts

   relevant for determining the physical location of the PDVH Shares held by PDVSA and the

   custodian of the shares. If the applicable Venezuela Party is unaware of the location of the

   PDVH Shares, such party shall inform the Special Master as such in writing. If at any point

   thereafter the applicable Venezuela Party becomes aware of any change in circumstance

   regarding the location of the PDVH Shares, then such party shall update the Special Master in

   writing.

                      49.        If the location of the PDVH Shares cannot be located with reasonable

   precision or if the Special Master reasonably determines that the custodian of the PDVH Shares

   is unlikely to cooperate in connection with an order compelling the person or entity to transfer

   the PDVH Shares in connection with any Sale Transaction, the Special Master shall file a

   recommendation with the Court in advance of the Sale Hearing regarding the appropriate steps

   to be taken to ensure that the Successful Bidder is able to actually purchase the applicable PDVH

   Shares in connection with the applicable Sale Transaction.                   The Special Master’s

   recommendation may include, if appropriate, an order compelling PDVH to issue new

   certificates or uncertificated shares to the applicable Successful Bidder and cancel the

   registration of the shares attached to the books of PDVH.

                      50.        Delaware Code, Title 10, Section 5072. For the avoidance of doubt, the

   5-year period for execution upon a judgment in a civil action set forth in 10 Del C. § 5072 is

   satisfied or otherwise tolled with respect to the PDVH Shares.




                                                        38
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 127 of 176 PageID #: 12624




                      51.        Other Provisions. All provisions of the May Order shall remain in full

   force and effect, except for any that directly and irreconcilably conflict with an express provision

   of this Order; provided that nothing in the May Order shall in any way be used to limit the scope

   of the terms and provisions of this Order.

                      52.        The Special Master is authorized to make non-substantive changes to the

   Bidding Procedures, the Sale Notice, and any related documents without further order of the

   Court, including, without limitation, changes to correct typographical and grammatical errors.

                      53.        The terms and conditions of this Order shall be immediately effective and

   enforceable upon its entry.

                      54.        In addition to and without limiting any of the provisions set forth herein,

   the Special Master is authorized to take all reasonable steps necessary or appropriate to carry out

   this Order.

                      55.        This Court shall retain jurisdiction to hear and determine all matters

   arising from or related to the implementation, interpretation, or enforcement of this Order.



   Dated:      ___________________, 2022
               Wilmington, Delaware


                                                       HONORABLE LEONARD P. STARK
                                                       UNITED STATES DISTRICT JUDGE




                                                          39
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 128 of 176 PageID #: 12625




                                     Exhibit 1

                                 Bidding Procedures




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 129 of 176 PageID #: 12626




                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

   --------------------------------------------------------------------------------------------------------------------
   -
   CRYSTALLEX INTERNATIONAL                                    :
   CORPORATION,                                                :
                                                               :
                     Plaintiff,                                :
                                                               :
            v.                                                 :        Misc. No. 17-151-LPS
                                                               :
   BOLIVARIAN REPUBLIC                                         :
   OF VENEZUELA,                                               :
                                                               :
                     Defendant.                                :
   --------------------------------------------------------------------------------------------------------------------
   -

                                            BIDDING PROCEDURES

                                                       Overview

   On January 14, 2021, the United States District Court for the District of Delaware (the “Court”)
   issued an opinion and corresponding order setting forth certain contours for the sale of the shares
   of PDV Holding, Inc. (“PDVH”) owned by Petróleos de Venezuela, S.A. (“PDVSA”) in
   connection with the above-captioned proceeding (the “Crystallex Case”). In furtherance
   thereof, the Court appointed Robert B. Pincus as special master (the “Special Master”) on
   April 13, 2021 to assist the Court with the sale of PDVSA’s shares of PDVH.

   On [___], 2022, the Court entered an order (Docket No. __) (the “Sale Procedures Order”),
   which, among other things, authorized the Special Master to solicit bids for the sale of the shares
   of PDVH and related transactions (collectively, a “Sale Transaction”) and approved these
   procedures and accompanying notices (the “Bidding Procedures”) for the consideration of the
   highest bid that the Special Master believes to be capable of being timely consummated after
   taking into account the factors set forth below in connection therewith.1

   These Bidding Procedures describe, among other things: (i) the procedures for bidders to submit
   bids for shares of PDVH; (ii) the manner in which bidders and bids become Qualified Bidders
   and Qualified Bids, respectively; (iii) the process for negotiating the bids received; (iv) the
   conduct of any Auction if the Special Master receives Qualified Bids; (v) the procedure for the


   1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Sale
   Procedures Order.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 130 of 176 PageID #: 12627




   ultimate selection of any Successful Bidder; and (vi) the process for approval of a Sale
   Transaction at the Sale Hearing (each, as defined herein).

   The Special Master may, subject to the exercise of his reasonable judgment, in a manner
   consistent with his duties to the Court, and in good faith consultation with the Sale Process
   Parties (as defined below), modify, delay implementation of, or terminate these Bidding
   Procedures, waive terms and conditions set forth herein, extend any of the deadlines or
   other dates set forth herein or adjourn any Auction and/or Sale Hearing, in each case, at
   any time and without specifying the reasons therefor, to the extent not materially
   inconsistent with these Bidding Procedures and/or the Sale Procedures Order. The Special
   Master may also, in his sole discretion, terminate discussions with any or all prospective
   bidders at any time and without specifying the reasons therefor.

                                          Summary of Important Dates

                                 Key Event                                                     Deadline

  Special Master to Launch Marketing Process and
  Establish Data Room in accordance with terms of the Sale                                Launch (“L”)
  Procedures Order.2

  Deadline to Submit Non-Binding Indications of Interest                                   L+ 45 days

  Deadline to Submit Stalking Horse Bids                                                   L+ 90 days

  Deadline for Special Master to Designate Stalking Horse
  Bidder and Enter into Stalking Horse Agreement                                          L + 150 days

  Deadline for Special Master to File Notice of Stalking                     As soon as reasonably practicable
  Horse Bidder                                                              following designation by the Special
                                                                                          Master
  Deadline to Submit Bids                                                                 L + 210 days

  Deadline for Special Master to Notify Bidders of Status as
  Qualified Bidders                                                                       L + 217 days

  Auction to be conducted at the offices of Potter Anderson
  & Corroon LLP (1313 N. Market Street, 6th Floor,
  Wilmington, DE 19801-6108) or such other location as is                                 L + 230 days
  mutually agreeable to the Special Master and each of the
  Sale Process Parties




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     Prior to launch of the marketing process, a notice will be filed on the docket of the Crystallex Case setting forth
   the specific date of each deadline.
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 131 of 176 PageID #: 12628




                                                                        As soon as reasonably practicable
  Deadline to File Notice of Successful Bid                            following conclusion of the Auction
                                                                         or, if no Auction, selection of the
                                                                                   Successful Bid
  Deadline to File Objections to Sale Transaction                                  L + 250 days

  Deadline for Parties to Reply to Objections to Sale
  Transaction                                                                      L + 263 days

  Sale Hearing                                                                     L + 270 days

                                       Assets To Be Sold: Shares of PDVH

   Interested parties may submit bids for the purchase and sale of some or all of the shares of
   PDVH in accordance with the terms and conditions set forth herein. To avoid any ambiguity,
   parties may submit bids for less than 100% of the shares of PDVH so long as such bid satisfies
   the Attached Judgments.

   PDVH is the sole shareholder and direct parent of CITGO Holding, Inc. (“CITGO Holding”),
   which in turn is the sole shareholder and direct parent of CITGO Petroleum Corporation
   (“CITGO Petroleum,” and together with CITGO Holding, “CITGO”).

                                                   Due Diligence

   The Special Master will post copies of certain documents available to the Special Master related
   to the shares of PDVH and CITGO to the confidential electronic data room (the “Data Room”)
   managed by the Special Master. To access the Data Room, an interested party must submit to
   the Special Master’s Advisors:

                     i.          an executed confidentiality agreement substantially in the form attached to
                                 the Sale Procedures Order; and

                    ii.          sufficient information, as reasonably determined by the Special Master, to
                                 allow the Special Master to determine that the interested party intends to
                                 access the Data Room for a purpose consistent with these Bidding
                                 Procedures.

   An interested party that meets the aforementioned requirements to the reasonable satisfaction of
   the Special Master shall be a “Potential Bidder.” As soon as reasonably practicable, the Special
   Master will provide such Potential Bidder access to the Data Room; provided that, such Data
   Room access and access to any other due diligence materials and information may be terminated
   by the Special Master in his sole discretion at any time for any reason whatsoever, including that
   a Potential Bidder does not become a Qualified Bidder, these Bidding Procedures are terminated,
   the Potential Bidder breaches any obligations under its confidentiality agreement, the Special
   Master becomes aware that information submitted by the Potential Bidder is inaccurate or
   misleading or the Potential Bidder is unable to provide sufficient information to demonstrate that
   it has the financial wherewithal to consummate a Sale Transaction. The Special Master may
                                                     3
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 132 of 176 PageID #: 12629




   restrict or limit access of any Potential Bidder to the Data Room if the Special Master
   determines, based on his reasonable judgment, that certain information in the Data Room is
   sensitive, proprietary or otherwise not appropriate for disclosure to such Potential Bidder.

   Each Potential Bidder shall comply with all reasonable requests for information and due
   diligence access by the Special Master and his Advisors regarding the ability of such Potential
   Bidder to consummate a Sale Transaction.

   The Special Master may provide any Potential Bidder with any additional information requested
   by Potential Bidders (subject to any restrictions pursuant to applicable law, rule or regulation)
   that the Special Master believes to be reasonable and appropriate under the circumstances. All
   additional due diligence requests shall be directed to the Special Master’s financial advisor,
   Evercore Group L.L.C. (“Evercore”) (Attn: Ray Strong (ray.strong@evercore.com); William
   Hiltz (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David Ying
   (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)).

   Neither the Special Master nor any of his representatives shall be obligated to furnish any
   information of any kind whatsoever relating to PDVH or any of its subsidiaries to any person or
   entity who (i) is not a Potential Bidder, (ii) does not comply with the participation requirements
   set forth herein, or (iii) in the case of competitively sensitive information, is a competitor of
   PDVH or any of its direct or indirect subsidiaries.

   Each of the Sale Process Parties may recommend to the Special Master documents or additional
   information to be included in the Data Room.

                                 Non-Binding Indications of Interest

   Parties who are interested in purchasing shares of PDVH are strongly encouraged to submit to
   the Special Master by [Launch + 45 days] at 4:00 p.m. (ET) a written non-binding indication
   of interest that identifies the percentage of PDVH shares they are seeking to purchase (each a
   “Non-Binding Indication of Interest”). Non-Binding Indications of Interest should be sent to
   the Special Master’s investment banker, Evercore (Attn: Ray Strong (ray.strong@evercore.com);
   William Hiltz (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David
   Ying (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)).



   Submitting a Non-Binding Indication of Interest by the deadline listed herein does not obligate
   the interested party or the Special Master to consummate a transaction and does not obligate the
   interested party to submit a formal bid or otherwise further participate in the bidding process. It
   also does not exempt an interested party from having to submit a Qualified Bid by the applicable
   Bid Deadline or to comply with these Bidding Procedures to participate in any subsequent
   Auction for the shares in which such party is indicating an interest, all as described below. For
   the avoidance of doubt, a party that does not submit a Non-Binding Indication of Interest is not
   precluded from submitting a Qualified Bid by the Bid Deadline.



                                                    4
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 133 of 176 PageID #: 12630




   The Special Master requests (and strongly encourages) Potential Bidders to, at a minimum,
   include the following items in their Non-Binding Indication of Interest:

                     i.          the percentage of shares of PDVH to be included in the interested party’s
                                 bid;

                    ii.          the cash purchase price in U.S. dollars that the interested party would be
                                 prepared to pay, the amount and a detailed description of any non-cash
                                 components of the purchase price and a brief description of the
                                 methodology used by the interested party to select its proposed value;

                   iii.          any minority shareholder rights, protections, or other desired terms in
                                 connection with any bid for less than 100% of the PDVH Shares;

                   iv.           expected sources and uses for payment of the purchase price, including
                                 either confirmation that no financing would be required to consummate a
                                 Sale Transaction, or alternatively, the type and amount of any financing
                                 that would be so required and confirmation that such financing would not
                                 be a condition to consummation of a Sale Transaction;

                    v.           identification of the acquiring entity that would be party to a Sale
                                 Transaction and details regarding the ownership of such entity;

                   vi.           a description of any and all shareholder, regulatory or other third-party
                                 approvals, consents and notifications and other conditions that the
                                 interested party views as being necessary to consummate the Sale
                                 Transaction and the interested party’s expected timeline for satisfying
                                 such conditions or approvals;

                  vii.           the interested party’s consent for the Special Master, in his discretion, to
                                 share information with U.S. Government regulators, including the
                                 Department of the Treasury’s Office of Foreign Assets Control
                                 (“OFAC”), pertaining to such interested party or the Non-Binding
                                 Indication of Interest;

                 viii.           any material assumptions underlying the Non-Binding Indication of
                                 Interest regarding the interested party’s determination of a purchase price
                                 or the assets to be purchased, including the interested party’s proposed
                                 treatment of the outstanding indebtedness of PDVH and its subsidiaries
                                 and the purported pledge of shares of CITGO Holding (the “CITGO
                                 Holding Pledge”) for the benefit of holders of that certain series of bonds
                                 issued by PDVSA due in 2020 (the “PDVSA 2020 Bondholders”);

                   ix.           sufficient information to demonstrate that the interested party has the
                                 financial wherewithal to timely consummate a Sale Transaction;

                    x.           a specific and comprehensive list of all due diligence information and
                                 meetings with management (including site visits) and others which the
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   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 134 of 176 PageID #: 12631




                                 interested party would require in order to be able to submit a definitive,
                                 binding offer without due diligence conditions and the interested party’s
                                 specific plans and timeline for completion of such due diligence;

                   xi.           any internal or other approvals that would be required by the interested
                                 party in order to execute definitive documentation in respect of a Sale
                                 Transaction and the interested party’s expected timeline for obtaining such
                                 approvals, and an indication as to any board, committee or other internal
                                 approvals or support the interested party has obtained in connection with
                                 submission of the Non-Binding Indication of Interest; and

                  xii.           any other factors that are relevant to the Non-Binding Indication of
                                 Interest.


                                                         Bid Deadline


   A Potential Bidder that desires to submit a bid for shares of PDVH shall deliver electronic copies
   of its bid so as to be received by the Special Master no later than [Launch Date + 210 days] at
   4:00 p.m. (ET) (the “Bid Deadline”); provided that, the Special Master may, in consultation
   with the Sale Process Parties, upon consideration of relevant factors, including any Non-Binding
   Indications of Interest received by the Special Master, accelerate or extend the Bid Deadline
   without further order of the Court subject to providing notice to all Potential Bidders and any
   Stalking Horse Bidder. The submission of a bid by the Bid Deadline shall constitute a
   binding and irrevocable offer to acquire the assets specified in such bid. The Special Master
   will have the right in his sole discretion to prohibit any party that does not submit a bid by the
   Bid Deadline from (i) submitting any offer after the Bid Deadline or (ii) participating in any
   Auction.

   Bids should be submitted by email to the following representatives of the Special Master:

             Weil, Gotshal & Manges LLP                                        Evercore
                 Ray C. Schrock, P.C.                                         Ray Strong
               (Ray.Schrock@weil.com)                                (ray.strong@evercore.com)
                   Michael J. Aiello                                         William Hiltz
              (Michael.Aiello@weil.com)                                 (hiltz@evercore.com)
                 Alexander W. Welch                                           David Ying
             (Alexander.Welch@weil.com)                                 (ying@evercore.com)
                   Renee M. Pristas                                       Stephen Goldstein
               (Renee.Pristas@weil.com)                          (stephen.goldstein@evercore.com)
                    Chase Bentley                                           Patrick O’Shea
              (Chase.Bentley@weil.com)                             (patrick.oshea@evercore.com)
                   Kenneth Hershey
             (Kenneth.Hershey@weil.com)



                                                          6
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 135 of 176 PageID #: 12632




                                 Designation of Stalking Horse Bidder

   Designation of Stalking Horse Bidder. A Potential Bidder that desires to make a stalking horse
   bid (each a “Stalking Horse Bidder,” and its bid, a “Stalking Horse Bid”) shall deliver
   electronic copies of its Stalking Horse Bid so as to be received by the Special Master no later
   than [Launch + 90 days] at 4:00 p.m. (ET) (the “Stalking Horse Bid Deadline”); provided
   that, the Special Master may, in consultation with the Sale Process Parties, extend the Stalking
   Horse Bid Deadline without further order of the Court subject to providing notice to all Potential
   Bidders. A Stalking Horse Bid shall include and be consistent with the form and content of a
   Bid explained in the following section and may provide for the provision of Stalking Horse Bid
   Protections (as defined below).

   Following the Stalking Horse Bid Deadline, the Special Master may, in consultation with the
   Sale Process Parties, designate a Stalking Horse Bidder and, following approval from the Court,
   enter into an agreement (a “Stalking Horse Agreement”) with such Stalking Horse Bidder. To
   the extent the Special Master designates any Stalking Horse Bidder, the Special Master shall
   promptly and as soon as reasonably practicable file with the Court a notice (the “Notice of
   Stalking Horse Bidder”) that identifies the Stalking Horse Bidder, discloses any Stalking Horse
   Bid Protections, specifies the equity value implied by the total enterprise value of the Stalking
   Horse Bid as reasonably determined by the Special Master (the “Implied Value” and the
   Implied Value of the Stalking Horse Bid, the “Stalking Horse Bid Implied Value”), and
   attaches the Stalking Horse Agreement.

   Good Faith Deposit. Upon entry into the Stalking Horse Agreement by the Special Master, the
   Stalking Horse Bidder shall make a cash deposit that is refundable under the circumstances
   described in these Bidding Procedures in the amount that is the lesser of (i) ten percent (10%) of
   the value of the total consideration of the Stalking Horse Bid or (ii) $50,000,000, unless
   otherwise agreed to by the Special Master, in consultation with the Sale Process Parties and the
   Stalking Horse Bidder; provided, that the Special Master may petition the court to reduce the
   foregoing deposit requirement after consultation with the Sale Process Parties.

   Stalking Horse Bid Protections. In connection with any Stalking Horse Agreement, the Special
   Master may, subject to Court approval, agree to: (i) establish initial overbid minimum and
   subsequent bidding increment requirements not to exceed 5.0% of the Stalking Horse Bid
   Implied Value, subject to adjustment for any Bids for a lesser percentage of the PDVH Shares
   than the Stalking Horse Bid; (ii) a break-up fee in an amount agreed to by the Special Master in
   consultation with the Sale Process Parties (as defined herein) but not to exceed 3.0% of the
   Stalking Horse Bid Implied Value (a “Termination Payment”) payable either (a) in the event
   that an overbid is consummated, out of the proceeds from the consummation of such overbid or
   (b) by PDVH, CITGO Holding, and CITGO Petroleum in circumstances where any of PDVH,
   CITGO Holding, and/or CITGO Petroleum is materially responsible for the events that give rise
   to termination of the Stalking Horse Agreement; (iii) provide that if the Stalking Horse Bidder
   bids on shares of PDVH at the Auction, the Stalking Horse Bidder will be entitled to a credit up
   to the amount of any Termination Payment against the increased purchase price for its
   subsequent Bid; (iv) provide for the reimbursement of reasonable and documented fees and
   expenses actually incurred by the Stalking Horse Bidder by PDVH, CITGO Holding and CITGO
   Petroleum solely under certain circumstances in which the transactions contemplated by the
                                                   7
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 136 of 176 PageID #: 12633




   Stalking Horse Agreement are not consummated (“Expense Reimbursement”); (v) provide that
   any sale order shall seek to transfer the PDVH Shares free and clear of any claims upon them;
   and (vi) provide other reasonable, appropriate or customary protections to a Stalking Horse
   Bidder (the bid protections described in this paragraph collectively are referred to as the
   “Stalking Horse Bid Protections”). The amount and a description of any Stalking Horse Bid
   Protections shall be included in the Notice of Stalking Horse Bidder.

   Following approval from the Court, the Stalking Horse Bid Protections shall be binding upon the
   Special Master’s entry into the Stalking Horse Agreement.

   Designation of Back-Up Bid. In the event that the Special Master does not receive any Qualified
   Bids by the Bid Deadline (other than the Stalking Horse Bid), the Stalking Horse Bidder shall be
   deemed the Successful Bidder with respect to the assets specified in such bidder’s Stalking
   Horse Bid or the Stalking Horse Agreement, as applicable. If, however, the Special Master
   identifies a Bid other than the Stalking Horse Bid as the Successful Bid, then the Stalking Horse
   Bid may be designated by the Special Master as a back-up bid (the “Back-Up Bid” and such
   bidder, the “Back-Up Bidder”). Except as otherwise agreed in a Stalking Horse Agreement, the
   Back-Up Bid shall remain open and irrevocable until the earliest to occur of: (i) consummation
   of a Sale Transaction with the Successful Bidder; (ii) the release of such Back-Up Bid by the
   Special Master in writing; and (iii) 180 days from the announcement of the Back-Up Bid (unless
   otherwise agreed to by the Special Master, in consultation with the Sale Process Parties) (such
   date, the “Back-Up Bid Expiration Date”).

   If a Sale Transaction with a Successful Bidder is terminated prior to the Back-Up Bid Expiration
   Date, the Back-Up Bidder shall be deemed a Successful Bidder and shall be obligated to
   consummate the transactions contemplated by the Back-Up Bid as if it were a Successful Bid;
   provided that the Special Master is not required to accept any bid or designate a Successful Bid
   or Back-Up Bid.

                                             Form and Content of Bid

           A bid is a signed document from a Potential Bidder received by the Special Master by the
   applicable Bid Deadline that identifies the proposed purchaser by its legal name and any other
   party that will be participating in connection with the bid (a “Bid”). To be considered for
   selection as a Stalking Horse Bid and/or to constitute a “Qualified Bid,” a Bid must include, at a
   minimum, the following:3

                      i.         Proposed Agreement. Each Bid must include an agreement executed by
                                 the Potential Bidder (the “Proposed Agreement”) that provides for the
                                 acquisition of all or some of the shares of PDVH, together with a redline
                                 comparing the Proposed Agreement to the form of agreement distributed
                                 by the Special Master to Potential Bidders.



   3
     The Special Master, in consultation with the Sale Process Parties, may waive any of the following requirements
   with respect to any Bid.
                                                          8
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 137 of 176 PageID #: 12634




                      ii.        Purchase Price; Percentage of Shares of PDVH Purchased; Cash
                                 Requirements; Assumed Liabilities; Credit Bid; Assumptions or Related
                                 Transactions. Each Bid must clearly set forth:

                                   (a)         Purchase Price. Each Bid must clearly identify the total
                                               purchase price to be paid by the Potential Bidder
                                               (the “Purchase Price”), including the amount to be paid
                                               in cash in U.S. dollars and any non-cash components,
                                               including, without limitation, a Credit Bid, stock and/or
                                               the assumption of liabilities.

                                   (b)         Percentage of Shares of PDVH Purchased. Each Bid
                                               must, in the Proposed Agreement, clearly identify the
                                               percentage of shares of PDVH and any other assets that
                                               the Potential Bidder seeks to acquire or exclude.

                                   (c)         Shareholder or Minority Shareholder Rights. If the Bid is
                                               for less than 100% of the PDVH Shares, the Bid should
                                               clearly specify any required shareholder or minority
                                               shareholder rights or protections contemplated by the Bid.

                                   (d)         Cash Requirements. Each Bid must provide sufficient
                                               cash consideration to pay in full (i) any applicable
                                               Termination Payment and (ii) all Transaction Expenses (as
                                               defined in the Sale Procedures Order).

                                   (e)         Assumed Liabilities. Each Bid must clearly identify any
                                               additional liabilities the Potential Bidder seeks to assume.

                                   (f)         Credit Bid. Persons or entities holding an Attached
                                               Judgment may seek to submit a credit bid (a “Credit
                                               Bid”) on the PDVH shares, to the extent permitted by
                                               applicable law. For the avoidance of doubt, a Credit Bid
                                               must (i) comply with the “Cash Requirements” set forth in
                                               section (ii)(d) of these Bidding Procedures and (ii) provide
                                               sufficient cash to satisfy any obligations secured by a
                                               senior lien on the PDVH Shares. Notwithstanding the
                                               foregoing, the Special Master may waive the “Cash
                                               Requirements” with respect to a Credit Bid if the
                                               applicable Credit Bid provides for payment of the
                                               applicable obligation in full in cash in a manner
                                               acceptable to the Special Master or, to the extent
                                               applicable, if such senior creditor consents. Any Potential
                                               Bidder submitting a Credit Bid must certify under oath the
                                               amount of its claim as of the date of the Credit Bid and
                                               again prior to consummation of any Sale Transaction if the


                                                        9
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 138 of 176 PageID #: 12635




                                                 Credit Bid is deemed the Successful Bid, in each case, in
                                                 accordance with the terms of the Sale Procedures Order.

                                   (g)           Assumptions or Related Transactions. Each Bid must
                                                 clearly (i) identify any underlying material assumptions
                                                 regarding the business of PDVH and CITGO or the
                                                 Potential Bidder’s determination of a Purchase Price or the
                                                 assets to be purchased, including the Potential Bidder’s
                                                 proposed treatment of the outstanding indebtedness of
                                                 PDVH and its subsidiaries and the CITGO Holding Pledge
                                                 and (ii) disclose any related transactions to be pursued or
                                                 effectuated by the Potential Bidder in connection with the
                                                 transactions contemplated by the Bid and the Proposed
                                                 Agreement.

                      iii.       Unconditional Offer. A statement that the Bid is formal, binding, and
                                 unconditional, is not subject to any further due diligence or financing
                                 contingency, and is irrevocable until the Special Master notifies the
                                 Potential Bidder that such Bid is not a Successful Bid or a Back-Up Bid
                                 and files the Notice of Successful Bid in the Crystallex Case.

                      iv.        Proof of Financial Ability to Perform. Each Bid must contain a
                                 description of sources and uses for payment of the Purchase Price and
                                 such financial and other information that allows the Special Master, in
                                 consultation with the Sale Process Parties, to make a reasonable
                                 determination as to the Potential Bidder’s financial and other capabilities
                                 to timely consummate a Sale Transaction. Without limiting the foregoing,
                                 such information must include current financial statements or similar
                                 financial information certified to be true and correct as of the date thereof,
                                 proof of financing commitments if needed to consummate the Sale
                                 Transaction (not subject to, in the Special Master’s sole discretion, any
                                 unreasonable conditions), contact information for verification of such
                                 information, including for any financing sources, and any other
                                 information reasonably requested by the Special Master to demonstrate
                                 that such Potential Bidder has the ability to consummate a Sale
                                 Transaction in a timely manner.

                      v.         Required Approvals. A statement or evidence (i) that the Potential Bidder
                                 has made or will make in a timely manner (a) all filings and disclosures
                                 necessary to comply with the regulations of OFAC (or that the Potential
                                 Bidder has already received any necessary authorization), (b) all necessary
                                 filings under the Hart-Scott-Rodino Antitrust Improvements Act of 1976,
                                 as amended, and any other antitrust laws, as applicable, and pay the fees
                                 associated with such filings and (c) all necessary filings in connection
                                 with any applicable review by the Committee on Foreign Investment in
                                 the United States (CFIUS); (ii) of the Potential Bidder’s plan and ability to
                                 obtain or make all requisite shareholder, governmental, regulatory, or
                                                           10
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 139 of 176 PageID #: 12636




                                 other third-party approvals, consents and notifications (including a list of
                                 all contemplated third-party approvals, consents and notifications) and the
                                 proposed timing for the Potential Bidder to undertake the actions required
                                 to obtain or make such approvals, consents and notifications; (iii) that the
                                 Bid is reasonably likely, after taking into consideration antitrust and any
                                 other regulatory matters, the Potential Bidder’s prior experience, and any
                                 other relevant considerations, to be consummated, if selected as the
                                 Successful Bid, within a time frame acceptable to the Special Master; and
                                 (iv) of the Potential Bidder’s consent for the Special Master, in his
                                 discretion, to share with U.S. Government regulators, including OFAC,
                                 information pertaining to the Potential Bidder or the Bid. A Potential
                                 Bidder further agrees that its legal counsel will coordinate in good faith
                                 with the Special Master’s legal counsel to discuss and explain such
                                 Potential Bidder’s regulatory and other consent analysis, strategy, and
                                 timeline for securing all such approvals and consents as soon as
                                 reasonably practicable.

                      vi.        Disclosure of Identity and Authorization. Each Bid must (i) fully disclose
                                 the identity of the Potential Bidder and each entity that will be bidding or
                                 otherwise participating in such bid, including the acquiring entity that
                                 would be party to the Sale Transaction and details regarding the
                                 ownership of such entity, and the complete terms of any such
                                 participation, and (ii) include evidence of corporate or other
                                 organizational authorization and approval from the Potential Bidder’s
                                 board of directors (or comparable governing body) with respect to the
                                 submission, execution, and delivery of a Bid (including execution of the
                                 Potential Bidder’s Proposed Agreement), participation in any Auction, and
                                 closing of the transactions contemplated by the Potential Bidder’s
                                 Proposed Agreement in accordance with the terms of such agreement and
                                 these Bidding Procedures.

                      vii.       No Entitlement to Expense Reimbursement or Other Amounts. With the
                                 exception of any Stalking Horse Bid, each Bid must expressly state that
                                 the Bid does not entitle the Potential Bidder to any break-up fee,
                                 termination fee, expense reimbursement, or similar type of payment or
                                 reimbursement.

                      viii.      Special Master’s Judicial Immunity. Each Bid must expressly state that
                                 (i) the Potential Bidder agrees that in no circumstance shall the Special
                                 Master or his Advisors be personally or otherwise liable for any amounts
                                 or obligations owed to the Potential Bidder and (ii) the Special Master and
                                 his Advisors are acting as an arm of the Court and are entitled to judicial
                                 immunity in the performance of their duties.

                      ix.        Joint Bids. The Special Master may approve joint Bids in his sole
                                 discretion on a case-by-case basis.

                                                          11
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 140 of 176 PageID #: 12637




                      x.         Representations and Warranties. Each Bid must include the following
                                 representations and warranties:

                                 a.     a statement that the Potential Bidder has had an opportunity to
                                         conduct and has completed any and all due diligence regarding the
                                         assets to be purchased prior to submitting its Bid;

                                 b.     a statement that the Potential Bidder recognizes and acknowledges
                                         that the Special Master, his Advisors, PDVH, and CITGO make
                                         no representations, covenants, or warranties (or any other
                                         promise) as to the accuracy or completeness of any information
                                         provided in the Data Room or otherwise made available by the
                                         Special Master and his Advisors in connection with the bid
                                         process;

                                 c.     a statement that the Potential Bidder has relied solely upon its own
                                         independent review, investigation, and/or inspection of any
                                         relevant documents regarding the assets to be purchased and did
                                         not rely on any written or oral statements, representations,
                                         promises, warranties, or guaranties whatsoever, whether express
                                         or implied, by operation of law or otherwise, regarding the assets
                                         to be purchased or the completeness of any information made
                                         available in connection therewith;

                                 d.     a statement that the Potential Bidder has not engaged in any
                                         collusion with respect to the submission of its Bid;

                                 e.     a statement that all proof of financial ability to consummate a Sale
                                         Transaction in a timely manner is true and correct; and

                                 f.     a statement that the Potential Bidder agrees to be bound by the
                                         terms and conditions of the Bidding Procedures.

            A Potential Bidder must also accompany its Bid with:

                      xi.        the contact information of the specific person(s) whom the Special Master
                                 or his Advisors should contact in the event that the Special Master has any
                                 questions or wishes to discuss the Bid submitted by the Potential Bidder.

                      xii.       a covenant to cooperate with the Special Master and the Sale Process
                                 Parties to provide pertinent factual information regarding the Potential
                                 Bidder’s ownership and operations reasonably required to respond to, or
                                 otherwise analyze issues arising with respect to, U.S. sanctions laws and
                                 regulations, the Committee on Foreign Investment in the United States,
                                 any applicable antitrust laws, and other relevant regulatory requirements
                                 or requests.


                                                          12
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 141 of 176 PageID #: 12638




                      xiii.      if the Purchase Price of a Bid includes non-cash components, a detailed
                                 analysis of the value of any such non-cash components, including any
                                 assumptions related thereto, and reasonable back-up documentation to
                                 support such value.

                      xiv.       a cash deposit that is refundable under the circumstances described in
                                 these Bidding Procedures in the amount that is the lesser of (i) ten percent
                                 (10%) of the value of the total consideration of the Bid or (ii) $50,000,000
                                 (such cash deposit, a “Good Faith Deposit”), unless otherwise agreed to
                                 by the Special Master, in consultation with the Sale Process Parties, and a
                                 Potential Bidder; provided that, the Special Master may petition the court
                                 to reduce the Good Faith Deposit requirement for any particular Potential
                                 Bidder or type of bid after consultation with the Sale Process Parties;
                                 provided further that, a Potential Bidder submitting a Credit Bid shall only
                                 be required to provide a Good Faith Deposit in the amount that is the
                                 lesser of (i) 10% of the cash component of such Bid or (ii) $50,000,000 if
                                 such Potential Bidder agrees in connection with the submission of such
                                 Credit Bid that the lesser of 10% of the portion of the judgment that is
                                 Credit Bid or $50 million of the judgment that is Credit Bid shall serve as
                                 the Good Faith Deposit and be forever waived in a manner upon which
                                 any other Bidder would forfeit its Good Faith Deposit, provided however
                                 that no forfeiture shall occur if the reason for the withdrawal or failure to
                                 consummate the Credit Bid is a settlement or satisfaction of the judgment.

                                                 Good Faith Deposit

           Except as otherwise provided herein with respect to a Stalking Horse Bidder, a Good
   Faith Deposit must be deposited by a Potential Bidder on or prior to the Bid Deadline, with an
   escrow agent selected by the Special Master (the “Escrow Agent”) pursuant to an escrow
   agreement to be provided by the Special Master. To the extent a Bid is modified before, during,
   or after any Auction, the Special Master reserves the right to require that such Potential Bidder
   adjust its Good Faith Deposit so that it equals the lesser of (i) ten percent (10%) of the value of
   the total consideration of the Bid or (ii) $50,000,000 (or such other amount as is agreed to by the
   Special Master in consultation with the Sale Process Parties in accordance with subsection xiv of
   Form and Content of Bid). If a Qualified Bidder is required to adjust its Good Faith Deposit, its
   status as a Qualified Bidder shall be suspended pending satisfaction of such adjustment.

          Notwithstanding the foregoing, in the event that the Special Master concludes that the
   Good Faith Deposit should be reduced for any particular Potential Bidder or type of bid after
   consultation with the Sale Process Parties, the Special Master may petition the Court to approve
   a reduction of the Good Faith Deposit for such Potential Bidder or bid. The Special Master may
   seek such a reduction, and the Court may approve one, notwithstanding the lack of an agreement
   between the Sale Process Parties as to such reduction.




                                                          13
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 142 of 176 PageID #: 12639




                                                   Sale Process Parties

          At all times during the bidding process, the Special Master will consult with the Court
   and the Sale Process Parties and may do so on an ex parte basis in camera. In addition,
   throughout the bidding process, the Special Master and his Advisors will regularly and timely
   consult with the following parties (through their applicable advisors) (collectively, the “Sale
   Process Parties”):

                      i.         The Venezuela Parties, including PDVH and CITGO;

                      ii.        Crystallex; and

                      iii.       ConocoPhillips.

           The Special Master shall use reasonable efforts to timely provide copies of any Non-
   Binding Indications of Interest, Bids, Stalking Horse Bids, and other relevant documents to the
   Sale Process Parties, provided that the Special Master shall not consult with or provide copies of
   any Non-Binding Indications of Interest, Bids, or Stalking Horse Bids to any Sale Process Party
   pursuant to the terms of these Bidding Procedures if such Sale Process Party has a Bid pending,
   or has expressed any written interest in bidding for the PDVH Shares. If a Sale Process Party
   chooses not to submit any Bid, then such party may receive copies of all Bids following
   expiration of the latest possible Bid Deadline (as such Bid Deadline may be extended by the
   Special Master pursuant to the terms of these Bidding Procedures); provided that (i) such Sale
   Process Party shall be required to hold any Bids or other documents received in strict confidence
   in accordance with the terms of the Special Master Confidentiality Order [D.I. 291] and (ii) upon
   a Sale Process Party’s receipt of a copy of any Bid, such Sale Process Party shall thereafter be
   precluded from submitting any bid or other offer for the PDVH Shares. For the avoidance of
   doubt, if the only Bid that a Sale Process Party receives a copy of is the Stalking Horse Bid
   designated by the Special Master, such Sale Process Party may submit a Bid like any other
   Potential Bidder pursuant to the terms of these Bidding Procedures.

           Without the express written consent of the Special Master, no Sale Process Party shall
   contact or in any way communicate with a Potential Bidder except as permitted by paragraph 40
   of the Sale Procedures Order.

          For the avoidance of doubt, any consultation rights afforded to the Sale Process Parties
   by these Bidding Procedures shall not limit the Special Master’s discretion in any way and shall
   not include the right to veto any decision made by the Special Master in the exercise of his
   judgment in good faith.

          In addition, the Special Master may in his sole discretion (but is not obligated to) consult
   with the United States, the Intervenor PDVSA 2020 Bondholders, other creditors of the Republic
   and PDVSA and any of its direct and indirect subsidiaries, and any additional person or entity
   that the Special Master determines it would be appropriate to consult in connection with
   implementation of the Sale Procedures Order and these Bidding Procedures. For the avoidance
   of doubt, such parties shall not be “Sale Process Parties” as defined herein.

                                                           14
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 143 of 176 PageID #: 12640




                                  Review of Bids; Designation of Qualified Bids

           The Special Master, in consultation with the Sale Process Parties following expiration of
   the latest possible Bid Deadline (as such Bid Deadline may be modified by the Special Master
   pursuant to the terms of these Bidding Procedures), will evaluate Bids that are timely submitted
   and may engage in negotiations with Potential Bidders who submitted Bids as the Special Master
   deems appropriate in the exercise of his judgment, based upon the Special Master’s evaluation of
   the content of each Bid.

          A Bid received that is determined by the Special Master, in consultation with the Sale
   Process Parties, to meet the requirements set forth herein will be considered a “Qualified Bid”
   and any bidder that submits a Qualified Bid (including any Stalking Horse Bid) will be
   considered a “Qualified Bidder.”

           By no later than [Launch + 217 days] (the “Qualified Bid Deadline”), the Special
   Master shall determine, in his reasonable judgment, and in consultation with the Sale Process
   Parties, which of the Bids received by the Bid Deadline qualifies as a Qualified Bid. The Special
   Master shall notify each Potential Bidder who submits a Qualified Bid of its status as a Qualified
   Bidder by the Qualified Bid Deadline.

          Solely if the Court has approved of the Special Master entering into a Stalking Horse
   Agreement and such Stalking Horse Agreement has been executed, no other Bid shall be
   considered a Qualified Bid unless such Bid meets the following mandatory requirements
   (the “Mandatory Requirements”):

                     i.          The Bid must have a greater Implied Value than the Stalking Horse Bid
                                 Implied Value or be within a range of such Implied Value which, in the
                                 Special Master’s judgment, is sufficient to meet the requirements of
                                 obtaining a value maximizing transaction, provided, that this requirement
                                 shall not preclude a Bid for less than 100% of the PDVH Shares from
                                 being considered a Qualified Bid so long as such Bid satisfies the
                                 Attached Judgments in cash and in full;

                    ii.          In addition to the minimum amount of consideration necessary to satisfy
                                 the foregoing requirement, the Bid must provide for additional
                                 consideration sufficient to pay in full in cash all Stalking Horse Bid
                                 Protections, including any Termination Payment and Expense
                                 Reimbursement amounts payable; and

                   iii.          The Bid must provide for either (i) sufficient proceeds to pay no less of
                                 the Attached Judgments than the Stalking Horse Bid or (ii) proceeds in
                                 excess of the proceeds provided for in the Stalking Horse Bid after
                                 payment of all Stalking Horse Bid Protections.

          In evaluating the Bids (and only Bids that meet the Mandatory Requirements, if
   applicable), the Special Master may take into consideration the following non-binding factors:

                                                         15
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 144 of 176 PageID #: 12641




                     i.          the amount of the Purchase Price and Credit Bid, including other non-cash
                                 consideration, as applicable, set forth in the Bid and the Implied Value of
                                 the Bid (provided that for purposes of evaluating competing bids, every
                                 U.S. dollar of a Credit Bid shall be treated the same as a U.S. dollar from a
                                 cash or other non-cash Bid, and a Credit Bid shall not be considered
                                 inferior to a comparable cash or other non-cash Bid because it is a Credit
                                 Bid);

                    ii.          the percentage of shares of PDVH to be purchased and any other assets
                                 included in or excluded from the Bid;

                   iii.          the value to be provided under the Bid, including the net economic effect
                                 taking into account any Stalking Horse Bidder’s rights to any Termination
                                 Payment and any other Stalking Horse Bid Protections;

                   iv.           any benefit to PDVH and its subsidiaries from any assumption of
                                 liabilities or waiver of liabilities;

                    v.           the transaction structure and execution risk, including conditions to, and
                                 speed, complexity, timing and certainty of, closing of the Sale
                                 Transaction, termination provisions, availability of financing and financial
                                 wherewithal of the Qualified Bidder to pay the Purchase Price and satisfy
                                 all other requirements and commitments, and any required shareholder,
                                 governmental, regulatory or other third-party approvals or consents; and

                   vi.           any other factors the Special Master may deem relevant consistent with
                                 his duties to the Court and applicable law.

           The Special Master reserves the right to work with any Potential Bidder in advance of the
   Auction to cure any deficiencies in a Bid that is not initially deemed a Qualified Bid. The
   Special Master may amend or waive the conditions precedent to being a Qualified Bidder
   (including any Mandatory Requirements) at any time in his reasonable judgment, in consultation
   with the Sale Process Parties and in a manner consistent with his duties to the Court and under
   applicable law (as reasonably determined in good faith by the Special Master in consultation
   with his legal counsel).

           The Special Master may, in his discretion, seek the cooperation of third parties to
   evaluate a Bid pursuant to the Sale Procedures Order. The Special Master, in consultation with
   the Sale Process Parties, may accept a single Bid or multiple partial Bids, if taken together, such
   multiple partial Bids would otherwise meet the standards for a single Qualified Bid (in which
   event those multiple bidders shall be treated as a single Qualified Bidder for purposes of the
   Auction).

          Without the written consent of the Special Master, a Qualified Bidder may not modify,
   amend, or withdraw its Qualified Bid, except for proposed amendments to increase the Purchase
   Price or otherwise improve the terms of the Qualified Bid during the period that such Qualified
   Bid remains binding as specified herein; provided that, any Qualified Bid may be improved at
   any Auction as set forth in these Bidding Procedures.
                                                  16
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 145 of 176 PageID #: 12642




                     Failure to Receive Qualified Bids Other Than Stalking Horse Bid

           If no Qualified Bid other than the Stalking Horse Bid is received by the Qualified Bid
   Deadline, the Special Master will not conduct an Auction, and shall file a notice with the Court
   indicating that no Auction will be held. In such circumstance, the Special Master shall also file
   with the Court a notice designating the Stalking Horse Bid as the Successful Bid and the
   Stalking Horse Bidder as the Successful Bidder as soon as reasonably practicable after the
   Qualified Bid Deadline.

                                          Auction Procedures

           If the Special Master receives more than one Qualified Bid (inclusive of any Stalking
   Horse Bid), the Special Master shall conduct the Auction beginning at 10:00 a.m. (ET) at the
   offices of Potter Anderson & Corroon LLP, 1313 N. Market Street, 6th Floor, Wilmington,
   DE 19801-6108 or such other location mutually agreeable to the Special Master and each of the
   Sale Process Parties, on [Launch + 230 days], or such other later date as may be determined
   by the Special Master in consultation with the Sale Process Parties. Only a Qualified Bidder
   will be eligible to participate in the Auction, subject to such other limitations as the Special
   Master may impose in good faith. In addition, professionals and/or other representatives of the
   Special Master and the Sale Process Parties shall be permitted to attend and observe the Auction.
   Each Qualified Bidder shall be required to confirm, both before and after the Auction, that it has
   not engaged in any collusion with respect to the submission of any bid, the bidding, or the
   Auction.

           The Special Master may, in consultation with the Sale Process Parties, adopt rules for the
   Auction at any time that the Special Master reasonably determines it to be appropriate to
   promote a spirited and robust auction. Any rules developed by the Special Master will provide
   that all bids in the Auction will be made and received on an open basis, and all other bidders
   participating in the Auction will be entitled to be present for all bidding with the understanding
   that the true identity of each bidder placing a bid at the Auction will be fully disclosed to all
   other bidders participating in the Auction, and that all material terms of a bid submitted in
   response to any successive bids made at the Auction will be disclosed to all other bidders. Each
   Qualified Bidder will be permitted to receive what the Special Master, in consultation with the
   Sale Process Parties, reasonably determines to be an appropriate amount of time to respond to
   the previous bid at the Auction. The Auction will be conducted openly and shall be transcribed
   or recorded.

           The Special Master may, in consultation with the Sale Process Parties, identify the
   highest Qualified Bid that the Special Master reasonably believes to be capable of being timely
   consummated after taking into account the factors set forth above as the successful bid
   (a “Successful Bid” and the bidder submitting such bid, a “Successful Bidder”); provided, that
   if the Special Master receives multiple competing Qualified Bids that would satisfy the Attached
   Judgments in full and which the Special Master reasonably believes to be capable of being
   timely consummated as set forth above, then the Special Master must designate such Qualified
   Bid that (i) satisfies the Attached Judgments and (ii) provides for the sale of the fewest PDVH
   Shares, unless PDVSA consents to the Special Master designating the Qualified Bid for more of

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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 146 of 176 PageID #: 12643




   the PDVH Shares. As set forth above, the Special Master may also identify the Stalking Horse
   Bidder and its Stalking Horse Bid as a Back-Up Bid. If a Sale Transaction with a Successful
   Bidder is terminated prior to the Back-Up Bid Expiration Date, the Back-Up Bidder shall be
   deemed a Successful Bidder and shall be obligated to consummate the transactions contemplated
   by the Back-Up Bid as if it were a Successful Bid. For the avoidance of doubt, the Special
   Master is not required to accept any bid or designate a Successful Bidder or Back-Up Bidder.

           Within one (1) business day after the Auction, a Successful Bidder shall submit to the
   Special Master, for the Special Master’s review, approval and coordination of execution,
   definitive documentation in respect of the Sale Transaction executed by the Successful Bidder
   and memorializing the terms of a Successful Bid. A Successful Bid may not be assigned to any
   party without the written consent of the Special Master.

            At any time before entry of an order approving an applicable Sale Transaction envisioned
   by a Qualified Bid, the Special Master reserves the right to and may reject such Qualified Bid if
   such Qualified Bid, in the Special Master’s sole discretion, is: (i) inadequate or insufficient;
   (ii) not in conformity with the requirements of the Federal Rules of Civil Procedure, Delaware or
   other applicable law, an order of the Court, these Bidding Procedures, or the terms and
   conditions of the applicable Sale Transaction; or (iii) contrary to the best interests of the Parties
   and ConocoPhillips in the Crystallex Case.

                                         Post-Auction Process
            If an Auction is held, as soon as reasonably practicable thereafter, the Special Master
   shall file with the Court a notice of a Successful Bid and Successful Bidder. Unless otherwise
   required by applicable law, the Special Master shall not consider any bids submitted after the
   conclusion of the Auction.

           Within seven (7) days after the Auction, the Special Master shall direct the Escrow Agent
   to return the deposit of any bidder who is not declared a Successful Bidder or a Back-Up Bidder.
   Upon the authorized return of any such deposit, the bid of such Potential Bidder or Qualified
   Bidder, as applicable, shall be deemed revoked and no longer enforceable.

           A Successful Bidder’s deposit shall be applied against the cash portion of the Purchase
   Price of such bidder’s Successful Bid upon the consummation of a Sale Transaction.

          In addition to the foregoing, the deposit of a Qualified Bidder will be forfeited to the
   Special Master if (i) the Qualified Bidder attempts to modify, amend, or withdraw its Qualified
   Bid, except as permitted herein, during the time the Qualified Bid remains binding and
   irrevocable or (ii) the Qualified Bidder is selected as a Successful Bidder and refuses or fails to
   enter into the required definitive documentation or to consummate a Sale Transaction in
   accordance with these Bidding Procedures. A forfeited deposit shall first be used to pay any
   unpaid Transaction Expenses and, if any excess remains thereafter, the Special Master shall seek
   guidance from the Court regarding the distribution thereof.




                                                    18
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 147 of 176 PageID #: 12644




                                               Sale Hearing

           If the Special Master elects to proceed with a Sale Transaction in accordance with these
   Bidding Procedures, the Special Master will seek the entry of an order authorizing and
   approving, among other things, the Sale Transaction with the Successful Bidder, including the
   definitive documentation in respect of such Sale Transaction, at a hearing before the Court to be
   held on [Launch + 270 days] (the “Sale Hearing”). The objection deadline for any Sale
   Transaction to be approved at the Sale Hearing will be [Launch + 250 days] at 4:00 p.m. (ET)
   (the “Sale Objection Deadline”); provided that, the Special Master may extend the Sale
   Objection Deadline, as the Special Master deems appropriate in the exercise of his reasonable
   judgment and in consultation with the Sale Process Parties.

            Objections to any Sale Transaction, including any objection to the sale of shares of
   PDVH free and clear of liens, claims, encumbrances, and other interests (each, a “Sale
   Objection”), must: (i) be in writing; (ii) state the name and address of the objecting party and
   such party’s interest(s) in the Crystallex Case, any related proceeding, or PDVH and its
   affiliates; (iii) state with particularity the basis and nature of any objection, and provide proposed
   language that, if accepted and incorporated by the Special Master, would obviate such objection
   (if such objection can be resolved through inclusion of acceptable language); (iv) conform to the
   applicable rules of the Court; and (v) be filed with the Court in accordance with the customary
   practices of the Court. If a timely Sale Objection cannot otherwise be resolved by the parties,
   such objection shall be heard by the Court at the Sale Hearing.

           A Successful Bidder shall appear at the Sale Hearing and be prepared to have a
   representative(s) testify in support of the Successful Bid and such Successful Bidder’s ability to
   close the Sale Transaction in a timely manner.

            Any party who fails to file with the Court a Sale Objection by the Sale Objection
   Deadline may be forever barred from asserting, at the Sale Hearing or thereafter, any Sale
   Objection with regard to a Successful Bidder, or to the consummation of a Sale Transaction,
   including with respect to the transfer of shares of PDVH to a Successful Bidder, free and clear of
   all liens, claims, encumbrances, and other interests. Failure to object to a Sale Transaction shall
   be deemed consent to such Sale Transaction.

                                  Satisfaction of All Attached Judgments

          Nothing in these Bidding Procedures (or the Sale Procedures Order) prohibits or in any
   way impairs the rights of the Venezuela Parties to pay Crystallex’s Judgment (or any other
   Attached Judgment) in full prior to consummation of a Sale Transaction. If at any time all
   Attached Judgments become satisfied in full (or otherwise are consensually resolved), then the
   Special Master shall cease implementation of the Sale Procedures in accordance with the Sale
   Procedures Order.

                       Consent to Jurisdiction and Authority as Condition to Bidding

            All bidders that participate in the bidding process shall be deemed to have (i) consented
   to the core jurisdiction of the Court to enter any order or orders, which shall be binding in all
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 148 of 176 PageID #: 12645




   respects, in any way related to these Bidding Procedures, the bid process, the Auction, the Sale
   Hearing, or the construction, interpretation and enforcement of any agreement or any other
   document relating to a Sale Transaction; (ii) waived any right to a jury trial in connection with
   any disputes relating to these Bidding Procedures, the bid process, the Auction, the Sale Hearing,
   or the construction, interpretation and enforcement of any agreement or any other document
   relating to a Sale Transaction; and (iii) consented to the entry of a final order or judgment in any
   way related to these Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the
   construction, interpretation and enforcement of any agreement or any other document relating to
   a Sale Transaction if it is determined that the Court would lack jurisdiction to enter such a final
   order or judgment absent the consent of the parties.

                                         Reservation of Rights

           The Special Master may, in his reasonable judgment, in a manner consistent with his
   duties to the Court and the Sale Procedures Order, and in good faith consultation with the Sale
   Process Parties, modify, delay implementation of or terminate these Bidding Procedures, waive
   terms and conditions set forth herein, extend any of the deadlines or other dates set forth herein,
   adjourn any Auction and/or Sale Hearing, announce at the Auction modified or additional
   procedures for conducting the Auction, or provide reasonable accommodations to any Potential
   Bidder with respect to such terms, conditions, and deadlines of the bidding and Auction process
   to promote further bids on any assets, in each case, at any time and without specifying the
   reasons therefor, to the extent not materially inconsistent with these Bidding Procedures and/or
   the Sale Procedures Order. The rights of each Sale Process Party are fully reserved as to any
   Sale Transaction. The Special Master shall not be obligated to recommend to the Court
   approval of or consummation of any transaction with respect to any asset.

                                          Judicial Immunity

            The Special Master is entitled to judicial immunity in performing his duties pursuant to
   the Sale Procedures Order and these Bidding Procedures, including all actions taken to
   implement these Bidding Procedures. The Special Master’s Advisors are further entitled to
   judicial immunity in connection with all actions taken at the direction of, on behalf of, or
   otherwise in connection with representation of or advising the Special Master. In no
   circumstance shall the Special Master or any of his Advisors be liable to any party in connection
   with implementing the Sale Procedures Order or these Bidding Procedures. To the maximum
   extent permitted by applicable law, neither the Special Master nor his Advisors will have or
   incur, and the Special Master and his Advisors are released and exculpated from, any claim,
   obligation, suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and
   liability in connection with or arising out of all actions taken to implement the Marketing
   Process, Sale Procedures, Bidding Procedures, or Sale Transaction, or the performance of the
   Special Master’s and his Advisors’ duties pursuant to the Sale Procedures Order and all other
   orders of the Court.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 149 of 176 PageID #: 12646




                                      Exhibit 2

                                 Form of Sale Notice




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 150 of 176 PageID #: 12647




                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE

   --------------------------------------------------------------------------------------------------------------------
   -
   CRYSTALLEX INTERNATIONAL                                    :
   CORPORATION,                                                :
                                                               :
                     Plaintiff,                                :
                                                               :
            v.                                                 :        Misc. No. 17-151-LPS
                                                               :
   BOLIVARIAN REPUBLIC                                         :
   OF VENEZUELA,                                               :
                                                               :
                     Defendant.                                :
   --------------------------------------------------------------------------------------------------------------------
   -

                                        NOTICE OF SALE, BIDDING
                                 PROCEDURES, AUCTION, AND SALE HEARING

   PLEASE TAKE NOTICE OF THE FOLLOWING:

           On January 14, 2021, the United States District Court for the District of Delaware
   (the “Court”)1 issued an opinion and corresponding order setting forth certain contours for the
   sale of the shares of PDV Holding, Inc. (“PDVH”) owned by Petróleos de Venezuela, S.A.
   (“PDVSA”) in connection with the above-captioned proceeding (the “Crystallex Case”). In
   furtherance thereof, the Court appointed Robert B. Pincus as special master (the “Special
   Master”) on April 13, 2021 to assist the Court with the sale of PDVSA’s shares of PDVH. The
   Special Master is advised by Weil, Gotshal & Manges LLP, as transaction counsel, and Evercore
   Group L.L.C. as investment banker.

           On [_], 2022, the Court entered an order (Docket No. __) (the “Sale Procedures
   Order”) (i) approving the bidding procedures, substantially in the form attached to the Sale
   Procedures Order as Exhibit 1 (the “Bidding Procedures”); (ii) authorizing the Special Master
   to designate a stalking horse bidder (“Stalking Horse Bidder,” and such bidder’s bid, a
   “Stalking Horse Bid”) and offer such bidder the Stalking Horse Bid Protections identified
   therein; (iii) setting the timeframe for potential bidders to submit a proposal to purchase shares
   of PDVH, scheduling an auction (the “Auction”), and scheduling the hearing with respect to the
   approval of the sale (the “Sale Hearing”); (iv) authorizing and approving the Notice Procedures
   for the foregoing; and (v) granting related relief.
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     Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
   Sale Procedures Order and the Bidding Procedures (each, as defined herein), as applicable. Any summary of the
   Sale Procedures Order or the Bidding Procedures contained herein is qualified in its entirety by the actual terms and
   conditions thereof. To the extent that there is any conflict between any such summary and such actual terms and
   conditions, the actual terms and conditions shall control.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 151 of 176 PageID #: 12648




                                   Assets to be sold: Shares of PDVH

          Interested parties may submit bids for the purchase and sale of some or all of the shares
   of PDVH in accordance with the terms and conditions set forth in the Bidding Procedures. To
   avoid any ambiguity, parties may submit bids for less than 100% of the shares of PDVH so long
   as such bid satisfies the Attached Judgments.

           PDVH is the sole shareholder and direct parent of CITGO Holding, Inc., which in turn is
   the sole shareholder and direct parent of CITGO Petroleum Corporation.

                                     Important Dates and Deadlines

        Non-Binding Indication of Interest Deadline. Any person or entity interested in
            participating in the sale of shares of PDVH is encouraged to submit a Non-Binding
            Indication of Interest on or before [Launch Date + 45 days] at 4:00 p.m. (prevailing
            Eastern Time).

        Stalking Horse Bid Deadline. Any person or entity interested in being designated as a
            Stalking Horse Bidder must submit a Stalking Horse Bid on or before [Launch Date +
            90 days] at 4:00 p.m. (prevailing Eastern Time).

        Bid Deadline. Any person or entity interested in participating in the Auction must submit
            a Qualified Bid on or before [Launch Date + 210 days] at 4:00 p.m. (prevailing
            Eastern Time).

        Auction. An Auction has been scheduled for [Launch Date + 230 days] at 10:00 a.m.
            (prevailing Eastern Time).

        Sale Objection Deadlines. Objections to the Sale Transaction, including any objection to
            the sale of shares of PDVH free and clear of liens, claims, encumbrances, and other
            interests must (i) be in writing; (ii) state the name and address of the objecting party and
            such party’s interests in the PDVH Shares and/or the assets of PDVH and its subsidiaries;
            (iii) state with particularity the basis and nature of any objection, and provide proposed
            language that, if accepted and incorporated by the Special Master, would obviate such
            objection (if such objection can be resolved through inclusion of acceptable language);
            (iv) conform to the applicable rules; and (v) be filed with the Court in accordance with
            the customary practices of the Court by no later than [Launch Date + 250 days] at 4:00
            p.m. (prevailing Eastern Time) (the “Sale Objection Deadline”).

           Sale Hearing. A hearing to approve the Sale Transaction shall be held before the Court
            before the Honorable Leonard P. Stark on [Launch Date + 270 days] at 10:00 a.m.
            (prevailing Eastern Time) in Courtroom 6B at the United States District Court, 844
            North King Street, Wilmington DE 19801.

                                         Additional Information

          Any party interested in submitting a bid should contact the Special Master’s investment
   banker, Evercore (Attn: Ray Strong (ray.strong@evercore.com); William Hiltz
   (hiltz@evercore.com); Patrick O’Shea (patrick.oshea@evercore.com); David Ying




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 152 of 176 PageID #: 12649




   (ying@evercore.com); and Stephen Goldstein (stephen.goldstein@evercore.com)), as soon as
   possible.

          The Bidding Procedures set forth the requirements for becoming a Qualified Bidder and
   submitting a Qualified Bid, and any party interested in making an offer to purchase the shares of
   PDVH must comply with the Bidding Procedures. Only Qualified Bids will be considered by
   the Special Master, in accordance with the Bidding Procedures.

          Copies of the Sale Procedures Order and the Bidding Procedures may be requested free
   of charge by email to the Special Master’s counsel, Weil, Gotshal & Manges LLP (attn.: Chase
   Bentley at Chase.Bentley@weil.com).

        FAILURE TO ABIDE BY THE BIDDING PROCEDURES, THE SALE
   PROCEDURES ORDER, OR ANY OTHER ORDER OF THE COURT MAY RESULT IN
   THE REJECTION OF YOUR BID.

   THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE A SALE
   OBJECTION IN ACCORDANCE WITH THE SALE PROCEDURES ORDER BY THE
   SALE OBJECTION DEADLINE MAY FOREVER BAR SUCH PERSON OR ENTITY
   FROM ASSERTING, AT THE SALE HEARING OR THEREAFTER, ANY SALE
   OBJECTION WITH REGARD TO A SUCCESSFUL BIDDER, OR TO THE
   CONSUMMATION OF A SALE TRANSACTION, INCLUDING WITH RESPECT TO
   THE TRANSFER OF SHARES OF PDVH TO A SUCCESSFUL BIDDER, FREE AND
   CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS.

   Dated __________________, 2022




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 153 of 176 PageID #: 12650




                                              Exhibit 3

                                 Proposed Evercore Engagement Letter




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 154 of 176 PageID #: 12651




                                           PROPOSED EVERCORE ENGAGEMENT LETTER

                                                                                      As of [●], 2022

   Robert B. Pincus
   In his capacity as Special Master
   of the United States District Court for the District of Delaware
   108 Rockford Grove Lane
   Wilmington, DE 19806

   Dear Special Master Robert Pincus:

       1. Assignment:
   This engagement letter (this “Agreement”) is to formalize the arrangement between Evercore
   Group L.L.C. (“Evercore”) and Robert B. Pincus, solely in his capacity as special master
   (“Special Master”) for the United States District Court for the District of Delaware
   (the “Court”) in Crystallex International Corp. v. Bolivarian Republic of Venezuela (D. Del.
   Case. No. 17-151-LPS) (the “Specified Litigation”) pursuant to that certain order entered by the
   Court on April 13, 2021 [Docket No. 258], that certain Order Regarding Special Master entered
   by the Court on May 27, 2021 [Docket No. 277] (the “May Order”) and the Order (A)
   Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and
   Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of
   Evercore as Investment Banker by Special Master and (D) Regarding Related Matters entered
   by the Court on [●] [Docket No. [●]] (the “Sale Procedures Order”). The Special Master,
   solely in his capacity as special master, hereby retains Evercore as exclusive financial advisor in
   connection with implementation of the Sale Procedures Order and consummation of the sale of
   the equity interests of PDV Holding, Inc. (“PDVH” and together with its direct and indirect
   subsidiaries, the “Company”) held by Petróleos de Venezuela, S.A. (“PDVSA”) (the “Sale
   Transaction”).
   The parties hereto entered into that certain engagement dated as of June 2, 2021 (the “Prior
   Engagement Letter”). Upon execution of this Agreement, the Prior Engagement Letter shall
   automatically terminate as of the date this Agreement becomes effective (other than any
   provision that by its terms expressly survives termination thereof).
   It is the parties’ intent that services (as described herein) performed hereunder are, in part, for
   the purpose of assisting Weil, Gotshal & Manges LLP (“Weil”) in its capacity as counsel to the
   Special Master so that Weil can render attorney-client advice to the Special Master.
   Accordingly, certain actions taken by Evercore are intended to be and shall be privileged and
   protected by the attorney work product privilege, attorney-client privilege, and other applicable
   privilege doctrines available under applicable law. The Special Master and Evercore each
   acknowledge and agree that Weil shall not be responsible for any fees, expenses, indemnification
   rights or other amounts or payments that may be owed to Evercore directly or indirectly under
   this Agreement.




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 155 of 176 PageID #: 12652




       2. Fees and Expenses:
   Evercore will seek payment of its fees and documented expenses from Crystallex International
   Corporation (“Crystallex”), the Bolivarian Republic of Venezuela (the “Republic”), PDVH,
   PDVSA, CITGO Petroleum Corp. (“CITGO,” and collectively with the Republic, PDVH,
   PDVSA, the “Venezuela Parties”), Phillips Petroleum Company Venezuela Limited and
   ConocoPhillips Petrozuata B.V. (together, “ConocoPhillips,” and collectively, with Crystallex
   and the Venezuela Parties, the “Sale Process Parties”) in accordance with the May Order and
   the Sale Procedures Order. The Special Master hereby agrees to take all actions required of the
   Special Master and to otherwise assist Evercore in seeking (and, as applicable, obtaining
   approval of) payment of the fees and documented expenses incurred pursuant to this Agreement
   from the Sale Process Parties, including by making any necessary or desirable filings in the
   Specified Litigation.
   Notwithstanding anything to the contrary in this Agreement, Evercore and the Special Master
   each acknowledge and agree that the Special Master shall not be personally responsible for any
   fees or expenses, or other amounts or payments that may be due and payable directly or
   indirectly under this letter. For the avoidance of doubt, notwithstanding anything herein to the
   contrary, under no circumstances shall the Special Master be liable to any party for any fees,
   expenses, or amounts due or claimed in connection to or arising from this Agreement.
   As compensation for the services rendered by Evercore hereunder, Evercore shall be paid the
   following fees in cash by the Sale Process Parties as and when set forth below:
       a. A monthly fee of $200,000 (a “Monthly Fee”), which shall be earned in full and payable
          on the date that the Special Master provides Evercore with (i) written notice of his
          determination to begin preparations for the Marketing Process or (ii) written notice that
          he would like Evercore to engage in settlement discussions regarding a claims resolution
          process with creditors in accordance with the terms of the Sale Procedures Order, and
          subsequently on the same day of each month thereafter until the earlier of the
          consummation of a Sale Transaction or the termination of Evercore’s engagement. The
          first twelve (12) Monthly Fees actually paid shall be credited 50% (without duplication)
          against any Sale Fee that becomes payable hereunder; provided that in the event a credit
          bid by Crystallex in an amount in excess of the Credit Bid Threshold (as defined below)
          is the prevailing bid, the percentage crediting shall be increased to 75%. In the event an
          Upfront Amount (as defined below) is payable, the crediting of monthlies will apply to
          the portion of the Sale Fee that is payable upon consummation of the Sale Transaction;
          provided that in the event a credit bid by Crystallex in an amount in excess of the Credit
          Bid Threshold (as defined below) is the prevailing bid, the crediting of monthlies will
          apply to the Upfront Amount up to a maximum of $600,000 in crediting, with the
          remainder of crediting (if any) applying to the portion of the Sale Fee that is payable
          upon consummation of the Sale Transaction. Notwithstanding the foregoing, if
          implementation or consummation of the Sale Transaction is stayed or otherwise delayed
          for any reason, the Special Master may send a written notice (including by email) to
          Evercore that, three business days after it is actually received by Evercore, will have the
          effect of ending the accrual of Monthly Fees until such time as the Special Master
          rescinds the notice in writing (including by email). Evercore shall not be required to
          repay any amount of any Monthly Fee paid prior to the receipt of such a notice. The



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 156 of 176 PageID #: 12653




            Special Master may only send such a notice if no material amount of work or services
            have been requested of Evercore for the applicable period, and Evercore shall have no
            obligation to perform any work or services during the period in which such Monthly Fees
            do not accrue until such time as Evercore actually receives the next Monthly Fee, which
            shall be payable not later than 3 business days following rescission of the Special
            Master’s stay notice and subsequently on the same day of each month thereafter until the
            earlier of the consummation of a Sale Transaction or the termination of Evercore’s
            engagement; provided that the first Monthly Fee payable after such rescission shall be
            prorated to account for any period for which a Monthly Fee already was paid hereunder.
       b. A sale fee (a “Sale Fee”) equal to (a) the amount of the Aggregate Consideration (as
          defined below) multiplied by (b) 0.35% (the “Sale Fee Percentage”); provided that
                i.    if a credit bid by Crystallex in an amount no more than $500,000,000 (the
                      “Credit Bid Threshold”) is the prevailing bid, the Sale Fee shall be the greater of
                      1) $7,000,000 and 2) 2.0% of the credit bid amount
               ii.    if a credit bid by Crystallex (in an amount in excess of the Credit Bid Threshold)
                      is the prevailing bid, the Sale Fee Percentage shall be 0.25% of the Aggregate
                      Consideration, but, for the avoidance of doubt, Aggregate Consideration in such
                      scenario shall be calculated to include 100% of the implied equity value of the
                      credit bid.

            $3,500,000 of the Sale Fee shall be earned and payable upon the earlier of
            (i) announcement by the Special Master of any Sale Transaction and (ii) execution of a
            binding definitive agreement with respect to any Sale Transaction (the “Upfront
            Amount”), and the remainder of the Sale Fee shall be earned and payable upon
            consummation of any Sale Transaction; provided that no Upfront Amount shall be owed
            if a credit bid by Crystallex (in an amount no more than the Credit Bid Threshold) is the
            prevailing bid. The Upfront Amount shall be split amongst and paid by the Sale Process
            Parties that are obligated to pay the Upfront Amount as follows: Crystallex and the
            Venezuela Parties shall be obligated to pay (and only obligated to pay) one-half each of
            the Upfront Amount, unless the implied value of the contemplated Sale Transaction is
            sufficient to provide for a recovery for ConocoPhillips. If the implied value of the
            contemplated Sale Transaction is sufficient to provide for a recovery for ConocoPhillips,
            then ConocoPhillips and Crystallex shall together pay one-half of the Upfront Amount
            split proportionately between them based on the amount of each of their expected
            recoveries based on the implied value of the contemplated Sale Transaction (e.g., if
            Crystallex’s expected recovery amounts to 90% of the total expected recoveries of
            Crystallex and ConocoPhillips combined, Crystallex shall pay 90% of one-half (or 45%
            of the entire Upfront Amount) and ConocoPhillips 10% of one-half (or 5% of the entire
            Upfront Amount). The remaining amount of the Sale Fee (i.e., any amount other than the
            Upfront Amount) shall be payable in connection with consummation of the applicable
            Sale Transaction and shall be payable by the applicable purchaser directly or from any
            proceeds from the applicable Sale Transaction.
            As used in this Agreement, the term “Aggregate Consideration” shall mean the total fair
            market value (determined at the time of the closing of a Sale) of all consideration paid or


   3
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 157 of 176 PageID #: 12654




            payable, or otherwise to be distributed to, or received by, directly or indirectly, the Court
            (or the Special Master) in connection with the Sale Transaction or the Company, its
            bankruptcy estate (if any), its creditors and/or the security holders of the Company in
            connection with a Sale, including all (i) cash, securities and other property, (ii) Company
            debt assumed, satisfied, or paid by a purchaser or which remains outstanding at closing
            (including, without limitation, the amount of any indebtedness, securities or other
            property “credit bid” in any Sale) and any other indebtedness and obligations, including
            litigation claims and tax claims that will actually be paid, satisfied, or assumed by a
            purchaser from the Company or the security holders of the Company and (iii) amounts
            placed in escrow and deferred, contingent and installment payments.
            If the amount of any claim that remains secured by a purported pledge of the stock of
            CITGO Holding in favor of Rosneft Trading, S.A. (or its assignee) is ascertained to be
            greater than $0 by a material amount, and a credit bid by Crystallex (in an amount no
            more than the Credit Bid Threshold) is the prevailing bid, the Special Master and
            Evercore agree to negotiate in good faith a mutually acceptable increase in the Sale Fee if
            such an increase is requested by Evercore, subject to the scope of work and consideration
            of the increased threshold necessary to achieve value to the holders of Attached
            Judgements (as defined in the Proposed Sale Procedure Order). Following the result of
            such good faith negotiations, the Special Master shall seek approval of any such increase
            from the Court upon reasonable notice to the Sale Process Parties. Court approval of any
            such increase may be sought at any time until the consummation of the applicable Sale
            Transaction giving rise to the Sale Fee. Each of the Sale Process Parties’ rights is
            reserved with respect to an increase in the Sale Fee.
       c. Only if related services are expressly requested by the Special Master in the performance
          of his duties, a financing fee (a “Financing Fee”), to be mutually agreed upon in advance
          of consummation of any Financing (as defined below), payable upon consummation of
          such Financing. The parties agree to negotiate in good faith a mutually acceptable
          Financing Fee, which, subject to the anticipated scope of work, shall be consistent with
          the compensation customarily paid to investment bankers of similar standing acting in
          similar situations. Evercore will, prior to performing any services that would give rise to
          a Financing Fee, inform the Special Master that the requested services, if performed,
          would give rise to a Financing Fee.
       d. Only if related services are expressly requested by the Special Master in the performance
          of his duties, a restructuring fee (a “Restructuring Fee”), to be mutually agreed upon in
          advance of consummation of any Restructuring (as defined below), payable upon
          consummation of such Restructuring (it being understood that, unless otherwise agreed
          pursuant to this Section 2(d), Evercore shall not be entitled to a Restructuring Fee on
          account of any Sale that also constitutes a Restructuring). The parties agree to negotiate
          in good faith a mutually acceptable Restructuring Fee, which, subject to the anticipated
          scope of work, shall be consistent with the compensation customarily paid to investment
          bankers of similar standing acting in similar situations. Evercore will, prior to
          performing any services that would give rise to a Restructuring Fee, inform the Special
          Master that the requested services, if performed, would give rise to a Restructuring Fee.




   4
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 158 of 176 PageID #: 12655




       e. In addition to any fees that may be payable to Evercore and, regardless of whether any
          transaction occurs, Evercore shall promptly be reimbursed on a monthly basis for (a) all
          reasonable expenses (including travel and lodging, data processing and communications
          charges, courier services and other appropriate expenditures) and (b) other documented
          reasonable fees and expenses, including expenses of counsel, if any.
       f. If Evercore provides services for which a fee is not provided herein, such services shall,
          except insofar as they are the subject of a separate agreement, be treated as falling within
          the scope of this Agreement, and the Special Master and Evercore will agree upon a fee
          for such services based upon good faith negotiations and the scope of work performed.
       g. All amounts referenced hereunder reflect United States currency and shall be paid
          promptly in cash after such amounts accrue hereunder.
   In addition, the Special Master and Evercore acknowledge and agree that more than one fee may
   be payable to Evercore under subparagraphs 2(a), 2(b), 2(c), 2(d), and/or 2(f) hereof in
   connection with any single transaction or a series of transactions, it being understood and agreed
   that if more than one fee becomes so payable to Evercore in connection with a series of
   transactions, each such fee shall be paid to Evercore.
   The Special Master acknowledges that the fee structure herein, including the Monthly Fees,
   reflects the substantial commitment of professional time and effort that will be required of
   Evercore and its professionals and in light of the fact that (i) such commitment may foreclose
   other opportunities for Evercore and (ii) the actual time and commitment required of Evercore
   and its professionals to perform its services may vary substantially from week to week and
   month to month, creating “peak load” issues for Evercore.
       3. Interpretation of Terms:
   As used in this agreement, the term “Sale” shall mean whether or not in one transaction, or a
   series of related transactions, (a) the disposition to one or more third parties of all or a portion of
   the issued and outstanding equity securities or any other issued and outstanding securities of the
   Company by the existing security holders of the Company; or (b) an acquisition, merger,
   consolidation, or other business combination, of which all or a portion of the business, assets or
   existing equity or securities of the Company are, directly or indirectly, sold or transferred to, or
   combined with, another company (other than an ordinary course intra-company transaction); or
   (c) an acquisition, merger, consolidation, sale, or other business combination pursuant to a
   successful “credit bid” of any securities by existing securities holders; or (d) the formation of a
   joint venture, partnership or similar entity; or (e) any transaction similar to any of the
   transactions described in clauses (a)-(d).
   As used in this Agreement, the term “Financing” shall mean the issuance, sale or placement of
   newly issued or treasury equity, equity-linked or debt securities, instruments or obligations of
   the Company with one or more lenders and/or investors or security holders (each such lender or
   investor, an “Investor”), including any “debtor-in-possession financing” or “exit financing” in
   connection with any case under the Bankruptcy Code (as defined below) or a refinancing,
   repricing, rights offering or any loan or other financing or obligation.




   5
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 159 of 176 PageID #: 12656




   As used in this Agreement, the term “Restructuring” shall mean, collectively, any restructuring,
   reorganization and/or recapitalization, however such result is achieved, including, without
   limitation, through one or more of the following: (a) a plan of reorganization or liquidation (a
   “Plan”) confirmed pursuant to 11 U.S.C. §101 et. seq., as from time to time amended, or any
   other current or future federal statute or regulation that may be applicable to such plan
   (11 U.S.C. §101 et. seq. and those other statutes and regulations are referred to herein generally
   as the “Bankruptcy Code”), (b) any similar proceeding or mechanism under the laws of any non-
   U.S. jurisdiction or authority, or (c) a refinancing, cancellation, forgiveness, satisfaction,
   retirement, purchase, assumption and/or a material modification or amendment to the terms of
   the Company’s outstanding indebtedness (including bank debt, bond debt, preferred stock, and
   other on and off balance sheet indebtedness), trade claims, leases (both on and off balance
   sheet), litigation-related claims and obligations, unfunded pension and retiree medical liabilities,
   lease obligations, partnership interests and other liabilities, including pursuant to a sale,
   repurchase or an exchange transaction, a Plan or a solicitation of consents, waivers, acceptances
   or authorizations. For avoidance of doubt, the term Restructuring shall also mean any claims
   negotiation process and related negotiations with various creditors and claimants including with
   respect to the 8.5% Senior Secured Notes issued by PDVSA due 2020.
   Other:
       4. Evercore’s engagement hereunder is premised on the assumption that the Special Master
          will make available to, or use reasonable efforts to cause the Sale Process Parties to make
          available to, Evercore all information and data that Evercore reasonably deems
          appropriate in connection with its activities. The parties recognize and consent to the
          fact that (a) Evercore will use and rely on the accuracy and completeness of public
          reports and other information provided by others, including information provided by the
          Special Master, the Sale Process Parties, other parties and their respective officers,
          employees, auditors, attorneys or other agents in performing the services contemplated
          by this Agreement, and (b) Evercore does not assume responsibility for, and may rely
          without independent verification upon, the accuracy and completeness of any such
          information. Evercore will, and will cause its controlled affiliates, directors, officers,
          members, agents, employees and other representatives to, keep confidential all
          information furnished to it to the extent provided in any protective order entered by the
          Court and furnished to Evercore by the Special Master or a Sale Process Party. Further,
          Evercore agrees and acknowledges that it will execute any confidentiality or joinder
          agreement required by the Court or reasonably requested by the Special Master pursuant
          to any such protective order, including, without limitation, the Special Master
          Confidentiality Order [D.I. 291].
       5. Evercore’s engagement hereunder may be terminated by the Special Master or Evercore
          at any time upon written notice without liability or continuing obligation to the Special
          Master or Evercore, except that following such termination, Evercore shall remain
          entitled to payment of any fees accrued pursuant to Section 2 but not yet paid prior to
          such termination, and to reimbursement of expenses incurred prior to such termination.
          Solely in the case of termination by the Special Master (and not in the case of termination
          by Evercore), payment of (i) any Sale Fee in respect of any Sale Transaction announced
          or consummated on or within 15 months of the date of entry of the Sale Procedures



   6
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 160 of 176 PageID #: 12657




            Order, and (ii) any other fees that may become payable to Evercore pursuant to the terms
            of the Sale Procedures Order or any other Court order entered on or before the date of
            such termination on or within 15 months of the date of entry of the Sale Procedures Order
            or such other order, as applicable; provided, however, that in the case of both (i) and (ii),
            any such fees shall only be payable out of the proceeds of any Sale Transaction or
            Financing (if applicable) that is overseen and/or directed by the Special Master.
       6. Evercore acknowledges that it will provide testimony, as reasonably necessary, with
          respect to matters related to the implementation and consummation of the Sale
          Transaction.
       7. To the extent the provision of services or other transactions contemplated in this
          Agreement may, in Evercore’s sole judgment, require a specific license from the Office
          of Foreign Assets Control in the United States Department of the Treasury (“OFAC”),
          such services or transactions will not commence unless and until authorized by a license
          from OFAC. Any applicable laws, executive orders, regulations, directives or licenses
          administered or issued by OFAC will take precedence over the terms of this letter in the
          event of a conflict. Evercore may terminate this Agreement at any time if it appears, in
          Evercore’s sole judgment, that OFAC will not grant a license necessary to complete the
          services or other transactions contemplated in this Agreement within a reasonable
          amount of time. Should Evercore refuse to provide services under this agreement
          pursuant to this paragraph, the Special Master shall have the right to terminate this
          agreement and no further fees shall be due under this agreement (other than any
          outstanding incurred but unpaid fees, and reimbursable expenses incurred prior to such
          termination).
       8. The Special Master and Evercore each acknowledge that to the extent there is any
          conflict between this Agreement and the Sale Procedures Order, the Sale Procedures
          Order shall control.
       9. Nothing in this Agreement, expressed or implied, is intended to confer or does confer on
          any person or entity other than the parties hereto or their respective successors and
          assigns any rights or remedies under or by reason of this Agreement or as a result of the
          services to be rendered by Evercore hereunder. The Special Master acknowledges that
          Evercore is not acting as an agent of the Special Master or in a fiduciary capacity with
          respect to the Special Master and that Evercore is not assuming any duties or obligations
          other than those expressly set forth in this Agreement. Nothing contained herein shall be
          construed as creating, or be deemed to create, the relationship of employer and employee
          between the parties, nor any agency, joint venture or partnership. Evercore shall at all
          times be and be deemed to be an independent contractor. Nothing herein is intended to
          create or shall be construed as creating a fiduciary relationship between Evercore and the
          Special Master. No party to this Agreement nor its employees or agents shall have any
          authority to act for or to bind the other party in any way or to sign the name of the other
          party or to represent that that the other party is in any way responsible for the acts or
          omissions of such party.




   7
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 161 of 176 PageID #: 12658




       10. Pursuant to the Sale Procedures Order, Evercore shall be entitled to judicial immunity to
           the extent provided therein. The provisions of this Section 10 shall survive any
           termination or completion of Evercore’s engagement hereunder.
       11. Subject to the Sale Procedures Order, the Special Master agrees that he is solely
           responsible for any decision regarding the Sale Transaction, regardless of the advice
           provided by Evercore with respect to the Sale Procedures Order. The Special Master
           acknowledges that the appointment of Evercore pursuant to this Agreement is not
           intended to achieve or guarantee, and that Evercore is not in a position to guarantee the
           achievement of or consummation of, the Sale Transaction.
       12. The Special Master recognizes that Evercore has been engaged only by the Special
           Master and that the Special Master’s engagement of Evercore is not deemed to be on
           behalf of and is not intended to confer rights on any of the Sale Process Parties, any
           creditor, lender or any other person not a party hereto or any of its affiliates or their
           respective directors, officers, members, agents, employees or representatives. Unless
           otherwise expressly agreed, no one other than the Special Master is authorized to rely
           upon the Special Master’s engagement of Evercore or any statements, advice, opinions or
           conduct by Evercore. Without limiting the foregoing, any advice, written or oral,
           rendered to the Special Master in the course of the Special Master’s engagement of
           Evercore is solely for the purpose of assisting the Special Master (and assisting Weil in
           representing the Special Master) in implementing the Sale Transaction and does not
           constitute a recommendation to any of the Sale Process Parties that such party might or
           should take in connection with the Sale Procedures Order. Any advice, written or oral,
           rendered by Evercore may not be disclosed publicly or made available to third parties
           without the prior written consent of Evercore.
       13. In order to coordinate Evercore’s efforts on behalf of the Special Master during the
           period of Evercore’s engagement hereunder, the Special Master will promptly inform
           Evercore of any discussions, negotiations, or inquiries regarding the Sale Transaction,
           including any such discussions or inquiries that have occurred since the date of the
           Special Master’s appointment (April 13, 2021).
       14. This Agreement between Evercore and the Special Master, embodies the entire
           agreement and understanding between the parties hereto and supersedes all prior
           agreements and understandings relating to the subject matter hereof, including the Prior
           Engagement Letter. If any provision of this Agreement is determined to be invalid or
           unenforceable in any respect, such determination will not affect this Agreement in any
           other respect, which will remain in full force and effect. This Agreement may not be
           amended or modified except in writing signed by each of the parties.
       15. In the event that, as a result of or in connection with Evercore’s engagement for the
           Special Master, Evercore becomes involved in any legal proceeding or investigation or is
           required by government regulation, subpoena or other legal process to produce
           documents, or to make its current or former personnel available as witnesses at
           deposition or trial, the Special Master will use reasonable efforts to cause the Sale
           Process Parties to reimburse Evercore for the reasonable fees and expenses of its counsel
           incurred (i) in responding to such a request and (ii) in asserting Evercore’s rights with


   8
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 162 of 176 PageID #: 12659




            respect to judicial immunity. The provisions of this Section 15 shall survive any
            termination or completion of Evercore’s engagement hereunder.
       16. So long as consistent with its duties pursuant to the Sale Procedures Order, and any
           subsequent order of the Court, Evercore shall have the right to place advertisements in
           financial and other newspapers and journals at its own expense describing its services
           hereunder.
       17. The Special Master acknowledges that Evercore, in the ordinary course, may have
           received information and may receive information from third parties which could be
           relevant to this engagement but is nevertheless subject to a contractual, equitable or
           statutory obligation of confidentiality, and that Evercore is under no obligation hereby to
           disclose any such information or include such information in its analysis or advice
           provided to the Special Master. In addition, Evercore or one or more of its affiliates may
           in the past have had, and may currently or in the future have, investment banking,
           investment management, financial advisory or other relationships with the Sale Process
           Parties and their affiliates, potential parties to any transaction and their affiliates or
           persons that are competitors, customers or suppliers of (or have other relationships with)
           the Sale Process Parties or their affiliates or potential parties to any transaction or their
           affiliates, and from which conflicting interests or duties may arise. Nothing contained
           herein shall limit or preclude Evercore or any of its affiliates from carrying on (i) any
           business with or from providing any financial or non-financial services to any party
           whatsoever, including, without limitation, any competitor, supplier or customer of the
           Sale Process Parties, or any other party which may have interests different from or
           adverse to the Sale Process Parties or (ii) its business as currently conducted or as such
           business may be conducted in the future. The Special Master also acknowledges that
           Evercore and its affiliates engage in a wide range of activities for their own accounts and
           the accounts of customers, including corporate finance, mergers and acquisitions, equity
           sales, trading and research, private equity, asset management and related activities. In the
           ordinary course of such businesses, Evercore and its affiliates may at any time, directly
           or indirectly, hold long or short positions and may trade or otherwise effect transactions
           for their own accounts or the accounts of customers, in debt or equity securities, senior
           loans and/or derivative products relating to the Sale Process Parties or their affiliates,
           potential parties to any transaction and their affiliates or persons that are competitors,
           customers or suppliers of the Sale Process Parties. Without limiting the foregoing, so
           long as customary information barriers are created and maintained by Evercore,
           Evercore’s engagement hereunder will not limit the ability of Evercore or its affiliates to
           provide service to any third party, including in relation to a Sale Process Party or any
           affiliate thereof.
       18. The Special Master agrees to provide and use reasonable efforts to procure all corporate,
           financial, identification and other information regarding the Special Master, as Evercore
           may require to satisfy its obligations as a U.S. financial institution under the USA
           PATRIOT Act and Financial Crimes Enforcement Network regulations.
       19. Evercore may, in the performance of its services hereunder, delegate the performance of
           all or certain services as it may select to any of its affiliated entities; provided that no
           such delegation by Evercore shall in any respect affect the terms hereof, and Evercore


   9
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 163 of 176 PageID #: 12660




            shall be responsible for any acts or omissions by any of its affiliated entities in the
            performance of any services delegated to such entity.
        20. For the convenience of the parties hereto, any number of counterparts of this Agreement
            may be executed by the parties hereto, each of which shall be an original instrument and
            all of which taken together shall constitute one and the same Agreement. Delivery of a
            signed counterpart of this Agreement by facsimile or electronic mail transmission shall
            constitute valid sufficient delivery thereof.
        21. Except as provided herein, the parties hereby irrevocably consent to the exclusive
            jurisdiction of the Court over any action or proceeding arising out of or relating to this
            Agreement, and the parties hereby irrevocably agree that all claims in respect of such
            action or proceeding may be heard by the Court. The parties irrevocably agree to waive
            all rights to trial by jury in any such action or proceeding and irrevocably consent to the
            service of any and all process in any such action or proceeding by the mailing of copies
            of such process to each party at its address set forth above. The parties agree that a final
            judgment in any such action or proceeding shall be conclusive and may be enforced in
            other jurisdictions by suit on the judgment or in any other manner provided by law. The
            Agreement and any claim related directly or indirectly to this Agreement shall be
            governed by and construed in accordance with the laws of the State of New York
            (without regard to conflicts of law principles that would result in the application of any
            law other than the law of the State of New York). The parties further waive any objection
            to venue in the Court and any objection to any action or proceeding in such state on the
            basis of forum non conveniens.




   10
   WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 164 of 176 PageID #: 12661




   If the foregoing correctly sets forth the understanding and agreement between Evercore and the
   Special Master, please so indicate in the space provided below, whereupon this letter shall
   constitute a binding agreement as of the date hereof.


                                                   Very truly yours,

                                                   Evercore Group L.L.C.


                                                  By:
                                                          David Ying
                                                          Senior Managing Director

   Agreed to and Accepted as of
   [●], 2022:

   Special Master of the United States District Court for the District of Delaware

   By:      ______________________
            Robert B. Pincus
            In his capacity as Special Master
            of the United States District Court for the District of Delaware




   11
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 165 of 176 PageID #: 12662




                                                Exhibit 4

                                   Form of Confidentiality Arrangement




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 166 of 176 PageID #: 12663




                                                [●], 2022




     [●]

     DEAR [●]:

              In connection with the consideration by [●], a [●] (“you” or “your”), of a possible
     negotiated transaction (the “Possible Transaction”) for the sale of shares of PDV Holding,
     Inc. (“PDVH” and together with its direct and indirect subsidiaries, the “Company”) owned
     by Petróleos de Venezuela, S.A. in accordance with that certain order of the United States
     District Court for the District of Delaware (the “Court”) authorizing, among other things, the
     Court-appointed special master, Robert B. Pincus (the “Special Master”) to implement
     certain bidding procedures for the sale of shares of PDVH [(D.I [●])] (the “Sale Procedures
     Order”) (each of you and the Special Master, a “Party,” and together, the “Parties”), the
     Special Master is prepared to make available to you and your Representatives (as defined
     below) certain information concerning the Company. In consideration for and as a condition
     to such information being furnished to you and your Representatives (as defined below), you
     agree that you and your Representatives will treat any information or data concerning or
     relating to the Company or any of its affiliates (whether prepared by the Special Master or
     the Company, either of their advisors or other Representatives or otherwise and irrespective
     of the form of communication) which has been or will be furnished, or otherwise made
     available, to you or your Representatives by or on behalf of the Special Master or the
     Company or any of its affiliates, whether before or after the date of this Agreement,
     including, without limitation, any confidential or proprietary information of the Company or
     any of its affiliates and any information or data concerning or relating to the business,
     financial condition, properties, services, products, technology, employees, operations,
     strategy, actual or potential prospects, assets or liabilities of the Company or any of its
     affiliates (collectively referred to as, and together with the Transaction Information (as
     defined below), the “Confidential Information”), in accordance with the provisions of this
     letter agreement (this “Agreement”), and to take or abstain from taking certain other actions
     hereinafter set forth.

             1. Confidential Information. (a) The term “Confidential Information” shall include
     all notes, memoranda, summaries, analyses, compilations, forecasts, data, models, studies,
     interpretations or other documents or materials prepared by the Special Master, the Company
     or any of its affiliates, their Representatives or you or your Representatives, which use,
     contain, reflect or are based upon or derived from, in whole or in part, information furnished
     to you or your Representatives by or on behalf of the Special Master. The term “Confidential
     Information” shall not include information that you can demonstrate (i) at the time of
     disclosure by you is generally available to the public other than as a result of a disclosure by
     you or your Representatives in breach of this Agreement, (ii) was within your possession
     prior to it being furnished or made available to you or your Representatives hereunder or
     becomes available to you on a non-confidential basis from a source other than the Special
     Master or any of his Representatives; provided that, in each case, the source of such
     information was not known by you or your Representatives (after reasonable inquiry) to be

                                                    2
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 167 of 176 PageID #: 12664




     bound by a contractual, legal or fiduciary obligation of confidentiality to the Special Master,
     the Company or any other person with respect to such information, or (iii) has been or is
     subsequently independently developed by you or your Representatives (on your behalf)
     without (A) use or benefit of or reference to any Confidential Information or any information
     from a source known (after reasonable inquiry) by you or your Representatives to be bound
     by a contractual, legal or fiduciary obligation of confidentiality to the Special Master or the
     Company, or (B) breaching this Agreement.

                   (b) For purposes of this Agreement:

                                   (i)     “Representatives” shall mean:

                                               (A) with respect to you: your controlled affiliates and your
                                                  and such controlled affiliates’ directors, officers,
                                                  employees and professional advisors (including,
                                                  without limitation, accountants, consultants, attorneys
                                                  and financial advisors); provided that your
                                                  “Representatives” shall not include, without the prior
                                                  written consent of the Special Master: (1) any actual or
                                                  potential bidding partners or equity financing sources,
                                                  or (2) any actual or potential debt financing sources;

                                               (B) with respect to the Company: the Company’s affiliates
                                                  and each of the Company’s and its respective affiliates’
                                                  directors, officers, employees, professional advisors
                                                  (including, without limitation, attorneys, accountants,
                                                  consultants and financial advisors), agents and other
                                                  representatives;

                                               (C) with respect to the Special Master: the Special Master’s
                                                   professional advisors (including, without limitation,
                                                   attorneys and financial advisors), agents and other
                                                   representatives;

                                   (ii)    the term “person” shall be broadly interpreted to include the
                                           media and any individual, corporation, limited or general
                                           partnership, limited liability company, trust, association, joint
                                           venture, governmental or self-regulatory agency or body or
                                           other entity or group;

                                   (iii)   the term “affiliate” means, with respect to any specified person,
                                           any other person that, directly or indirectly, controls, is
                                           controlled by or is under common control with, such specified
                                           person; and

                                   (iv)    the term “control” and derivative terms mean, as used in the
                                           definition of the term “affiliate” or in relation to the term
                                           “affiliate,” the possession, directly or indirectly, of the power to
                                           direct or cause the direction of the management and policies of



                                                            3
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 168 of 176 PageID #: 12665




                                      a person, whether through the ownership of voting securities,
                                      by contract or otherwise.

              2.     Use and Disclosure of Confidential Information.

             (a) You hereby agree that you and your Representatives (i) shall keep the
     Confidential Information confidential and use the Confidential Information solely for the
     purpose of evaluating, and participating in discussions with the Special Master regarding, the
     Possible Transaction and for no other purpose and (ii) shall not disclose any of the
     Confidential Information in any manner whatsoever; provided that you may disclose such
     information (A) to those of your Representatives who have a need to know such information
     for the sole purpose of evaluating and, if applicable, negotiating, documenting and
     consummating the Possible Transaction on your behalf and who are provided with a copy of
     this Agreement and agree to be bound by the applicable terms hereof to the same extent as if
     they were parties hereto and (B) subject to Section 2(c), to the extent you are Legally
     Required (as defined below) to disclose such information. In any event, you agree, at your
     sole expense, to (y) undertake reasonable precautions to safeguard and protect the
     confidentiality of the Confidential Information and to prevent you and your Representatives
     from making any unauthorized disclosure or unauthorized use of such information (such
     measures to be no less stringent than the measures taken with respect to your own
     confidential and proprietary information and in any event shall involve no less than a
     reasonable degree of care) and (z) be responsible for any breach of, or failure to comply with,
     this Agreement by any of your Representatives as if such Representatives were parties hereto
     (it being understood that such responsibility shall be in addition to and does not limit any
     right or remedy the Special Master or the Company may have against your Representatives
     with respect to such breach).

            (b) Without the prior written consent of the Special Master, you and your
     Representatives will not disclose to any person (i) the fact that either of the Parties is
     considering the Possible Transaction, (ii) the fact that this Agreement exists (or the contents
     hereof) or that any Confidential Information has been made available to you or your
     Representatives or (iii) that discussions, negotiations or investigations are taking place or
     have taken place concerning the Possible Transaction, the Special Master or the Company, or
     any of the terms, conditions or other facts with respect to the Possible Transaction or such
     discussions, negotiations or investigations (including, without limitation, the timing or status
     thereof) (all of the foregoing being referred to as “Transaction Information”). All Transaction
     Information shall be deemed Confidential Information for all purposes of this Agreement.

             (c) In the event that you or any of your Representatives are (i) required by
     applicable law or regulation or (ii) legally compelled by deposition, interrogatories, requests
     for information or documents in legal or administrative proceedings, subpoena, civil
     investigative demand or other similar legal process) (any of the foregoing in clauses (i) or
     (ii), “Legally Required”) to disclose any of the Confidential Information, you or such
     Representative, as applicable, shall provide the Special Master with prompt (and in any event
     prior to any disclosure) written notice, to the extent not legally prohibited, of the existence,
     terms and circumstances of any such requirement so that the Special Master may seek a
     protective order or other appropriate remedy and/or waive compliance with the provisions of
     this Agreement. If, in the absence of a protective order or other remedy or the receipt of a
     waiver by the Special Master, you or any of your Representatives are nonetheless, upon
     advice of outside counsel, Legally Required to disclose Confidential Information, you or
     your Representatives may disclose only that portion of the Confidential Information which
                                                     4
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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 169 of 176 PageID #: 12666




     such outside counsel advises is Legally Required to be disclosed; provided that (i) you shall
     exercise (and shall cause your Representatives to exercise) reasonable best efforts to preserve
     the confidentiality of the Confidential Information, including, without limitation, exercising
     reasonable best efforts to obtain an order or other reliable assurance that confidential
     treatment shall be afforded to such information and (ii) such disclosure was not caused by or
     resulted from a previous disclosure by you or any of your Representatives in violation of this
     Agreement. You and your Representatives shall cooperate fully with (and shall not oppose
     any action by) the Special Master (or the Company, if applicable) to obtain a protective order
     or other relief to prevent or narrow the disclosure of the Confidential Information or to obtain
     reliable assurance that confidential treatment will be afforded to the Confidential
     Information.

              (d) Notwithstanding anything to the contrary in this Agreement, neither you nor any
     of your Representatives will, without the prior written consent of the Special Master, enter
     into any agreement, arrangement or understanding with any person (or make any offers or
     have any discussions which might lead to such agreement, arrangement or understanding)
     with respect to participating in the Possible Transaction, including, without limitation, an
     equity or debt participation in the Possible Transaction, a sale of a portion of the equity or
     assets of the Company simultaneously with or following a transaction involving the
     Company, or any other form of joint transaction by you or your affiliates and such person or
     its affiliates involving the Company. Furthermore, you acknowledge and agree that neither
     you nor your Representatives has, prior to the date hereof, entered into any such agreements,
     arrangements or understandings with any person or made any such offers or had any such
     discussions. Neither you nor any of your Representatives shall, without the prior written
     consent of the Special Master, (i) communicate with any potential bidding partners, financing
     sources or creditors of the Company regarding the Possible Transaction or (ii) enter into any
     agreement, arrangement or understanding (or have any discussions which might lead to such
     agreement, arrangement or understanding), whether written or oral, with any actual or
     potential bidding partners or financing sources that could reasonably be expected to limit,
     restrict, restrain or otherwise impair in any manner, directly or indirectly, the ability of such
     partners or financing sources to provide financing or other assistance to any other person in
     any other possible transaction involving the Company.

             3. Destruction of Confidential Information. If you determine you do not wish to
     proceed with the Possible Transaction, you will promptly notify the Special Master in writing
     of that decision. In that case or if otherwise requested by the Special Master or one of his
     Representatives, you will, and will cause your Representatives to, promptly (and in any event
     within ten (10) days of such event or request) destroy (including by erasure) all Confidential
     Information (and all copies thereof) in your or your Representatives’ possession, as
     applicable. If requested by the Special Master, you shall deliver to the Special Master a
     written certification executed by an authorized officer that such destruction has occurred.
     Notwithstanding the foregoing, you and your Representatives may retain one copy of any
     Confidential Information to the extent required to comply with applicable legal or regulatory
     requirements or established bona fide document retention policies for use solely to
     demonstrate compliance with such requirements, provided that any retained information shall
     solely be accessible by information technology personnel to demonstrate compliance with
     legal or regulatory requirements and shall be destroyed (including by erasure) in the ordinary
     course of your business. Notwithstanding the destruction or retention of the Confidential
     Information, you and your Representatives will continue to be bound by your obligations


                                                    5
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 170 of 176 PageID #: 12667




     hereunder and such obligations will survive the termination of this Agreement with respect to
     any retained Confidential Information.

             4. Inquiries.     You agree that Evercore Group, L.L.C. (“Evercore”) has
     responsibility for arranging appropriate contacts for due diligence in connection with the
     Possible Transaction and that (a) all communications regarding the Possible Transaction, (b)
     requests for additional information and requests for facility tours, management or similar
     meetings in connection with the Possible Transaction or Confidential Information, and (c)
     discussions or questions regarding procedures with respect to the Possible Transaction will
     be submitted or directed only to Evercore or such other person as may be expressly
     designated by the Special Master in writing, and not to any other Representative of the
     Special Master. You further agree that, except in the ordinary course of your business
     unrelated to the Possible Transaction or with the prior written consent of the Special Master,
     neither you nor any of your Representatives shall, directly or indirectly, initiate, solicit or
     maintain contact or otherwise engage in any communication with the Company, any director,
     officer, current or former employee, equityholder, affiliate, creditor, supplier, distributor,
     vendor, partner, customer, provider, agent or regulator (other than, in the case of a regulator,
     as permitted in Section 2(c) above) of the Company or other commercial counterparty of the
     Company regarding the Company, any Confidential Information, the Special Master or the
     Possible Transaction.

              5. No Representations or Warranties; No Agreement. You acknowledge and agree
     that neither of the Special Master nor the Company (nor any of their Representatives) (a)
     makes any representation or warranty, express or implied, as to the timeliness, accuracy or
     completeness of the Confidential Information, (b) is under any obligation to provide or make
     available to you or your Representatives any information that in the Special Master’s sole
     and absolute discretion he determines not to provide or (c) shall have any obligation or
     liability to you or to any of your Representatives on any basis relating to or resulting from the
     use of the Confidential Information or any errors therein or omissions therefrom (including,
     but not limited to, any obligation to update, supplement or correct any Confidential
     Information). You agree that only those representations, covenants or warranties which are
     made in a final definitive agreement with you regarding the Possible Transaction (a
     “Definitive Transaction Agreement”), subject to such limitations and restrictions as may be
     specified therein, when, as and if executed, will be relied on by you or your Representatives
     and have any legal effect. You acknowledge and agree that unless and until a Definitive
     Transaction Agreement between the Special Master and you has been executed and
     delivered, neither you nor the Special Master will be under any legal obligation with respect
     to the Possible Transaction by virtue of this Agreement or any other written or oral
     expression. You further agree that you and your Representatives shall not have any claims
     against the Special Master or his Representatives arising out of or relating to (x) the Possible
     Transaction or your evaluation thereof or (y) the Confidential Information or any action or
     inaction taken or occurring in reliance on such information, other than claims against the
     parties to a Definitive Transaction Agreement in accordance with the terms thereof. You
     further acknowledge and agree that neither the Special Master nor any of his Representatives
     shall have any legal, fiduciary or other duty to any prospective or actual purchaser with
     respect to the manner in which any sale process is conducted and that the Special Master
     reserves the right, in his sole discretion, to conduct the process leading up to the Possible
     Transaction, if any, as the Special Master and his Representatives determine, including,
     without limitation, by negotiating with any third party and entering into a preliminary or
     definitive agreement with a third party, rejecting any and all proposals made by you or any of

                                                    6
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 171 of 176 PageID #: 12668




     your Representatives with regard to the Possible Transaction, terminating discussions and
     negotiations with you or your Representatives at any time and for no reason and terminating
     or denying access to the Confidential Information at any time and for no reason.
     Furthermore, nothing contained in this Agreement nor the furnishing of Confidential
     Information shall be construed as granting or conferring any rights by license or otherwise in
     any intellectual property of the Company, and all right, title and interest in the Confidential
     Information shall remain with the Company.

             6. No Waiver of Privilege. To the extent you or your Representatives are provided
     with any Confidential Information that is subject to a claim of attorney-client privilege,
     attorney work product or any other applicable privilege, immunity or ground on which
     production of such information should not be made to a third-party, the provision of such
     Confidential Information is inadvertent and shall in no way prejudice or otherwise constitute
     a waiver of, or estoppel as to, any claim of attorney-client privilege, work product or other
     applicable privilege or immunity. If the Special Master identifies any such Confidential
     Information under this Agreement, you and your Representatives shall: (i) refrain from any
     further disclosure or examination of such Confidential Information; (ii) if requested,
     promptly make a good faith effort to return such Confidential Information and all copies
     thereof; and (iii) not use such Confidential Information for any purpose.

              7. No Solicitation. Except as otherwise agreed in a definitive agreement with the
     Special Master, for a period of two (2) years from the date hereof, neither you nor any of
     your controlled affiliates or any person acting on your or their behalf will, without the prior
     written consent of the Company, directly or indirectly, solicit, hire, employ, engage
     (including, without limitation, as an independent contractor), or offer to hire, employ or
     engage, any of the officers, employees or independent contractors of the Company; provided
     that the foregoing shall not prohibit you or such affiliates from (i) making any general
     solicitation for employment by use of advertisements in the media that is not specifically
     directed or targeted at any officer, employee or independent contractor of the Company and
     (ii) hiring any such officer, employee or independent contractor who responds to any such
     general solicitation. You agree that you and your Representatives will not, without the prior
     written consent of the Special Master, engage in discussions with management of the
     Company regarding the terms of their post-transaction employment or equity participation as
     part of, in connection with or after the Possible Transaction.

             8. Material Non-Public Information. You acknowledge and agree that you are
     aware (and that your Representatives are aware or, upon providing any Confidential
     Information to such Representatives, will be advised by you) that Confidential Information
     being furnished to you or your Representatives may contain material non-public information
     regarding the Company and that the United States securities laws generally prohibit any
     persons who have material, non-public information from purchasing or selling securities of
     the Company on the basis of such information or from communicating such information to
     any person under circumstances in which it is reasonably foreseeable that such person is
     likely to purchase or sell such securities on the basis of such information.

             9. Remedies. You recognize and acknowledge the competitive value and
     confidential nature of the Confidential Information and the damage that would result to the
     Company (and to the process being conducted by the Court through the Special Master) if
     such information is disclosed in breach of this Agreement. You hereby agree that any breach
     of this Agreement by you or any of your Representatives would result in irreparable harm to
     the Company (and to the process being conducted by the Court through the Special Master)
                                                    7
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 172 of 176 PageID #: 12669




     and that money damages would not be a sufficient remedy for any such breach. Accordingly,
     you agree that the Company and the Special Master shall be entitled to equitable relief,
     including, without limitation, injunction and specific performance, as a remedy for any
     breach or threatened breach hereof by you or your Representatives and that neither you nor
     your Representatives shall oppose the granting of such relief. Such relief shall be available
     without the obligation to prove any damages. You further agree not to raise, as a defense or
     objection to the request for or granting of such relief, that any breach would be compensable
     by an award of money damages. You agree to waive, and to cause your Representatives to
     waive, any requirement for the securing or posting of any bond in connection with any such
     remedy. Such remedies shall not be deemed to be the exclusive remedies for a breach or
     threatened breach by you or your Representatives of this Agreement but shall be in addition
     to all other remedies available to the Special Master and the Company at law or equity. If the
     Company or the Special Master prevails in any enforcement proceeding in respect of this
     Agreement, or a court of competent jurisdiction determines that you or any of your
     Representatives have breached this Agreement (including upon any appeal), then you shall be
     liable and pay to and reimburse the Company and/or the Special Master and their
     Representatives, as applicable, for their respective costs of such enforcement and/or
     litigation, including, without limitation, their reasonable legal fees incurred in connection
     therewith.

            10. Governing Law; Jurisdiction; Waiver of Jury Trial. This Agreement, and all
     proceedings, claims or causes of action (whether in contract, tort, statute or otherwise) that
     may be based upon, arise out of or relate to this Agreement, or the negotiation, execution or
     performance of this Agreement, shall be governed by, construed and enforced in accordance
     with the laws of the State of Delaware, without giving effect to any laws, rules or provisions
     that would cause the application of the laws of any jurisdiction other than the State of
     Delaware. You hereby irrevocably and unconditionally (a) consent and submit to the
     exclusive jurisdiction of the Court, for all proceedings, claims or causes of action (whether in
     contract, tort, statute or otherwise) that may be based upon, arise out of or relate to this
     Agreement, or the negotiation, execution or performance of this Agreement and (b) waive
     any objection you may now or may hereafter have to laying of venue in the Court, including,
     without limitation, based on improper venue or forum non conveniens. You agree not to
     commence any such proceeding, claim or cause of action, except in the Court. ANY RIGHT
     TO TRIAL BY JURY WITH RESPECT TO ANY PROCEEDING, CLAIM OR
     CAUSE OF ACTION (WHETHER IN CONTRACT, TORT, STATUTE OR
     OTHERWISE) BASED UPON, ARISING OUT OF OR RELATING TO THIS
     AGREEMENT IS EXPRESSLY AND IRREVOCABLY WAIVED.

             11. Authority to Enter into Agreement. You hereby represent and warrant to the
     Special Master and the Company that this Agreement has been duly authorized by all
     necessary action, has been duly executed and delivered by one of your duly authorized
     officers and is enforceable against you in accordance with its terms.

             12. Third-Party Beneficiaries. This Agreement is not intended to, and does not,
     confer upon any person other than the Parties any rights or remedies hereunder; provided that
     each person included in the definition of the Company is an express third-party beneficiary
     of, and shall have the right to enforce the terms of, this Agreement; provided further that the
     Company may only seek to enforce this Agreement as a third-party beneficiary in accordance
     with this Section 12 (a) with the prior written consent of the Special Master or (b) if the


                                                    8
     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 173 of 176 PageID #: 12670




     Special Master unreasonably declines to prosecute an alleged breach of this Agreement after
     receiving notice of such alleged breach.

             13. Entire Agreement. This Agreement constitutes the entire agreement between the
     Parties regarding the subject matter hereof, and supersedes all prior negotiations,
     understandings, arrangements, agreements and discussions, whether oral or written, between
     the Parties or their Representatives related to the subject matter hereof. In the event of any
     conflict between this Agreement, on the one hand, and the terms of any confidentiality legend
     set forth in a confidential information memorandum (or similar document) related to the
     Possible Transaction or the terms of any “click-through” or other similar agreement with
     respect to the access to Confidential Information, including through an electronic data room,
     now or hereafter applicable to you or any of your Representatives in connection with the
     Possible Transaction, on the other hand, the terms and conditions of this Agreement shall
     govern and supersede any such conflicting terms and conditions.

            14. Assignment. This Agreement and the rights and obligations herein may not be
     assigned or otherwise transferred, in whole or in part, by you without the written consent of
     the Special Master. The benefits of this Agreement shall inure to the respective successors
     and permitted assigns of the Parties, and the obligations and liabilities of the Parties under
     this Agreement shall be binding upon their respective successors and permitted assigns. Any
     attempted assignment not in compliance with this Agreement shall be void ab initio.

             15. No Modification. No provision of this Agreement can be waived, modified or
     amended without the prior written consent of the Parties, which consent shall specifically
     refer to the provision to be waived, modified or amended and shall explicitly make such
     waiver, modification or amendment. It is understood and agreed that no failure or delay by
     the Special Master or the Company in exercising any right, power or privilege hereunder
     shall operate as a waiver thereof, nor shall any single or partial exercise thereof preclude any
     other or further exercise thereof or the exercise of any other right, power or privilege
     hereunder.

            16. Counterparts. This Agreement may be executed in counterparts, which may be
     delivered and exchanged by electronic means and each of which when executed shall be
     deemed an original, and all such counterparts shall together constitute one instrument.

             17. Severability. If any term or provision of this Agreement is found to violate any
     law, statute, regulation, rule, order or decree of any governmental authority, court or agency,
     such invalidity shall not be deemed to affect any other term or provision hereof or the
     validity of the remainder of this Agreement, and there shall be substituted for the invalid term
     or provision a substitute term or provision that shall as nearly as possible achieve the intent
     of the invalid term or provision.

             18. Term. This Agreement shall terminate and cease to have any force and effect on
     the date that is two (2) years from the last disclosure by the Special Master, the Company or
     any of their Representatives of any Confidential Information to you or any of your
     Representatives; provided that (a) such termination shall not relieve you of any liability for
     any breach of this Agreement by you or your Representatives prior to such termination and
     (b) Section 3 of this Agreement shall survive such termination.




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     WEIL:\98747427\4\67816.0003
Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 174 of 176 PageID #: 12671




              19. Filing Under Seal. Upon execution of this Agreement, the Special Master shall
     file this Agreement under seal with the Court and shall provide notice of execution of this
     Agreement to the Sale Process Parties (as defined in the Sale Procedures Order).

            20. Notices. All notices to be given to the Special Master or you, as applicable, shall
     be in writing and delivered by email or personally to:

                        If to the Special Master:      Robert B. Pincus
                                                       Email: Rbpincus@gmail.com

                        With copies (which shall not constitute notice) to:

                                                       Weil, Gotshal & Manges LLP
                                                       Attention:    Ray C. Schrock, P.C.
                                                                     Alexander W. Welch
                                                                     Chase Bentley
                                                                     Kenneth Hershey

                                                       Email:        Ray.Schrock@weil.com
                                                                     Alexander.Welch@weil.com
                                                                     Chase.Bentley@weil.com
                                                                     Kenneth.Hershey@weil.com

                     If to you:                        [●]
                                                       Attention:    [●]

                                                       Email:        [●]

                                                       Address:      [●]



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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 175 of 176 PageID #: 12672




         Please confirm your agreement with the foregoing by signing and returning one copy of
   this Agreement to the undersigned, whereupon this Agreement shall become a binding
   agreement between you and the Special Master.

                                                    Very truly yours,

                                                    Robert B. Pincus




                                                    Name: Robert B. Pincus
                                                    Title: Special Master



   Accepted and agreed as of
   the date first written above:

   [●]




   By:
            Name:
            Title:




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Case 1:17-mc-00151-LPS Document 480-1 Filed 10/04/22 Page 176 of 176 PageID #: 12673




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         Style name: Default Style
         Intelligent Table Comparison: Active
         Original DMS: iw://WEILDMS/WEIL/98755494/1
         Modified DMS: iw://WEILDMS/WEIL/98836980/1
         Changes:
         Add                                                   18
         Delete                                                10
         Move From                                             0
         Move To                                               0
         Table Insert                                          0
         Table Delete                                          0
         Table moves to                                        0
         Table moves from                                      0
         Embedded Graphics (Visio, ChemDraw, Images etc.)      0
         Embedded Excel                                        0
         Format changes                                        0
         Total Changes:                                        28
